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               EXHIBIT C
             Case 4:19-cv-00717-JST              Document 324-4          Filed 10/26/22    Page 2 of 305


Orgovan, Joseph

From:                Girardi, Devin
Sent:                Monday, June 17, 2019 9:58 AM
To:                  Committee-BBAC-Open
Cc:                  O'Donnell, Edward
Subject:             2018 Bail Bond Report
Attachments:         Bail Bond Report (2018, June 4, 2019).pdf


CommitteeMembers,

Attachedisadraftofthe2018BailBondSupplement.Pleaseletusknowofanyerrorsorrevisionsthatneedtobe
made.

Thankyou,

ͲDevin

              Devin Girardi
              The Surety & Fidelity Association of America
              Surety Analyst
              Office: 202-778-3624 | dgirardi@surety.org

Suretyandfidelitybonds:Protectingconsumers,taxpayersandbusinesses.



                                        www.surety.org 





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                                                           SFAA 000387
Case 4:19-cv-00717-JST   Document 324-4   Filed 10/26/22   Page 3 of 305




                                                                           SFAA 000388
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                                                                           SFAA 000389
                                                                                               # Responding   # Responding
                                                                              # of Responses
                                                                                                   YES            NO




                                                                   Average:

* Of the 11 responses, two listing "1 day" were not included
                                                                    Median:
       in the average, median and mode calculations.

                                                                     Mode:
                                                                                                                             Case 4:19-cv-00717-JST
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                                                               SFAA 000390
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Orgovan, Joseph

From:             Duke, Robert
Sent:             Thursday, September 6, 2018 4:52 PM
To:               Committee-BBAC-Open
Cc:               Marema, Lenore
Subject:          Meeting with Senate Staff
Attachments:      scanner@surety.local_20180816_161041.pdf



       In SFAA’s letter to Senators Booker and Brown in response to their letter to sureties, we
offered to meet with them to discuss our comments further. Surprisingly, Senate staff took us up on
our offer. Today, Lenore Marema and I met with Amanda Fischer and Corey Frayer, Democratic
Professional Staff for the Senate Committee on Banking, Housing and Urban Affairs.

         We introduced what SFAA was. We noted that bail companies are insurance companies that
are highly regulated by state insurance departments. We tried to place bail in the proper context. That
is, bail is a means to balance the interests between pre-trial liberty and security for appearance. I
noted the Maryland example, in which pre-trial detentions have increased following so called bail
reform. I also noted the concern that pre-trial detentions will increase in California after bail bonds are
eliminated. I noted that bail bonds privatize the cost of monitoring and recovery.

        I stated that an isolated focus on bail companies and agents is misguided. If meaningful
prudent policy choices are to be made, states should conduct a holistic study examining data such as
failure to appear rates corresponding to the different pre-trial techniques and the reasons that
persons are in jail pre-trial (e.g. holds due to parole violations and repeat offences).

       Ms. Fischer referenced the Senators’ letter that noted the New York Times coverage of agent
abuses. I stated that agents are highly regulated as well (including background checks and
fingerprinting). They inquired what due diligence sureties conduct in determining with what agents
they will do business. They asked if sureties follow best practices or a checklist. I stated that I did not
have specifics, but that companies do not have a uniform approach. I stated that it is in the surety’s
best interest to partner with responsible and capable agents that comply with the law. Staff seemed
unfamiliar with the company/agent relationship. I explained how the agent retains 80-90% of the
premium, but also takes most of the risk. I noted that a surety underwrites the agent from an
operational and financial perspective.

       I stressed that a surety bond is a form of insurance and that insurance regulation is a state
matter under McCarran Ferguson. It was clear that staff was looking for some angle to introduce
federal regulation. Staff inquired whether the bail transaction had consumer finance features. They
suggested that the bail bond was like a loan which guaranteed the defendant’s payment to the court. I
disagreed and I stated that the bail bond itself is an insurance transaction and the security runs to the
court. They inquired about documents required by the agent that might be tangential. I stated that
other documents that the agent requires are the collateral agreement and indemnity agreement. I
advised that that I did not know the details of these documents. I noted that state department of
insurance have regulated these documents in the past.

       Staff inquired about rates. I noted that rates are regulated. I noted that rates are typically 10%
of the bond amount. Staff inquired about “loss rates”. I noted that a loss ratio does not convey a full

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                                                 SFAA 000391
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picture of the exposure, as a forfeiture may be paid out from the build-up fund and losses could be
mitigated through recoveries.

       Staff advised that responses to the letters are “trickling in” and if they have any questions, they
will contact us.


RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org



From:Duke,Robert
Sent:Tuesday,August21,20185:09PM
To:CommitteeͲBBACͲOpen<CommitteeͲBBACͲOpen@surety.org>
Subject:FW:LettertoSenatorBookerandSenatorBrown

ThankyoutotheBailBondAdvisoryCommitteeforyourfeedbackregardingSFAA’slettertoSenatorsBookerand
Brown.Iattachacopyoftheletterthatwesentlatelastweek.

Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org



From:Duke,Robert
Sent:Tuesday,August14,20184:46PM
To:CommitteeͲBBACͲOfficial<CommitteeͲBBACͲOfficial@surety.org>
Subject:LettertoSenatorBookerandSenatorBrown

Followingourcallyesterday,IprovideadraftlettertoSenatorsBookerandBrowninresponsetotheirinformation
request.Pleaseprovideyourcommentsassoonaspossible.Wehopetosubmittheletterattheendofthisweek.

Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org




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                              SFAA 000394
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                               SFAA 000395
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                               SFAA 000396
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Orgovan, Joseph

From:                Duke, Robert
Sent:                Tuesday, August 21, 2018 5:09 PM
To:                  Committee-BBAC-Open
Subject:             FW: Letter to Senator Booker and Senator Brown
Attachments:         scanner@surety.local_20180816_161041.pdf


ThankyoutotheBailBondAdvisoryCommitteeforyourfeedbackregardingSFAA’slettertoSenatorsBookerand
Brown.Iattachacopyoftheletterthatwesentlatelastweek.
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Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org



From:Duke,Robert
Sent:Tuesday,August14,20184:46PM
To:CommitteeͲBBACͲOfficial<CommitteeͲBBACͲOfficial@surety.org>
Subject:LettertoSenatorBookerandSenatorBrown

Followingourcallyesterday,IprovideadraftlettertoSenatorsBookerandBrowninresponsetotheirinformation
request.Pleaseprovideyourcommentsassoonaspossible.Wehopetosubmittheletterattheendofthisweek.
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Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org




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                               SFAA 000400
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                               SFAA 000401
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Orgovan, Joseph

Subject:            Letter from Senators Booker and Brown

Start:              Mon 8/13/2018 4:00 PM
End:                Mon 8/13/2018 5:00 PM
Show Time As:       Tentative

Recurrence:         (none)

Meeting Status:     Not yet responded

Organizer:         Duke, Robert
Required Attendees:Committee-BBAC-Open


Many,ifnotall,ofyoulikelyhavereceivedalettersimilartotheattachedfromSenatorsCoryBookerandSherrod
Brown,Theletterrequestsextensiveinformationregardingthecompany’spolicies,proceduresandactivitieswith
respecttobailagentcompliance.Therequestisbasedonmisperceptionsregardingthebailindustryandinaccurate
reports.

Althougheachcompanywillneedtodecidehowtorespondindividually,wewouldliketoscheduleacalltodiscussthe
natureofanindustryresponse.Forexample,shouldSFAAandotherindustrytradeassociationsscheduleameetingwith
thestaffsofSenatorsBookerandBrowntoaddressthemisperceptions?Shouldwesubmitanindustryletter?

Thephonenumberforthecallis:1Ͳ800Ͳ220Ͳ9875
AccessCode:24384269
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Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica




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                               SFAA 000406
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Orgovan, Joseph

From:                Duke, Robert
Sent:                Wednesday, June 27, 2018 1:05 PM
To:                  Committee-BBAC-Open
Subject:             FW: 2017 Bail Bond Report
Attachments:         Bail Bond Report (Draft, June 26, 2018).pdf


Attachedisadraftofthe2017BailSupplement.Pleaseletusknowofanyerrorsorrevisionsthatneedtobemade.
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Thankyou
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Rob
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RobertJ.Duke
GeneralCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
rduke@surety.org



From:O'Donnell,Edward
Sent:Wednesday,June27,20181:00PM
To:Duke,Robert<RDuke@surety.org>
Subject:2017BailBondReport

Rob,

Hereisthefirstdraftofthe2017BailBondreport.

BroadwayInsuranceandSuretyCompany(NAICComp.#15213)wasonthe2017list,butwasnotincludedinthedataset
thisyear.Theydidnotreportanysuretyatall,whichconfirmsthattheyhadnobail.

TheonlynewcompanytoappearonthelistisPhiladelphiaReinsuranceCompany.

Letmeknowifyouhaveanyquestions.

Thankyou.
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Ed
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EdwardM.O’DonnellCPCU,CIDM
StatisticalManager
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3632
www.surety.org


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Suretyandfidelitybonds:Protectingconsumers,taxpayersandbusinesses.
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:KDWERQGOLIHLVXVHGWRFDOFXODWHXQHDUQHGSUHPLXPLQGD\V"                      Average:                                                      QD                   QD
 * Of the 12 responses, two listing "1 day" were not included in the average,         Median:            
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                                                                                                                                                                                             Case 4:19-cv-00717-JST




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             Case 4:19-cv-00717-JST              Document 324-4           Filed 10/26/22         Page 26 of 305


Orgovan, Joseph

From:                 Girardi, Devin
Sent:                 Thursday, March 1, 2018 4:20 PM
To:                   Committee-BBAC-Open
Subject:              Bail Case - Buffin Class Certification
Attachments:          Buffin v. City _ County of San Francisco_ 2018 U.S. Dist. LEXIS 31875.PDF


Members,

Attached, please find a copy of Buffin v. City & County of San Francisco, 2018 U.S. Dist. LEXIS 31875 (N.D. Cal. Feb.
26, 2018), the ongoing matter challenging the constitutionality of bail schedules for arrestees eligible to be released on bail.
In the attached trial order, the court granted the plaintiffs’ motion for class certification. Specifically, the court certified a
class consisting of: all pre-arraignment arrestees (i) who are, or will be, in the custody of the San Francisco Sheriff; (ii)
whose bail amount is determined by the Felony and Misdemeanor Bail Schedule as established by the Superior Court of
California, County of San Francisco; (iii) whose terms of pretrial release have not received an individualized determination
by a judicial officer; and (iv) who remain in custody for any amount of time because they cannot afford to pay their set bail
amount. Accordingly, the matter will proceed as a certified class action.

DevinS.Girardi,
SuretyAnalyst

TheSurety&FidelityAssociationofAmerica
114019thStreet,NW
Suite500
Washington,DC20036

T:202Ͳ778Ͳ3624
F:202Ͳ463Ͳ0606

www.surety.org


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SuretyandFidelityBonds:ProtectingConsumers,TaxpayersandBusinesses


From:Girardi,Devin
Sent:Friday,February16,201810:36AM
To:CommitteeͲBBACͲOpen<CommitteeͲBBACͲOpen@surety.org>
Subject:BailCaseͲConstitutionalChallenge

Members,

Attached, please find a copy of Odonnell v. Harris County, 2018 U.S. App. LEXIS 3473 (5th Cir. Feb. 14, 2018), in which
the appellate court was asked to review a preliminary injunction against Harris County’s bail setting methods for
misdemeanor arrestees. As you are aware, constitutional challenges to bail schedules have become an increasingly important
topic, and this opinion is worth review. At issue in Odonnell is whether the Harris County bail system violates state statutory
and constitutional law, as well as the Fourteenth Amendment. Ultimately, the appellate court affirmed the trial court’s ruling
that the County’s bail system violates both due process and equal protection; however, the injunction was found to be
overbroad so that the matter was remanded to the lower court on procedural grounds to craft injunctive relief more narrowly
tailored to remedy the harm at issue.
                                                               1
                                                          SFAA 000411
             Case 4:19-cv-00717-JST              Document 324-4           Filed 10/26/22        Page 27 of 305

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DevinS.Girardi,
SuretyAnalyst
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TheSurety&FidelityAssociationofAmerica
114019thStreet,NW
Suite500
Washington,DC20036
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T:202Ͳ778Ͳ3624
F:202Ͳ463Ͳ0606
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www.surety.org


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SuretyandFidelityBonds:ProtectingConsumers,TaxpayersandBusinesses
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From:Girardi,Devin
Sent:Friday,February2,201811:26AM
To:CommitteeͲBBACͲOpen<CommitteeͲBBACͲOpen@surety.org>
Cc:Lanak,Frank<flanak@hccsurety.com>;mwhitlock@ASCͲUSI.com;sharon.michaud@aiasurety.com
Subject:RE:BailCases
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In Jones v. Davis, 2018 U.S. Dist. LEXIS 16148 (E.D. Mo. Jan. 31, 2018), the plaintiff, a current prisoner, attempted to file
a pro se, 42 U.S.C. § 1983 complaint in forma pauperis, pursuant to 28 U.S.C. § 1915, which requires the court to first
review the complaint and dismiss it if it is frivolous, malicious, or fails to state a claim upon which relief can be granted. In
his complaint, the plaintiff alleged that he was pursued by two bail bondsmen by car and, as the pursuit continued, the
plaintiff saw police officers and approached them for protection. At that point, the complaint stated that the bail bondsmen
identified themselves to the officers and said they were pursuing the plaintiff because he was wanted for violating bail. The
police officers took the plaintiff into custody. While handcuffed, the complaint further alleged that one of the bondsmen, in
the presence of the officers, assaulted him after one officer allegedly told the bondsman to “[g]o ahead I ain’t seen nothing.”
In its review of the plaintiff’s complaint, the court noted that a claim under § 1983 must allege that: (1) the defendant acted
under color of state law; and (2) the defendant’s alleged conduct deprived the plaintiff of a federally-protected right.
Nowhere in the complaint did the plaintiff allege that the bail bondsmen acted under color of state law for purposes of §
1983. Accordingly, the court dismissed the complaint, without prejudice, as to the bondsmen. In dismissing the case, the
court specifically noted that bail bonding is recognized as a private function, exercised on behalf of a private bonding
company, based on private contract and that private conduct is beyond the reach of § 1983 “no matter how discriminatory
or wrongful” that conduct may be.
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                            Buffin v. City & County of San Francisco
                           United States District Court for the Northern District of California
                                 February 26, 2018, Decided; February 26, 2018, Filed
                                             CASE NO. 15-cv-04959-YGR

Reporter
2018 U.S. Dist. LEXIS 31875 *
                                                              Constitutional [*2] Advocacy and Protection,
RIANA BUFFIN, ET AL., Plaintiffs, vs. CITY AND
                                                              Washington, DC.
COUNTY OF SAN FRANCISCO, ET AL., Defendants.
                                                              Judges: YVONNE GONZALEZ ROGERS, UNITED
Core Terms                                                    STATES DISTRICT JUDGE.

plaintiffs', proposed class, class member, bail schedule,     Opinion by: YVONNE GONZALEZ ROGERS
requirements, custody, class certification, injunctive,
typicality, parties, ascertainability, certification,
                                                              Opinion
arrestees, adequacy, cannot afford, individualized,
judicial officers, setting bail, bail amount, commonality,
bail, internal quotation marks, oral argument,
declaratory, numerosity, Modified, terms                      ORDER GRANTING PLAINTIFFS' MOTION FOR CLASS
                                                              CERTIFICATION AS MODIFIED BY THE COURT
Counsel: [*1] For Riana Buffin, Crystal Patterson,
Plaintiffs: Phil Telfeyan, LEAD ATTORNEY, Equal               Re: Dkt. No. 140
Justice Under Law, Washington, DC; Alec George
Karakatsanis, Civil Rights Corps, Washington, DC;             Now before the Court is plaintiffs' motion for class
Catherine Bentley Sevcenko, PRO HAC VICE, Equal               certification. (Dkt. No. 140 ("Motion").) Having carefully
Justice Under Law, Washington, DC; Robert E. Sims,            considered the papers submitted, the pleadings in this
Steven Mark Bauer, Tyler Paul Young, Latham &                 action, the oral arguments held on December 12, 2017,
Watkins LLP, San Francisco, CA.                               and the parties' comments to the Court's proposed class
                                                              definition, and for the reasons set forth below, the Court
For City and County of San Francisco, Defendant:
                                                              GRANTS AS MODIFIED BY THE COURT plaintiffs' Motion.1
Jeremy Michael Goldman, LEAD ATTORNEY, San
Francisco City Attorney's Office, San Francisco, CA;
Harmeet K. Dhillon, Dhillon Law Group Inc., San
                                                              I. RELEVANT BACKGROUND
Francisco, CA.
For Sheriff Vicki Hennessy, Defendant: Jeremy Michael         The facts at issue in this case are well known to the
Goldman, LEAD ATTORNEY, San Francisco City                    parties and the Court. The Court adopts in full the
Attorney's Office, San Francisco, CA.                         background section of its order denying plaintiffs' and
                                                              CBAA's motions for summary judgment. (See Dkt. No.
For Attorney General Kamala Harris, Defendant: Jose A
                                                              191.) The Court summarizes the procedural background
Zelidon-Zepeda, California State Attorney General's
                                                              pertinent to the instant motion below.
Office, Department of Justice, San Francisco, CA.
For California Bail Agents Association, Intervenor Dft:
Harmeet K. Dhillon, LEAD ATTORNEY, Gregory                    1 With respect to the various Daubert motions filed by plaintiffs
Richard Michael, Krista Lee Baughman, Dhillon Law             and California Bail Agents Association ("CBAA") (Dkt. Nos.
Group Inc., San Francisco, CA; Brandon D. Baum,               134, 137, 138, & 139), the Court DENIES these motions
Dhillon Law Group LLC, San Francisco, CA.                     WITHOUT PREJUDICE to resubmitting them after a revised trial
                                                              order has been issued. In so doing, the Court reiterates its
For San Francisco Public Defender's Office, Amicus:
                                                              concerns as to the evidentiary foundation for the experts'
Mary Beth McCord, LEAD ATTORNEY, Institute for
                                                              opinions.
                                                       SFAA 000414
                                                     Devin Girardi
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                                                 2018 U.S. Dist. LEXIS 31875, *2

In response to CBAA's opposition to the motion for class              San Francisco Sheriff" to reflect that the Sheriff is the
certification,2 plaintiffs Riana Buffin and Crystal                   proper defendant, and that she acts in her capacity as a
Patterson redefined the proposed class as follows:                    state official when enforcing the Bail Schedule. (Dkt. No.
                                                                      182.) Second, the Sheriff proposed that subsection (iii)
     [A]ll pre-arraignment arrestees who are or who will              be revised to delete the reference to those "whose
     be in the custody of the City and [*3] County of                 arrest" has not been reviewed by a judicial officer and to
     San Francisco who have the option of monetary                    substitute instead "whose terms of pretrial release" have
     release under current state law but remain in                    not been reviewed by a judicial officer in light of the fact
     custody for any amount of time because they                      that judicial officers' review of arrests for probable cause
     cannot afford their bail amount.                                 occurs independently of any individualized judicial
(Plaintiffs' Reply Brief in Support of Motion for Class               determination of the terms of pretrial release. (Id.) Next,
Certification, Dkt. No. 168 at 1 ("Plaintiffs' Reply").) In           CBAA suggested that subsection (iii) be modified in
light of the oral arguments on the motion, the Court                  order to exclude from the class "those arrestees who
proposed for comment the following modified class                     are eligible to make a §1269c application, but who either
definition:                                                           have chosen not to . . . or who have [*5] done so and
     All pre-arraignment arrestees (i) who are, or will be,           are still awaiting review by a judicial officer." (Dkt. No.
     in the custody of the City and County of San                     185 (emphasis in original).) Moreover, CBAA expressed
     Francisco; (ii) whose bail amount is determined by               concerns that the Court's proposed definition would not
     the Felony and Misdemeanor Bail Schedule as                      satisfy ascertainability by virtue of its inclusion of the
     established by the Superior Court of California,                 terms "cannot afford" and "because." (Id.)
     County of San Francisco; (iii) whose arrest has not
     been reviewed by a judicial officer; and (iv) who                In its January 16, 2018 scheduling order, after denying
     remain in custody for any amount of time because                 plaintiffs' and CBAA's motions for summary judgment,
     they cannot afford to pay their set bail amount.                 the Court expressed lingering concerns over the
(Order re: Class Certification and Plaintiffs' Requested              adequacy of counsel and gave Mr. Telfeyan until
Relief, Dkt. No. 178 at 2 ("Court's Inquiry").) The Court             February 8, 2018 to identify additional counsel to
also asked plaintiffs' counsel, Mr. Phil Telfeyan of Equal            represent the proposed class jointly. (Dkt. No. 192.) Mr.
Justice Under Law, to supplement the record with                      Telfeyan notified the Court on February 2, 2018 that
information regarding his adequacy to represent the                   Equal Justice Under Law is now joined by Robert E.
proposed class and to clarify the relief sought by                    Sims and Steven M. Bauer from Latham & Watkins LLP
plaintiffs.3                                                          as co-counsel. (Dkt. No. 203.)

Plaintiffs, [*4] CBAA, and Sheriff Vicki Hennessy (the                In light of the parties' submissions, and for the reasons
"Sheriff") (collectively, the "parties") responded timely to          discussed below, the Court CERTIFIES the following
the Court's inquiry. Plaintiffs principally approved of the           class:
Court's proposed definition but questioned whether the
limitation in subsection (iii) was necessary. (Plaintiffs'                 All pre-arraignment arrestees (i) who are, or will be,
Response to Inquiry at 2.) The Sheriff proposed two                        in the custody of the San Francisco Sheriff; (ii)
revisions. First, she suggested that "the City and County                  whose bail amount is determined by the Felony and
of San Francisco" in subsection (i) be changed to "the                     Misdemeanor Bail Schedule as established by the
                                                                           Superior Court of California, County of San
                                                                           Francisco; (iii) whose terms of pretrial release have
                                                                           not [*6] received an individualized determination by
2 The   Court granted CBAA leave to file an opposition to                  a judicial officer; and (iv) who remain in custody for
plaintiffs' motion. (See Dkt. No. 142.)                                    any amount of time because they cannot afford to
3 In this regard, Mr. Telfeyan indicated that plaintiffs seek "an          pay their set bail amount.
order declaring unconstitutional and enjoining the use of the
bail schedule for the class . . . . In addition, Plaintiffs believe
that an injunction that outlines the framework for a                  II. LEGAL FRAMEWORK
replacement, non-monetary process for the class would be
helpful." (Plaintiffs' Response to Court's Inquiry, Dkt. No. 181      Under Federal Rule of Civil Procedure 23(a), the Court
at 2 ("Plaintiffs' Response to Inquiry").) The response               may certify a class only where "(1) the class is so
contributed further to the Court's continuing concern regarding       numerous that joinder of all members is impracticable;
Mr. Telfeyan's adequacy.
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                                                            Devin Girardi
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(2) there are questions of law or fact common to the           Moreover, CBAA argues that the proposed class is not
class; (3) the claims or defenses of the representative        ascertainable.5 The Court will first address the Rule
parties are typical of the claims or defenses of the class;    23(a) and 23(b)(2) requirements followed by
and (4) the representative parties will fairly and             ascertainability.6
adequately protect the interests of the class." Fed. R.
Civ. P. 23(a). Courts refer to these four requirements as
"numerosity, commonality, typicality[,] and adequacy of        A. Numerosity
representation." Mazza v. Am. Honda Motor Co., Inc.,
666 F.3d 581, 588 (9th Cir. 2012).                             Rule 23(a) requires that the proposed class be "so
                                                               numerous that joinder of all members is impracticable."
Once the threshold requirements of Rule 23(a) are met,         Fed. R. Civ. P. 23(a)(1). As indicated at oral argument,
plaintiffs must then show "through evidentiary proof" that     neither CBAA [*8] nor the Sheriff contests that the
a class is appropriate for certification under one of the      numerosity requirement is met in the instant case. The
provisions of Rule 23(b). Comcast Corp. v. Behrend,            Court concurs that the numerosity requirement is
133 S. Ct. 1426, 1432 (2013). Here, plaintiffs seek            satisfied.
certification under Rule 23(b)(2), which requires
plaintiffs to establish that the "party opposing the class
has acted or refused to act on grounds that apply              B. Commonality
generally to the class, so that final injunctive relief or
corresponding declaratory relief is appropriate                Commonality requires that the class members' claims
respecting the class as a whole." Fed. R. Civ. P.              "depend upon a common contention such that
23(b)(2); see [*7] also Ellis v. Costco Wholesale Corp.,       determination of its truth or falsity will resolve an issue
657 F.3d 970, 986 (9th Cir. 2011) ("Class certification        that is central to the validity of each claim in one stroke."
under Rule 23(b)(2) is appropriate only where the              Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957
primary relief sought is declaratory or injunctive.")          (9th Cir. 2013) (internal quotation marks omitted). "Rule
(internal quotation marks omitted).
                                                               that "if the class is clearly defined, there is likely not to be a
"[A] court's class-certification analysis must be 'rigorous'   dispute over that particular aspect of class cert." (See
and may 'entail some overlap with the merits of the            Transcript of Proceedings Held on December 12, 2017, Dkt.
plaintiff's underlying claim[.]'" Amgen, Inc. v. Conn. Ret.    No. 186 at 52:14-16 ("Transcript").) Moreover, it indicated that
Plans & Trust Funds, 133 S. Ct. 1184, 1194 (2013)              it opposed commonality only to the extent that the definition
(quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,         "would include arrestees who already received an
                                                               individualized determination and weren't subject to the bail
351 (2011)); see also Mazza, 666 F.3d at 588. The
                                                               schedule . . . ." (Id. at 53.) The Court's certified class definition
court considers the merits to the extent they overlap
                                                               assuages both of these concerns.
with the Rule 23 requirements. Ellis, 657 F.3d at 983.
Nevertheless, "Rule 23 grants courts no license to             5 In  its opposition to plaintiffs' motion, CBAA objects to
engage in free-ranging merits inquiries at the                 plaintiffs' citation to, and reliance on, certain articles by
certification stage." Amgen, 133 S. Ct. at 1194-95. If a       Newsweek and the United Way Bay Area. (CBAA's Opposition
court concludes that the moving party has met its              to Plaintiffs' Motion for Class Certification, Dkt. No. 158 at 13
burden of proof, then the court has broad discretion to        ("CBAA's Opposition").) CBAA does so on three grounds: (1)
certify the class. Zinser v. Accufix Research Inst., 253       neither article is properly authenticated pursuant to Federal
F.3d 1180, 1186 (9th Cir. 2001).                               Rule of Evidence 901; (2) neither article is supported by the
                                                               declaration testimony of a witness with knowledge that the
                                                               articles are what they claim to be; and (3) the content of the
                                                               articles is inadmissible hearsay. (Id.) The Court agrees with
III. DISCUSSION
                                                               the substance of CBAA's objections, sustains the objections,
                                                               and has not incorporated the contents of the articles into its
Plaintiffs contend that they have established all              analysis.
requirements for certification of an injunctive relief class
                                                               6 To  the extent plaintiffs' and CBAA's initial arguments still
under Rule 23(b)(2). CBAA challenges the typicality and
                                                               apply to the Court's certified class definition, the Court
adequacy of representation elements of Rule 23(a).4
                                                               addresses them herein. The Court does not address
                                                               arguments that have been mooted by changes made to
                                                               plaintiffs' proposed class definition or by concessions made by
4 With   respect to numerosity, CBAA stated at oral argument   the parties at oral argument or in subsequent filings.
                                                       SFAA 000416
                                                      Devin Girardi
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23(a)(2) has been construed permissively." Hanlon v.
Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998).                  C. Typicality
"[T]he key inquiry is not whether the plaintiffs have
raised common questions . . . but rather, whether class               "The typicality requirement looks to whether the claims
treatment will 'generate common answers apt to drive                  of the class representatives [are] typical of those of the
the resolution of the litigation.'" Abdullah, 731 F.3d at             class, and [is] satisfied when each class member's claim
957 (quoting Dukes, 564 U.S. at 350) (emphasis in                     arises from the same course of events, and each class
original). "This does not, however, mean that every                   member makes similar legal arguments to prove the
question of law or fact must be common to the class; all              defendant's liability." Rodriguez, 591 F.3d at 1124
that Rule 23(a)(2) requires is 'a single significant                  (internal quotation marks omitted). "The purpose of the
question of law or fact.'" Id. (quoting Mazza, 666 F.3d               typicality [*10] requirement is to assure that the interest
581 at 589) (emphasis in original). "[F]or purposes of                of the named representative aligns with the interests of
Rule 23(a)(2), even a single common question will do."                the class." Hanon v. Dataproducts Corp., 976 F.2d 497,
Dukes, 564 U.S. at 359 (alteration and quotation marks                508 (9th Cir. 1992). "Under the rule's permissive
omitted).                                                             standards, representative claims are 'typical' if they are
                                                                      reasonably co-extensive with those of absent class
The Court finds that plaintiffs have demonstrated                     members; they need not be substantially identical."
sufficient commonality to satisfy Rule 23(a)(2) because               Hanlon,150 F.3d at 1020. The test of typicality "is
the resolution of one question, that is, whether the                  whether other members have the same or similar injury,
Sheriff's use of the Bail Schedule prior to arraignment               whether the action is based on conduct which is not
violates [*9] the Equal Protection or Due Process                     unique to the named plaintiffs, and whether other class
clauses of the Fourteenth Amendment, will resolve "in                 members have been injured by the same course of
one stroke" all class members' claims. Abdullah, 731                  conduct." Hanon, 976 F.2d at 508 (internal quotation
F.3d at 957; see also Rodriguez v. Hayes, 591 F.3d                    marks omitted). "Where the challenged conduct is a
1105, 1122-24 (9th Cir. 2010) (finding commonality                    policy or practice that affects all class members, . . . the
even though class members were detained pursuant to                   cause of the injury is the same"; thus, the analysis
different statutes and under different factual                        requires "comparing the injury asserted in the claims
circumstances because a single question, namely,                      raised by the named plaintiffs with those of the rest of
whether a bond hearing was required for individuals                   the class." Armstrong v. Davis, 275 F.3d 849, 868-69
detained longer than six months, was "posed by the                    (9th Cir. 2001), abrogated on other grounds by Johnson
detention of every member of the class and their                      v. California, 543 U.S. 499 (2005).
[individual claims would] largely be determined by its
answer"). Further, in keeping with the purpose of class               The Court finds the typicality requirement satisfied. All
action litigation, settling this common question would                class members had their bail amounts set by the Bail
"render management of [proposed members'] claims                      Schedule and were unable to afford their set bail
more efficient for the court" and "would also benefit                 amounts. CBAA's argument that plaintiffs are not typical
many of the putative class members by obviating the                   of the class because neither of them remained in
severe practical concerns that would likely attend them               custody due to her inability to afford [*11] bail is
were they forced to proceed alone." Rodriguez, 591                    unavailing. CBAA points to the fact that plaintiff
F.3d at 1123.7                                                        Patterson was ultimately, after having spent
                                                                      approximately 29 hours in jail, able to pay the surety bail
                                                                      agent a deposit amount of $1,500 with the help of family
7 CBAA's primary concern with respect to commonality—that             members. As to plaintiff Buffin, CBAA argues that she
plaintiffs' proposed class is over-inclusive to the extent it would   made a "personal choice" to not attempt to obtain
include (i) arrestees who received an individualized                  financial help from family members or friends so that
determination pursuant to California Penal Code section               she could post a bail bond. (CBAA's Opposition at 11.)
1269c and whose bail amount, as a result, was set at an               Given these circumstances, CBAA avers that plaintiffs
amount different from the scheduled amount; and/or (ii)               lack a common interest in representing the class and do
arrestees detained after arraignment—is moot in light of the          not even appear to be members of the proposed class.
Court's certified class definition. The Sheriff "agrees that this
                                                                      However, CBAA's focus on plaintiffs' potential ability to
case presents questions of law that are common to members
                                                                      obtain money from third parties does not persuade:
of the class . . . ." (Sheriff Vicki Hennessy's Response to
                                                                      plaintiffs were personally unable to pay their set bail
Plaintiffs' Motion for Class Certification, Dkt. No. 157 at 3
("Sheriff's Response to Motion").)                                    amounts, and as a result spent longer periods in jail

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                                                            Devin Girardi
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                                                 2018 U.S. Dist. LEXIS 31875, *11

than they otherwise would have.8 The Court is not                      behalf of the class." Staton v. Boeing Co., 327 F.3d 938,
willing to exclude individuals from the class based on                 957 (9th Cir. 2003).
whether or not they could ask friends and family
members for bail money.                                                Here, CBAA has not raised any potential conflicts of
                                                                       interest, and the Court cannot discern any in this
CBAA's additional argument that plaintiffs' claims are                 case.10 While the Court previously harbored concerns
not typical because plaintiffs' detentions predated the                regarding plaintiffs' counsel's adequacy to represent the
implementation of the Public Safety Assessment                         proposed class, the Court is now satisfied in light of his
("PSA") Tool is also unavailing. As the Sheriff noted and              recent filing that plaintiffs' counsel, now joined by and
plaintiffs confirmed, [*12]      "Plaintiffs claim that                Robert E. Sims and Steven M. Bauer of Latham &
California's statutory scheme is unconstitutional                      Watkins LLP as co-counsel, will prosecute this action
notwithstanding the current or past operation of the OR                vigorously moving forward and adequately represent the
Project, and . . . [CBAA's] arguments for the scheme's                 interests of the class members.
constitutionality likewise do not depend on the OR
Project's existence or manner of operation . . . ."
(Plaintiffs' Reply at 13; see also Sheriff's Response to               E. Rule 23(b)(2)—Injunctive Relief Class
Motion at 4.) Thus, the typicality of plaintiffs' claims is
unaffected by the implementation of the PSA Tool on                    CBAA does not dispute the propriety of an injunctive
April 30, 2016.9                                                       relief class under Rule 23(b)(2). Accordingly, and
                                                                       because a "single injunction or declaratory judgment
The Court finds that plaintiffs' claims are typical of those           would provide relief to each member of the class," the
of the certified class members, as both plaintiffs' claims             Court finds that the certified class meets the
and those of the class members arise from the Sheriff's                requirements of Rule 23(b)(2). Dukes, 564 U.S. at 360.
use of the Bail Schedule. The injury alleged is the same
injury suffered by all of the certified class members, that
is, the violation of the class members' Due Process and                F. [*14] Ascertainability
Equal Protection rights through the Sheriff's use of the
Bail Schedule. Similarly, all class members share the                  CBAA argues that the proposed class is not
remedy sought, namely, an order declaring                              ascertainable because the phrase "cannot afford" is
unconstitutional and enjoining the Sheriff's use of the                ambiguous. (CBAA's Opposition at 6.) According to
Bail Schedule.                                                         CBAA, "the class must be sufficiently definite so that it is
                                                                       feasible for the court to determine the membership by
                                                                       reference to objective criteria." (Id. at 5 (internal
D. Adequacy of Representation                                          quotation marks omitted).) CBAA does not persuade.
                                                                       The Ninth Circuit has not adopted an ascertainability
Rule 23(a)(4) permits the certification of a class [*13]               requirement. See Briseno v. ConAgra Foods, Inc., 844
only if "the representative parties will fairly and                    F.3d 1121, 1124 n.4 (9th Cir. 2017).11 Moreover, it has
adequately protect the interests of the class." Fed. R.
Civ. P. 23(a)(4). In this regard, the Court must consider:
                                                                       10 Rather,CBAA's argument against adequacy mirrors its
"(1) [whether] the representative plaintiffs and their
counsel have any conflicts of interest with other class                argument against typicality—that plaintiffs are not members of
members, and (2) [if] the representative plaintiffs and                the proposed class because neither of them remained in
                                                                       custody due to her inability to afford bail. Because the Court
their counsel [will] prosecute the action vigorously on
                                                                       addressed this argument previously, it need not do so again
                                                                       here.
8 Plaintiffs have both stated that if they had personally been
                                                                       11 With  respect to 23(b)(2) classes specifically, the logic of
able to pay their set bail amounts they "would immediately pay
for [their] freedom." (Dkt. No. 136-7 ¶ 6; Dkt. No. 136-12 ¶ 6.)       Briseno is particularly apt given that the focus of such classes
                                                                       is on the indivisible nature of the remedy sought. See Cole v.
9 CBAA would appear to agree in light of this clarification by         City of Memphis, 839 F.3d 530, 542 (6th Cir. 2016) ("The
plaintiffs on reply. Specifically, CBAA noted in its opposition        decisions of other federal courts and the purpose of Rule
that "[t]o the extent that Plaintiffs' . . . claims will depend upon   23(b)(2) persuade us that ascertainability is not an additional
the role and/or use of the Public Safety Assessment Tool in            requirement for certification of a (b)(2) class seeking only
San Francisco, the Plaintiffs' claims are not typical of the class     injunctive and declaratory relief."); Shelton v. Bledsoe, 775
claims." (CBAA's Opposition at 11) (emphasis supplied).                F.3d 554, 563 (3d Cir. 2015) ("The nature of Rule 23(b)(2)
                                                              SFAA 000418
                                                             Devin Girardi
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specifically held that "Rule 23 does not impose a
freestanding administrative feasibility prerequisite to              End of Document
class certification." Id. at 1126. Accordingly, the Court
finds that plaintiffs' inclusion of the phrase "cannot
afford" in its proposed class definition does not preclude
certification.


IV. CONCLUSION

For the foregoing reasons, the Court ORDERS as follows:

1. Plaintiffs' Motion is GRANTED AS MODIFIED BY THE
COURT. The Court CERTIFIES the following class:

     All pre-arraignment arrestees (i) who are, or will be,
     in the custody of the San Francisco Sheriff; (ii)
     whose bail amount is determined by the Felony and
     Misdemeanor Bail Schedule as established by the
     Superior Court of California, County of San
     Francisco; (iii) whose terms of pretrial release have
     not received [*15] an individualized determination
     by a judicial officer; and (iv) who remain in custody
     for any amount of time because they cannot afford
     to pay their set bail amount.

2. The Court APPOINTS lead plaintiffs Riana Buffin and
Crystal Patterson as class representatives of the
certified class.

3. The Court APPOINTS Phil Telfeyan, Catherine
Sevcenko, Rebecca Ramaswamy, and Marissa Hatton
of Equal Justice Under Law, and Robert E. Sims and
Steven M. Bauer of Latham & Watkins LLP as class
counsel.

This Order terminates Docket Numbers 134, 137, 138,
139, and 140.

IT IS SO ORDERED.

Dated: February 26, 2018

/s/ Yvonne Gonzalez Rogers

YVONNE GONZALEZ ROGERS

UNITED STATES DISTRICT COURT JUDGE




actions, the Advisory Committee's note on (b)(2) actions, and
the practice of many of [sic] other federal courts all lead us to
conclude that ascertainability is not a requirement for
certification of a (b)(2) class seeking only injunctive and
declaratory relief . . . .").
                                                            SFAA 000419
                                                          Devin Girardi
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Orgovan, Joseph

From:                Duke, Robert
Sent:                Wednesday, July 12, 2017 9:16 AM
To:                  Committee-BBAC-Open
Cc:                  O'Donnell, Edward
Subject:             2016 Bail Supplement (Preliminary)
Attachments:         Bail Bond Report (Draft).pdf


Attachedisadraftofthe2016BailSupplement.Pleaseletusknowofanyerrorsorrevisionsthatneedtobemade.
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Thankyou
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RobertJ.Duke
CorporateCounsel
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                                                                                    ϭϮ͘WƌĞŵtƌŝƚEĞƚŽĨ                  ϭϰ͘WƌĞŵĂƌŶĞĚ   ϭϱ͘ŝƌĞĐƚ       ϭϲ͘ŝƌĞĐƚ
                                                      ϭϬ͘ŝƌĞĐƚ                      ŐĞŶƚŽŵŵΘ          ϭϯ͘ŝƌĞĐƚ    EĞƚŽĨŐĞŶƚ    hŶĞĂƌŶĞĚ        >ŽƐƐĞƐWĂŝĚ
                                 ϵ͘&ĂĐĞŵŽƵŶƚŽĨ   WƌĞŵŝƵŵƐ      ϭϭ͘ŽŵŵĂŶĚ ƌŽŬĞƌǆƉĞŶƐĞƐ;>ŝŶĞ     WƌĞŵŝƵŵ     ŽŵŵΘƌŽŬĞƌ     WƌĞŵŝƵŵ         ;ĚĞĚƵĐƚŝŶŐ       ϭϳ͘ŝƌĞĐƚ ϭϴ͘ŝƌĞĐƚ>ŽƐƐĞƐ
         ŽŵƉĂŶǇEĂŵĞ            ĂŝůŽŶĚƐtƌŝƚƚĞŶ tƌŝƚƚĞŶ;'ƌŽƐƐͿ ƌŽŬĞƌǆƉĞŶƐĞƐ ϭϬͲ>ŝŶĞϭϭс>ŝŶĞϭϮͿ ĂƌŶĞĚ;'ƌŽƐƐͿ     ǆƉĞŶƐĞƐ       ZĞƐĞƌǀĞƐ           ƐĂůǀĂŐĞͿ     >ŽƐƐĞƐ/ŶĐƵƌƌĞĚ     hŶƉĂŝĚ
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                                                                                                                                                            ΞdŚĞ^ƵƌĞƚǇ&ŝĚĞůŝƚǇƐƐŽĐŝĂƚŝŽŶŽĨŵĞƌŝĐĂ
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                                 ϭϵ͘ŝƌĞĐƚĞĨĞŶƐĞ ϮϬ͘ŝƌĞĐƚĞĨĞŶƐĞ Ϯϭ͘ŝƌĞĐƚĞĨĞŶƐĞ                ĐĐŽƵŶƚĂůĂŶĐĞƐ ƚŽh&ĐĐŽƵŶƚƐ tŝƚŚĚƌĂǁĂůƐĨƌŽŵ ĂƐŽĨŶĚŽĨWĞƌŝŽĚ
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                                                                                                                                                         ΞdŚĞ^ƵƌĞƚǇ&ŝĚĞůŝƚǇƐƐŽĐŝĂƚŝŽŶŽĨŵĞƌŝĐĂ
                                                 7KH6XUHW\DQG)LGHOLW\$VVRFLDWLRQRI$PHULFD
                                                %$,/%21'6833/(0(17(;+,%,7$**5(*$7(5(3257
                                                                               'UDIW-XQH

                                                                                                                                                   # Responding         # Responding
                                                                                                                        # of Responses                 YES                  NO
,VWKHEDLOERQGSUHPLXPUHSRUWHGRQDJURVVEDVLV"                                                                                                                      
,IWKHDQVZHUWRZDVQRZDVDSHUPLWWHGSUDFWLFHJUDQWHGWRWKHUHSRUWLQJHQWLW\"                                                                                    
,IWKHDQVZHUWRZDVQRSOHDVHH[SODLQ9DULRXVUHVSRQVHV
:KDWERQGOLIHLVXVHGWRFDOFXODWHXQHDUQHGSUHPLXPLQGD\V"                      Average:                                                      QD                   QD
 * Of the 13 responses, two listing "1 day" were not included in the average,         Median:            
                      median and mode calculations.                                     Mode:            
$UHDQ\DPRXQWVFKDUJHGWRWKHFRQVXPHUH[FOXGHGIURP*URVV3UHPLXPV"                                                                                                   
,IWKHDQVZHUWRZDV<HVSOHDVHH[SODLQ9DULRXVUHVSRQVHV
                                                                                                                                                                                             Case 4:19-cv-00717-JST




'RWKHDJHQWVKDYHRQJRLQJSHUIRUPDQFHREOLJDWLRQVRQWKHERQGDIWHUH[HFXWLRQ"                                                                                          
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FRQWLQXLQJREOLJDWLRQV9DULRXVUHVSRQVHV
                                                                                                      &XUUHQW<HDU         RI*3:                     3ULRU<HDU         RI*3:
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%XLOG8S)XQGDFFRXQWEDODQFHVDVRIEHJLQQLQJRISHULRG                                                                                         
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            Case 4:19-cv-00717-JST               Document 324-4      Filed 10/26/22      Page 39 of 305


Orgovan, Joseph

From:               O'Donnell, Edward
Sent:               Thursday, June 30, 2016 9:42 AM
To:                 Carmichael, William B.; Duke, Rob
Cc:                 Committee-BBAC-Open
Subject:            RE: 2015 Bail Supplement (Preliminary)
Attachments:        Bail Bond Report (Draft, June 28, 2016) (REVISED).pdf


Good morning. The second page, Exhibit 1B, of the June 28 Bail Bond report was incorrect. I have attached a revised
versionoftheJune28BailBondReportwiththecorrectednumbers.Iwouldaskallcompaniestopleasereviewthis
revisedreportandletmeknowifthereareanyotherissues.

PleasenotethatExhibits#1Aand#2areunchanged.

Myapologiesforanyconfusionthismayhavecaused.

Thankyou.

Ed

EdwardM.O’Donnell,AIDM
StatisticalManager
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3632
www.surety.org


                                             

From:Carmichael,William[mailto:wcarmichael@ascͲusi.com]
Sent:Thursday,June30,20168:57AM
To:Duke,Rob<RDuke@surety.org>
Cc:CommitteeͲBBACͲOpen<CommitteeͲBBACͲOpen@surety.org>;O'Donnell,Edward<EODonnell@surety.org>
Subject:Re:2015BailSupplement(Preliminary)

Rob,wehavediscoveredsomeerrorsinthedataforourcompanyonpg.2.Wewillcommunicatethecorrectionsunder
separatecover.

Iwantedtheothermemberstobeawareoftheneedtoreviewtheirdata.

Bill

BillCarmichael
317Ͳ860Ͳ1890(work)
317Ͳ496Ͳ5902(cell)


OnJun29,2016,at4:14PM,Duke,Rob<RDuke@surety.org>wrote:


                                                            1
                                                       SFAA 000424
    Case 4:19-cv-00717-JST            Document 324-4          Filed 10/26/22       Page 40 of 305

Attachedisadraftofthe2015BailSupplement.Pleaseletusknowofanyerrorsorrevisionsthatneed
tobemade.

Thankyou

Rob
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
RobertJ.Duke
CorporateCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
www.surety.org
<image001.jpg><image002.jpg>

<Bail Bond Report (Draft, June 28, 2016).pdf>




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                                                                                         'UDIW-XQH


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                                                      ϭϬ͘ŝƌĞĐƚ                      ŐĞŶƚŽŵŵΘ          ϭϯ͘ŝƌĞĐƚ    EĞƚŽĨŐĞŶƚ     hŶĞĂƌŶĞĚ        >ŽƐƐĞƐWĂŝĚ
                                 ϵ͘&ĂĐĞŵŽƵŶƚŽĨ   WƌĞŵŝƵŵƐ      ϭϭ͘ŽŵŵĂŶĚ ƌŽŬĞƌǆƉĞŶƐĞƐ;>ŝŶĞ     WƌĞŵŝƵŵ     ŽŵŵΘƌŽŬĞƌ      WƌĞŵŝƵŵ         ;ĚĞĚƵĐƚŝŶŐ       ϭϳ͘ŝƌĞĐƚ ϭϴ͘ŝƌĞĐƚ>ŽƐƐĞƐ
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,QWHJUD,QVXUDQFH,QF                                                                                                                 
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                                                                                            SFAA 000426
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                                                                                                            Ϯϯ͘ƵŝůĚͲhƉ&ƵŶĚ Ϯϰ͘'ƌŽƐƐĚĞƉŽƐŝƚƐ     Ϯϱ͘'ƌŽƐƐ    ĐĐŽƵŶƚĂůĂŶĐĞƐ
                                 ϭϵ͘ŝƌĞĐƚĞĨĞŶƐĞ ϮϬ͘ŝƌĞĐƚĞĨĞŶƐĞ Ϯϭ͘ŝƌĞĐƚĞĨĞŶƐĞ                ĐĐŽƵŶƚĂůĂŶĐĞƐ ƚŽh&ĐĐŽƵŶƚƐ tŝƚŚĚƌĂǁĂůƐĨƌŽŵ ĂƐŽĨŶĚŽĨWĞƌŝŽĚ
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            ŽŵƉĂŶǇ                ǆƉĞŶƐĞƐWĂŝĚ     ǆƉĞŶƐĞƐ/ŶĐƵƌƌĞĚ ǆƉĞŶƐĞƐhŶƉĂŝĚ       ĂŶĚ&ĞĞƐ             WĞƌŝŽĚ              ĞĂƌŶĞĚͿ          ĐĐŽƵŶƚƐ           >ŝŶĞϮϱͿ
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&UXP )RUVWHU,QGHPQLW\&R                                                                                                  
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,QWHJUD,QVXUDQFH,QF                                                                                                                                  
:KLWHFDS6XUHW\&R                                                                                                                       
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                                                 7KH6XUHW\DQG)LGHOLW\$VVRFLDWLRQRI$PHULFD
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                                                                               'UDIW-XQH

                                                                                                                                                   # Responding         # Responding
                                                                                                                        # of Responses                 YES                  NO
,VWKHEDLOERQGSUHPLXPUHSRUWHGRQDJURVVEDVLV"                                                                                                                      
,IWKHDQVZHUWRZDVQRZDVDSHUPLWWHGSUDFWLFHJUDQWHGWRWKHUHSRUWLQJHQWLW\"                                                                                    
,IWKHDQVZHUWRZDVQRSOHDVHH[SODLQ9DULRXVUHVSRQVHV
:KDWERQGOLIHLVXVHGWRFDOFXODWHXQHDUQHGSUHPLXPLQGD\V"                      Average:                                                      QD                   QD
* Of the 17 responses, two listing "1 day" were not included in the average,          Median:            
                     median and mode calculations.                                      Mode:            
$UHDQ\DPRXQWVFKDUJHGWRWKHFRQVXPHUH[FOXGHGIURP*URVV3UHPLXPV"                                                                                                   
,IWKHDQVZHUWRZDV<HVSOHDVHH[SODLQ9DULRXVUHVSRQVHV
                                                                                                                                                                                             Case 4:19-cv-00717-JST




'RWKHDJHQWVKDYHRQJRLQJSHUIRUPDQFHREOLJDWLRQVRQWKHERQGDIWHUH[HFXWLRQ"                                                                                          
,IWKHDQVZHUWRLV<HVSOHDVHGHVFULEHWKHQDWXUHRIWKHDJHQWV 
FRQWLQXLQJREOLJDWLRQV9DULRXVUHVSRQVHV
                                                                                                      &XUUHQW<HDU         RI*3:                     3ULRU<HDU         RI*3:
)DFHDPRXQWRIEDLOERQGVZULWWHQ                                                                         ;;;                            ;;;
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3UHP:ULWWHQ1HWRI$JHQW&RPPDQG%URNHU([SHQVHV                                                                             
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'LUHFW3UHPLXP(DUQHG *URVV                                        ;;;              ;;;                           ;;;                   ;;;
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'LUHFW/RVVHV,QFXUUHG                                                                                                 
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%XLOG8S)XQGDFFRXQWEDODQFHVDVRIEHJLQQLQJRISHULRG                                                                                         
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*URVVZLWKGUDZDOVIURP%XLOG8S)XQGDFFRXQWV                                                                                                    
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            Case 4:19-cv-00717-JST            Document 324-4          Filed 10/26/22       Page 44 of 305


Orgovan, Joseph

From:                Duke, Rob
Sent:                Wednesday, June 29, 2016 4:14 PM
To:                  Committee-BBAC-Open
Cc:                  O'Donnell, Edward
Subject:             2015 Bail Supplement (Preliminary)
Attachments:         Bail Bond Report (Draft, June 28, 2016).pdf


Attachedisadraftofthe2015BailSupplement.Pleaseletusknowofanyerrorsorrevisionsthatneedtobemade.
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Thankyou
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Rob
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RobertJ.Duke
CorporateCounsel
TheSurety&FidelityAssociationofAmerica
202Ͳ778Ͳ3630
www.surety.org


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                                                                                         'UDIW-XQH


                                                                                    ϭϮ͘WƌĞŵtƌŝƚEĞƚŽĨ                  ϭϰ͘WƌĞŵĂƌŶĞĚ    ϭϱ͘ŝƌĞĐƚ       ϭϲ͘ŝƌĞĐƚ
                                                      ϭϬ͘ŝƌĞĐƚ                      ŐĞŶƚŽŵŵΘ          ϭϯ͘ŝƌĞĐƚ    EĞƚŽĨŐĞŶƚ     hŶĞĂƌŶĞĚ        >ŽƐƐĞƐWĂŝĚ
                                 ϵ͘&ĂĐĞŵŽƵŶƚŽĨ   WƌĞŵŝƵŵƐ      ϭϭ͘ŽŵŵĂŶĚ ƌŽŬĞƌǆƉĞŶƐĞƐ;>ŝŶĞ     WƌĞŵŝƵŵ     ŽŵŵΘƌŽŬĞƌ      WƌĞŵŝƵŵ         ;ĚĞĚƵĐƚŝŶŐ       ϭϳ͘ŝƌĞĐƚ ϭϴ͘ŝƌĞĐƚ>ŽƐƐĞƐ
         ŽŵƉĂŶǇEĂŵĞ            ĂŝůŽŶĚƐtƌŝƚƚĞŶ tƌŝƚƚĞŶ;'ƌŽƐƐͿ ƌŽŬĞƌǆƉĞŶƐĞƐ ϭϬͲ>ŝŶĞϭϭс>ŝŶĞϭϮͿ ĂƌŶĞĚ;'ƌŽƐƐͿ     ǆƉĞŶƐĞƐ        ZĞƐĞƌǀĞƐ           ƐĂůǀĂŐĞͿ     >ŽƐƐĞƐ/ŶĐƵƌƌĞĚ     hŶƉĂŝĚ
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$PHULFDQ&RQWUDFWRUV,QGHP&R                                                                        
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&RQWLQHQWDO+HULWDJH,QV&R                                                                                           
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6XQ6XUHW\,QVXUDQFH&R                                                                                      
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,QGLDQD/XPEHUPHQV0XWO,QV&R                                                                                             
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&UXP )RUVWHU,QGHPQLW\&R                                                                                                   
%URDGZD\,QV 6XUHW\&R                                                                                           
VW$WODQWLF6XUHW\&R                                                                                       
:LOOLDPVEXUJ1DWLRQDO,QV&R                                                                                                  
(PSLUH%RQGLQJ ,QVXUDQFH&R                                                                                                              
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                                                                                                                                                                                                                   Filed 10/26/22




,QWHJUD,QVXUDQFH,QF                                                                                                                 
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                                                                                                                                                                                                                   Page 45 of 305




                                                                                            SFAA 000430
                                                                                                                                                             ΞdŚĞ^ƵƌĞƚǇ&ŝĚĞůŝƚǇƐƐŽĐŝĂƚŝŽŶŽĨŵĞƌŝĐĂ
                                                  7KH6XUHW\DQG)LGHOLW\$VVRFLDWLRQRI$PHULFD
                                     %$,/%21'6833/(0(17(;+,%,7%723%$,/%21':5,7(56
                                                                                'UDIW-XQH

                                                                                                                                                                     Ϯϲ͘ƵŝůĚͲhƉ&ƵŶĚ
                                                                                                            Ϯϯ͘ƵŝůĚͲhƉ&ƵŶĚ Ϯϰ͘'ƌŽƐƐĚĞƉŽƐŝƚƐ     Ϯϱ͘'ƌŽƐƐ    ĐĐŽƵŶƚĂůĂŶĐĞƐ
                                 ϭϵ͘ŝƌĞĐƚĞĨĞŶƐĞ ϮϬ͘ŝƌĞĐƚĞĨĞŶƐĞ Ϯϭ͘ŝƌĞĐƚĞĨĞŶƐĞ                ĐĐŽƵŶƚĂůĂŶĐĞƐ ƚŽh&ĐĐŽƵŶƚƐ tŝƚŚĚƌĂǁĂůƐĨƌŽŵ ĂƐŽĨŶĚŽĨWĞƌŝŽĚ
                                 ŽƐƚŽŶƚĂŝŶŵĞŶƚ ŽƐƚŽŶƚĂŝŶŵĞŶƚ ŽƐƚŽŶƚĂŝŶŵĞŶƚ ϮϮ͘dĂǆĞƐ͕>ŝĐĞŶƐĞƐ ĂƐŽĨĞŐŝŶŶŝŶŐŽĨ ;ŝŶĐůƵĚŝŶŐŝŶƚĞƌĞƐƚ ƵŝůĚͲhƉ&ƵŶĚ ;>ŝŶĞϮϯн>ŝŶĞϮϰͲ
            ŽŵƉĂŶǇ                ǆƉĞŶƐĞƐWĂŝĚ     ǆƉĞŶƐĞƐ/ŶĐƵƌƌĞĚ ǆƉĞŶƐĞƐhŶƉĂŝĚ       ĂŶĚ&ĞĞƐ             WĞƌŝŽĚ              ĞĂƌŶĞĚͿ          ĐĐŽƵŶƚƐ           >ŝŶĞϮϱͿ
%DQNHUV,QVXUDQFH&R                                                                                                      
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$PHULFDQ&RQWUDFWRUV,QGHP&R                                                                                               
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5RFKH6XUHW\ &DVXDOW\&R                                                                                                    
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866SHFLDOW\,QVXUDQFH&R                                                                                                     
,QGLDQD/XPEHUPHQV0XWO,QV&R                                                                                             
86)LUH,QVXUDQFH&R                                                                                                                  
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&UXP )RUVWHU,QGHPQLW\&R                                                                                                           
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:LOOLDPVEXUJ1DWLRQDO,QV&R                                                                                                      
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,QWHJUD,QVXUDQFH,QF                                                                                                                
:KLWHFDS6XUHW\&R                                                                                                                         
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1DWLRQDO%DLO 6XUHW\&R                                                                                                                          
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                                                                                            SFAA 000431
                                                                                                                                                         ΞdŚĞ^ƵƌĞƚǇ&ŝĚĞůŝƚǇƐƐŽĐŝĂƚŝŽŶŽĨŵĞƌŝĐĂ
                                                 7KH6XUHW\DQG)LGHOLW\$VVRFLDWLRQRI$PHULFD
                                                %$,/%21'6833/(0(17(;+,%,7$**5(*$7(5(3257
                                                                               'UDIW-XQH

                                                                                                                                                   # Responding         # Responding
                                                                                                                        # of Responses                 YES                  NO
,VWKHEDLOERQGSUHPLXPUHSRUWHGRQDJURVVEDVLV"                                                                                                                      
,IWKHDQVZHUWRZDVQRZDVDSHUPLWWHGSUDFWLFHJUDQWHGWRWKHUHSRUWLQJHQWLW\"                                                                                    
,IWKHDQVZHUWRZDVQRSOHDVHH[SODLQ9DULRXVUHVSRQVHV
:KDWERQGOLIHLVXVHGWRFDOFXODWHXQHDUQHGSUHPLXPLQGD\V"                      Average:                                                      QD                   QD
* Of the 17 responses, two listing "1 day" were not included in the average,          Median:            
                     median and mode calculations.                                      Mode:            
$UHDQ\DPRXQWVFKDUJHGWRWKHFRQVXPHUH[FOXGHGIURP*URVV3UHPLXPV"                                                                                                   
,IWKHDQVZHUWRZDV<HVSOHDVHH[SODLQ9DULRXVUHVSRQVHV
                                                                                                                                                                                             Case 4:19-cv-00717-JST




'RWKHDJHQWVKDYHRQJRLQJSHUIRUPDQFHREOLJDWLRQVRQWKHERQGDIWHUH[HFXWLRQ"                                                                                          
,IWKHDQVZHUWRLV<HVSOHDVHGHVFULEHWKHQDWXUHRIWKHDJHQWV 
FRQWLQXLQJREOLJDWLRQV9DULRXVUHVSRQVHV
                                                                                                      &XUUHQW<HDU         RI*3:                     3ULRU<HDU         RI*3:
)DFHDPRXQWRIEDLOERQGVZULWWHQ                                                                         ;;;                            ;;;
'LUHFW3UHPLXPV:ULWWHQ *URVV                                                                          ;;;                           ;;;
&RPPLVVLRQVDQG%URNHUDJH([SHQVHV                                                                                              
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3UHP:ULWWHQ1HWRI$JHQW&RPPDQG%URNHU([SHQVHV                                                                             
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            Case 4:19-cv-00717-JST            Document 324-4          Filed 10/26/22        Page 48 of 305


Orgovan, Joseph

From:                Duke, Rob
Sent:                Wednesday, March 9, 2016 3:08 PM
To:                  Committee-BBAC-Open
Subject:             Letter to the Editor - ABA Journal
Attachments:         scanner@surety.local_20160309_143614.pdf; bail.aba.letter.editor.doc


IntheMarch2016editionoftheABAJournal,therewasatroublingdiscussionregardingbailaspartofthe
“criminalizationofpoverty.”(attached)SFAAstaffdeterminedthataresponsewasneeded.Attachedisadraftletterto
theeditor.Pleasereviewandfeelfreetoofferanysuggestedrevisions.

Rob

RobertJ.Duke
CorporateCounsel
TheSurety&FidelityAssociationofAmerica
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rduke@surety.org




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                                                       SFAA 000433
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                               SFAA 000434
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The Surety & Fidelity Association of America
        1140 19th STREET, NW, SUITE 500, WASHINGTON, DC 20036 TEL: (202) 463-0600 – FAX: (202) 463-0606
                                          website: http://www.surety.org
                                          E-mail: information@surety.org



                                                   March 9, 2016



       Re:      “Justice for All . . . Who Can Afford It”, March 2016, p. 8

Dear Editors:

       The Surety & Fidelity Association of America ("SFAA") is a non-profit corporation
whose member companies collectively write the majority of surety and fidelity bonds in the
United States. SFAA’s members are sureties on the vast majority of bonds in the United States,
and include a number of companies active in providing surety bail bonds.

         Much of the law involves balancing the interests of the parties and stakeholders. In her
President’s Message, Paulette Brown identifies key issues with respect to the use of bail.
However, the balancing as presented in her Message is incomplete. Her Message fails to
acknowledge the societal benefit of bail and the societal harm and cost caused by a defendant’s
failure to appear.

         The use of bail has been contemplated and accepted since the Nation’s founding.
Notably, because the Eighth Amendment of the U.S. Constitution prohibits the use of excessive
bail, the implication is that the use of bail is an accepted practice. Bail secures the critical public
policy interest of having the defendant appear. A defendant’s appearance advances the interests
of justice and is a critical condition of due process (See e.g. People v. Isby. 30 Cal.2d 879, 894
(1947)). The Maryland Court of Special Appeals described the public policy objective of bail
succinctly:

                The purpose of the bond or security is to secure a trial, its object
                being to combine the administration of justice with the
                convenience of a person accused, but not proved, to be guilty. If
                the accused does not appear the bail may be forfeited, not as a
                punishment to the surety or to enrich the Treasury of the State, but
                as an incentive to have the accused return or be returned to the
                jurisdiction of the court.

Irwin v. State, 17 Md.App. 518, 524 (1973). Unfortunately, the President’s Message failed to
acknowledge the key role of bail in the administration of justice.

        Surety bail is the most efficient and effective means of furthering this public policy
interest. Experience in other jurisdictions has shown that cash bail for only a portion of the bond
or other measures are not an effective means to secure a defendant’s appearance. For example,




                                                 SFAA 000435
       Case 4:19-cv-00717-JST              Document 324-4            Filed 10/26/22        Page 51 of 305

Letter to the Editor
March 9, 2016
Page 2

according to a June 26, 2010, article from the Philadelphia Inquirer 1, over $1 Billion was owed
to the City by defendants who were released after depositing 10% cash bail and then failed to
appear. That is, under a partial cash bail system, the defendant pays 10% of the bond and
promises that if he or she fails to appear, the balance will be paid. With only 10% at stake, a
high number of defendants failed to appear and, not surprisingly, failed to pay the balance of the
bond. A surety bail bond takes measures to assure that the defendant appears and will pay 100%
of the bond if there is a failure to appear.

        A failure to appear thwarts the administration of justice. It is important to remember that
the defendant is in jail primarily because there was probable cause that he or she committed a
crime. Bail secures the objective of the defendant’s appearance so that proceedings can ensue to
determine his or her guilt.

        The bail bond agent, and ultimately the surety, do much more than collect the bond
premium. The agent often obtains collateral or indemnity to guarantee that if the defendant fails
to appear and the bond is forfeited, the agent and surety will have indemnity for the loss. This
gives the defendant’s friends or family members who provided the collateral or indemnity, as
well as the defendant, a powerful financial incentive to see that the defendant appears in court or
is recovered promptly in the event of a default. The agent also monitors the defendant to avoid a
default and attempts to recover a defendant who failed to appear. Finally, the agent or surety
pays any forfeiture.

        The President’s Message did not acknowledge that the source of funds to pay for bail or
monitoring devices typically is not the defendant but the defendant’s family and friends. Courts
examine these other sources to determine if the defendant is truly indigent. In the vast majority
of cases, such sources are available to pay bail.

        We hope that when the ABA Journal addresses the public policy surrounding bail in the
future, it will balance and account for all interests. Thank you for your consideration.

                                                       Sincerely,


                                                       Robert J. Duke
                                                       Corporate Counsel




1
    See http://articles.philly.com/2010-06-26/news/24966289_1_court-leaders-debt-court-officials



                                                     SFAA 000436
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Orgovan, Joseph

From:                Wanke, Daniel
Sent:                Tuesday, June 24, 2014 3:51 PM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Bail Bond Legislation
Attachments:         Bail Bond Legislation - June 2014.pdf



Please find attached our latest report on legislation for 2014. If you have any questions, please do not hesitate to
contact us. Thank you.

Daniel Wanke
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Daniel Wanke
Manager - Regulatory and Government Affairs
The Surety & Fidelity Association of America
(202) 778-3631 - Direct
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                                                       SFAA 000437
                                      THE SURETY & FIDELITY ASSOCIATION OF AMERICA

                                                            MEMORANDUM

     TO:           Bail Bond Advisory Committee

     FROM:         Daniel Wanke

     RE:           Bail Bond Legislation

     DATE:         June 23, 2014
                                                                                                                                               Case 4:19-cv-00717-JST




     There are eight states and the District of Columbia in session. In all states except New Jersey and Virginia, this is the second
     year of a two-year session. The following report compiles and summarizes bail bond legislation that SFAA is tracking for
     2014.

Jurisdiction    Bill         Recent History      SFAA Summary
                                                                                                                                               Document 324-4




AL              HB 134       Failed              HB 134 would have eliminated the requirement that a professional bail company furnish a
                                                 $25,000 surety bond. The bill would have required an escrow agreement with a
                                                 minimum amount of $100,000 instead. The bill established a maximum amount of an
                                                 appearance bond that a company could post per defendant. The bill would have required
                                                 the company to obtain from the circuit clerk a certified list of its outstanding appearance
                                                 bonds and their amounts and a copy of the original escrow agreement for recertification.
                                                 The bill would have required an affidavit certifying proof of all the documents required
                                                                                                                                               Filed 10/26/22




                                                 for recertification. The bill also would have required employees of the company to be
                                                 fingerprinted to check their criminal record. The bill prohibited any person charged with
                                                 certain crimes from having a financial interest in the company. The bill also would have
                                                 established minimum education and exam requirements for employees.
AL              SB 155       Failed              SB 155 would have established education and continuing education requirements for
                                                 professional bail bondsmen. The bill provided that failure to comply with the proposed
                                                 education requirements would have resulted in a suspension of the authority to act as a
                                                                                                                                               Page 53 of 305




                                                 bondsman.



                                                                 SFAA 000438
AL   SB 236    Failed             SB 236 would have established continuing education and examination requirements for
                                  professional bail bondsmen. The bill would have required bondsmen to file certificates of
                                  examination or continuing education issued by the Department of Insurance with the
                                  presiding circuit judge.
AL   SB 249    Failed             SB 249 would have established continuing education and examination requirements for
                                  professional bail bondsmen. The bill would have established requirements for certifying
                                  organizations to conduct courses to meet these education requirements.
AL   SB 413/   Failed             SB 413/HB 477 would have revised the existing law concerning premium reserves for
     HB 477                       surety insurers. Current law requires sureties to post an unearned premium reserve in
                                  accordance with the requirements for property and general casualty insurers based on
                                                                                                                                Case 4:19-cv-00717-JST




                                  gross premiums. The bill would have established an unearned premium reserve for bail
                                  bond surety insurers based on net premiums.
CA   AB 723    08/30/2013         AB 723 would permit a person on post-release supervision that has a revocation petition
               AB 723 has been filed against him or her to file an application for bail or release on his or her own
               held in the Senate recognizance with the superior court. Current law requires that persons released from
               Appropriations     prison after serving a prison term for a felony, with exceptions, be released into post-
               Committee.         release community supervision for a period not exceeding three years.
CA   AB 773    Failed             AB 773 would have revised the bail agent licensing law to permit a limited liability
                                                                                                                                Document 324-4




                                  company (LLC) to be licensed as a bail agency. The bill would have exempted a
                                  corporation or LLC that is an admitted surety insurer or is a subsidiary of an admitted
                                  surety insurer from a requirement that 100% of the shares of the corporation or
                                  membership interest in the LLC be held by licensed bail agents and from a requirement
                                  that members of the LLC and all shareholders, officers, and directors of the corporation
                                  be licensed as bail agents.
CA   AB 1118   06/19/2014         AB 1118 would revise the existing law on the countywide bail schedules that courts
                                                                                                                                Filed 10/26/22




               AB 1118 has been currently are required to establish by law. The bill would direct the Judicial Council to
               amended and re-    prepare, adopt and maintain a statewide bail schedule for all bailable felony offenses and
               referred to the    for all misdemeanor and infraction offenses, except for Vehicle Code infractions. The
               Senate Committee bill would outline the procedures for how to set forth the schedule, which would be based
               on Public Safety. on the seriousness of the offense, and additional factors set forth in the law pertaining to
                                  certain crimes. The bill would have provided requirements for courts using the statewide
                                  schedule in lieu of the county schedule under existing law. These provisions were
                                                                                                                                Page 54 of 305




                                  removed in recent amendments.



                                                   SFAA 000439
CO   SB 212    06/06/2014          SB 212 clarifies the existing law concerning bail bonds. The new law provides that the
               SB 212 has been     defendant could select how to secure a bail bond unless the court mandates a particular
               enacted.            method. The new law revises the procedures for motions during hearings for the review
                                   of a bond. The new law makes technical corrections concerning monetary condition
                                   bonds. The new law specifies that a court could designate a person to set bond amounts.
CO   HB 1261   Failed              HB 1261 would have revised the existing law concerning pretrial release programs and
                                   bail bonds. The bill would have limited a court's authority to determining the amount of
                                   the bond and gives the defendant the ability to choose how to satisfy the bond. The bill
                                   also would have outlined limits on how the court may release a defendant on his or her
                                   personal recognizance. The bill would have revised the law on the exoneration of the
                                                                                                                               Case 4:19-cv-00717-JST




                                   bond to require compensated sureties to provide information on the costs of the bond.
                                   The bill also would have revised the law concerning how security deposits are used upon
                                   forfeiture or termination of a bond by requiring the consent of the defendant for how the
                                   proceeds are used. The bill would have established notification requirements for pretrial
                                   supervision programs for when a defendant commits a potential bail or program
                                   violations.
CT   SB 107    Failed              SB 107 would have revise the existing law concerning the advertising that bail bond
                                   agents may conduct in a correctional institution, community correctional center or other
                                                                                                                               Document 324-4




                                   detention facility, police station or courthouse. The law permits telephone listings as a
                                   form of advertising. The bill would have clarified that this includes advertisements in a
                                   yellow pages phone book.
CT   SB 389    06/13/2014          SB 389 revises the conditions under which a bail bond is automatically terminated and
               SB 389 has been     released.
               enacted.
                                                                                                                               Filed 10/26/22




CT   HB 5246   Failed           HB 5246 would have revised the existing law concerning licensing for bail bond agents.
                                The bill provided for the cancellation of the license for a failure to pay the required
                                license fee. The bill also would have authorized the Insurance Department to adopt
                                regulations establishing continuing education requirements for bail bond agents in
                                connection with licensure.
CT   HB 5586   06/13/2014       HB 5586 permits probation officers to conduct interviews and set the amount of bail in
               HB 5586 has been the course of serving arrest warrants for violation of probation under the same terms that
                                                                                                                               Page 55 of 305




               enacted.         a police officer can when making an arrest.




                                                   SFAA 000440
CT   HB 5588   06/12/2014          HB 5588 permits a surety from a bail bond in a criminal case to apply for release from a
               HB 5588 has been bond if the defendant absconds. The new law authorizes the court to extend the stay of
               enacted.            execution of a bond forfeiture if a defendant failed to appear. Among the conditions by
                                   which a court would vacate a bond forfeiture, the new law adds when the defendant is
                                   taken into custody by a federal agency, or if he or she has been removed by U.S.
                                   Immigration and Customs Enforcement. The bill would have revised certain provisions
                                   with regard to promissory notes given in connection with premium financing agreements
                                   for the bail bond. The bill provided that if a defendant whose bond has been forfeited
                                   returns to court voluntarily more than five business days after and less than six months
                                   after the bond was ordered forfeited, the bond would have been automatically terminated,
                                   and the surety would be released. The bill provided for a task force to study the law on
                                                                                                                                  Case 4:19-cv-00717-JST




                                   the extradition of fugitives.
DE   SB 36     01/29/2014          SB 36 would amend Delaware’s constitution regarding the right to bail. Currently, the
               SB 36 has been      law provides that all prisoners are bailable by sufficient sureties, except for capital
               reported out of the offenses “when the proof is positive or the presumption great.” The bill provides that bail
               House               would not be granted to prisoners charged with certain felony offenses or in
               Administration      circumstances when “no condition or combination of conditions other than detention will
               Committee.          reasonably assure the safety of any person or the community.” The bill would require
                                                                                                                                  Document 324-4




                                   persons held pretrial for such felonies to be offered bail if their trial has not commenced
                                   90 days from the date of their arrest.
FL   HB 365    Failed              HB 365 provided that an order of no contact for a defendant would be effective
                                   immediately upon the order of the court and enforceable prior to and through the time of
                                   release. Existing law prohibits defendants from contacting victims in a criminal case
                                   except in accordance with certain procedures in the case as a condition of pretrial release.
FL   HB 427    06/20/2014          HB 427 prohibits a person who resides in Florida from crossing a county boundary with
                                                                                                                                  Filed 10/26/22




               HB 427 has been the intent to commit burglary in a county other than that of his or her residence. The bill
               enacted.            had provided that defendants charged with such crimes would not be eligible for release
                                   on a bail or a surety bond. As amended and enacted, the new law provides that persons
                                   committing burglary in a county other than their residence, the degree of the burglary will
                                   be reclassified to the next higher degree if the purpose of the person's travel is to thwart
                                   law enforcement attempts to track the stolen items. The reclassification of the degree of
                                   the burglary must be taken into consideration when the court is determining bail.
                                                                                                                                  Page 56 of 305




                                                    SFAA 000441
FL   SB 854/   Failed           SB 854/HB 1395 would have provided for the use of electronic surety bonds for bail
     HB 1395                    bonds. The bill would have outlined the qualifications required of bail agents to use such
                                bonds. Further, the bill also would have added specifications to the law concerning
                                surety qualifications for issuing bail bonds, including licensure and the attachment of a
                                power of attorney.
FL   HB 5601   05/14/2014       HB 5601 revises the existing law concerning the premium and excise taxes for bail bonds
               HB 5601 has been and permits the computation based on net premiums.
               enacted.
GA   HB 96     Failed           HB 96 would have abolished the death penalty. The bill would have deleted references
                                throughout the law referencing the death penalty with respect to criminal charges. The
                                                                                                                                Case 4:19-cv-00717-JST




                                bill would have repealed an extension of the 90-day period for defendants subject to the
                                death penalty to have the charges heard by a grand jury. The law provides that if the
                                charges are not heard, then the defendant may be granted bail.
GA   HB 145    Failed           HB 145 would have revised the existing law for hearings in which persons who may pose
                                a danger are required to appear. Existing law provides that a bond may be required of the
                                person who the court orders to appear to secure their good behavior. The bill would have
                                revised the bond term, which currently is from the time of the order until the next term of
                                the superior court of the county or for six months, whichever is greater. The bill would
                                                                                                                                Document 324-4




                                have required the bond to be in place for six months. The bill also would have repealed a
                                provision permitting a person to require their spouse to post a bond for good behavior in
                                these cases. The bill also would have repealed a provision permitting direct actions on
                                the bond. The law permits the bond period to be extended from term to term by the
                                superior or state court, or for additional 60-day periods, whichever is greater. Instead, the
                                bill would have provided for the extension of the bond for a period of six months.
GA   HB 271    04/22/2014       HB 271 revises the requirements for escrow accounts for professional bail bond
                                                                                                                                Filed 10/26/22




               HB 271 has been companies. The new law revises the premium requirements for bail bond companies with
               enacted.         regard to the permissible amount the company may charge for a bond. Prior law capped
                                the charge at not more than 12% of the face amount of the bond set in the amount of
                                $10,000 or less, and not more than 15% of the face amount of the bond set in an amount
                                in excess of $10,000. The new law caps the maximum premium at 15% of the bond
                                amount, regardless of the amount of the bond, provided however that a surety may charge
                                and receive a minimum of $50 per bonded charge or offense as compensation, regardless
                                                                                                                                Page 57 of 305




                                of whether it exceeds 15% of the face amount of the bond.



                                                   SFAA 000442
                       Prior law provided that the establishment of a cash escrow account or other form of
                       collateral had to be in a sum and upon terms and conditions approved by the sheriff. The
                       new law provides that the escrow or collateral amount for professional bonding
                       companies that are new to the county or that has operated continuously in the county for
                       less than 18 months would be determined and approved by the sheriff. Following this
                       period, the cash escrow account or other form of collateral shall not exceed 10% of the
                       company’s current outstanding bail bond liability. The new law prohibits the company
                       from purchasing an insurance policy in lieu of establishing a cash escrow account or
                       posting other collateral. The new law provides that companies that were using an
                       insurance policy as collateral as of December 31, 2013, will be permitted to continue to
                                                                                                                     Case 4:19-cv-00717-JST




                       do so at the sheriff’s discretion. As introduced, the bill did not impact bonding. It was
                       amended and quickly passed in this form.
GA   HB 392   Failed   HB 392 would have revised the law for unclaimed cash bail. Under current law, if the
                       surety does not claim the cash bail seven years from the later of either the date on which
                       the defendant was required to appear in court or the date of disposition of the case by the
                       prosecutor or the court, then the bond is remitted to the county general fund where the
                       trial took place. The bill would have reduced this to a period of one year from the date of
                                                                                                                     Document 324-4




                       the surety being released from liability or the date of disposition of the case by the
                       prosecutor or the court.
GA   HB 510   Failed   HB 510 would have reduced from 15 days to seven days the period given to place a
                       detainer or hold on a defendant to prevent forfeiture on the bond in certain cases where a
                       defendant is prevented from appearing in court. Following this period, the surety is
                       relieved of the liability for the bond. The bill also would clarify that the period begins
                       from the date of the surety’s request. The bill provided that the bond could not be
                                                                                                                     Filed 10/26/22




                       forfeited due to the defendant undergoing treatment. The bill would have stricken
                       provisions pertaining to the return of the defendant in cases where the surety locates the
                       defendant. Returning the defendant grants the surety a refund. The bill would have
                       granted this refund if the defendant is “produced or otherwise appears before the court
                       that has jurisdiction of the bond.” The bill provided that in cases where the defendant is
                       outside of the State and the court does not seek extradition, the bill provides that 5% of
                       the bond could be remitted to satisfy the judgment.
                                                                                                                     Page 58 of 305




                                       SFAA 000443
GA   805       Failed             HB 805 would have revised existing law to permit bail bondsmen to be elected to certain
                                  local offices.
HI   SB 873/   Failed             SB 415/HB 234 provided that all money deposited in any criminal proceeding before any
     SB 415/                      court for bail or a bail bond that has not been declared forfeited would have to be applied
     HB 234                       toward payment of any restitution, fines, or fees ordered by the court in the case for the
                                  restitution of the victim or victims of the crime.
IA   HB 112    04/24/2013         HB 112 extends the time period that the court may set aside a judgment of forfeited bail
               HB 112 has been against a surety when a defendant fails to appear in court from 60 days to 90 days. Under
               enacted.           existing law, if defendants fail to appear in court, such judgments may be set aside for a
                                  period of up to 60 days from the date of the judgment to permit the defendant to
                                                                                                                                   Case 4:19-cv-00717-JST




                                  voluntarily surrender to the sheriff or for the surety to deliver the defendant to the court.
                                  Further, the new law increases the time the district court clerk is required to hold forfeited
                                  bail from 60 days to 90 days from the date of the judgment against the surety.
IA   HSB 636   Failed             HSB 636 outlined who an arrested person may call, which would include insurance
                                  companies writing bail bonds.
ID   HB 461    03/26/2014         HB 461 establishes sobriety requirements as a part of a monitoring program for
               HB 461 has been defendants in criminal cases. The new law provides that the court may require abstaining
               enacted.           from drugs and alcohol participation in a sobriety monitoring program as a condition of
                                                                                                                                   Document 324-4




                                  the defendant’s bond.
IL   HB 1243   04/11/2014         HB 1243 would enact the Illinois Parentage Act of 2013. The bill provides that when the
               HB 1243 has been obligor of a temporary order for child support in a parentage determination case or an
               sent to the House obligor of a support order in a paternity case is arrested for failing to report new
               Rules Committee. employment as outlined in the bill, the bond would have to be in the amount of the unpaid
                                  support that should have been paid during the period of unreported employment.
                                                                                                                                   Filed 10/26/22




IL   SB 2280   08/09/2013         SB 2280 would delete a provision under current law requiring a defendant to surrender
               SB 2280 has been his or her Firearm Owner's Identification Card as a condition of bail.
               sent to the Senate
               Assignments
               Committee.
                                                                                                                                   Page 59 of 305




                                                    SFAA 000444
IL   HB 3744   04/07/2014        HB 3744 would expand the types of crimes that are considered in a bail hearing for
               HB 3744 has been  determining whether a defendant should be placed under electronic surveillance. The bill
               sent to the       also would add procedures for the court to record the basis of its decision for placing the
               Governor.         defendant under such surveillance. The bill provided that the cost of the electronic
                                 surveillance shall be paid from the bail that the defendant has deposited. As amended, the
                                 bill provides that the defendant shall pay for the surveillance costs, or someone could pay
                                 the costs on his or her behalf.
IL   HB 3772   01/13/2014        HB 3772 would authorize a court to order a defendant to be placed under the supervision
               HB 3772 has been of the Pretrial Services Agency, Probation Department, County Department of
               introduced.       Corrections, or Court Services Department in a pretrial bond home supervision capacity
                                                                                                                               Case 4:19-cv-00717-JST




                                 with the use of an approved electronic monitoring device as a condition of being released
                                 by personal recognizance. The bill would authorize the court to require the defendant to
                                 remain or be placed in the custody of such designated person or organization agreeing to
                                 supervise his or her release, with or without the use of an approved electronic monitoring
                                 device administered by these agencies as a condition of bail. The bill would allow
                                 applications for electronic home detention to include “as a condition of bail, as a
                                 condition of release on own recognizances, or in lieu of bail.”
IL   HB 3773   01/13/2014        HB 3773 would outline the conditions on which a defendant may be released on his or
                                                                                                                               Document 324-4




               HB 3773 has been her own recognizance when charged with certain drug-related crimes.
               introduced.
IL   4245      04/04/2014        HB 4245 would establish bail procedures for first time, non-violent offenders. The bill
               HB 4245 is        provides that such defendants would be released on their own recognizance unless the
               pending the third court determined a cash bond is necessary.
               reading in the
               House.
                                                                                                                               Filed 10/26/22




IN   SB 373    Failed            SB 373 would have revised and reorganized the existing law pertaining to bail bonds in
                                 Indiana for cash, personal, and commercial bail bonds.
IN   HB 395    Failed            SB 395 would have revised the bail bond requirements in existing law. Of note, the bill
                                 provided for an increase in the required amount of the cash deposit from 10% to 15% of
                                 the amount of the bail that the court sets. The bill also would have revised the types of
                                 security that may be provided as bail. The bill also would have prohibited the court from
                                 declaring a bond forfeited for any reason other than the defendant’s failure to appear in
                                                                                                                               Page 60 of 305




                                 court.



                                                   SFAA 000445
KS   SB 26     Failed            SB 26 would have added bail bond insurance to the types of insurance for which an
                                 insurance agent may receive a license. The bill listed bail bond insurance as a “limited
                                 line insurance that provides surety for a monetary guarantee that an individual released
                                 from jail will be present in court at an appointed time.” The bill would have exempted
                                 licensed insurance agents who only have a bail bond qualification from the existing law’s
                                 requirement to obtain continuing education credits.
KS   SB 140    Failed            SB 140 would have revised the current law pertaining to appearance bonds with respect
                                 to the defendant’s immigration status. The bill provided that persons charged with a
                                 crime that are not a citizen or national of the United States would have to have their
                                 immigration status verified with the federal government. For determining whether to
                                                                                                                               Case 4:19-cv-00717-JST




                                 grant or issue appearance bonds, if the person was verified by the federal government as
                                 an alien unlawfully present in the United States, there would have been a rebuttable
                                 presumption that the person is at risk of flight.
KS   SB 256    04/18/2014        SB 256 revises the existing law concerning bail to prohibit persons charged with certain
               SB 256 has been   crimes from being released on their own recognizance. The new law addresses the
               enacted.          qualifications of a surety for a bail bond. The new law requires out-of-state sureties to
                                 contract with a surety authorized in the State for the apprehension of persons in Kansas.
                                 Further, the new law revises the law concerning unlawful sexual relations between a
                                                                                                                               Document 324-4




                                 person acting as a bail surety and a defendant and/or minors.
KS   HB 2070   Failed            HB 2070 would have restricted the release of defendants on their own recognizance,
                                 provides that an out-of-state surety or bounty hunter intending to apprehend any person in
                                 Kansas must enter into a contract with an individual authorized by a Kansas court to act
                                 as a surety or bounty hunter before attempting the apprehension. The surety or agent
                                 from out-of-state would have had to be accompanied by the Kansas-authorized surety or
                                 bounty hunter during such apprehension. Any prior felony conviction would have
                                                                                                                               Filed 10/26/22




                                 disqualified a person from being a surety or bounty hunter in Kansas. Current law
                                 terminates the disqualification after ten years.
KS   HB 2256   Failed            HB 2256 would have revised the requirements for appearance bonds for municipal courts.
                                 The bill provided the amount of the appearance bond shall be set by the court and the
                                 amount shall be the same, regardless of the method securing the bond. A deposit of cash
                                 in less than the full amount of the bond shall not be permitted. The bill would have
                                 deleted language permitting a responsible individual residing within the State to provide a
                                                                                                                               Page 61 of 305




                                 bond. Instead, the bill would have required an appearance bond to be provided by a



                                                 SFAA 000446
                                 “sufficient, solvent surety.” The bill would have revised the law concerning forfeitures.
                                 Current law provides that if the forfeiture of a bond has become final, the court shall
                                 direct the application of the funds or that an action to be instituted for the collection from
                                 the sureties on the bond or from the accused person. Instead, the bill provided that where
                                 the bond forfeiture has not been set aside, the court shall direct an action to be instituted
                                 for collection of the funds from the obligors on the bond as outlined in K.S.A. 22-2807.
KS   HB 2493   Failed            HB 2493 would revise the existing law concerning bail with respect to releasing
                                 defendants on their own recognizance. The bill also would address the qualifications of a
                                 surety for a bail bond. Further, the bill would revise the law concerning unlawful sexual
                                 relations between a person acting as a bail surety and a defendant and/or minors.
                                                                                                                                  Case 4:19-cv-00717-JST




KY   HB 359    04/25/2014        HB 359 authorizes the court to require defendants in a criminal case to wear a continuous
               HB 359 has been   monitoring device for alcohol as a condition of pretrial release if the defendant poses a
               enacted.          risk for substance abuse.
LA   HB 362    Failed            HB 362 would have revised the existing law concerning the release of a surety on a
                                 defendant’s bond to provide that the surety is released from its obligations on account of
                                 the clerk of court’s failure to mail the notice of a judgment within 60 days after the
                                 defendant's “initial” failure to appear. Current law does not specify that it must be the
                                 defendant’s initial failure to appear.
                                                                                                                                  Document 324-4




LA   HB 363    Failed            HB 363 would have revised the existing law on the surety’s surrender of a defendant to
                                 modify procedures concerning the extradition of a defendant and for seeking to obtain an
                                 extension of the time to surrender of a defendant.
LA   HB 418    Failed            HB 418 would have established time limits for satisfying a judgment for the forfeiture of
                                 a bail bond based on the amount of the bond. In addition, the bill would have allowed a
                                 judgment to be satisfied by paying the full amount of the judgments into the registry of
                                 the court and the simultaneous institution of proceedings to determine the validity of the
                                                                                                                                  Filed 10/26/22




                                 judgment.
                                                                                                                                  Page 62 of 305




                                                 SFAA 000447
LA   SB 439    Failed           SB 439 would have rewritten the law concerning bail bonds. The bill would have revised
                                certain terminology and procedures with regard to the notices required under existing law
                                in connection with the defendant’s appearance in court. The bill also would have revised
                                certain procedures concerning the certificates a surety must receive following the surety’s
                                surrender of a defendant or if the defendant surrenders himself or herself. The bill would
                                have revised the procedures concerning the provision of a certificate of death. (i.e.
                                establish a timeframe of when the certificate may be furnished to the court.) The bill
                                would have added new procedures concerning the forfeiture of the bond and the arrest of
                                the defendant following his or her failure to appear in court, including notice
                                requirements and the liability of a bail agent in this case. The bill would have required a
                                contradictory hearing to order a judgment of bond forfeiture. The bill would have revised
                                                                                                                              Case 4:19-cv-00717-JST




                                the current procedures for bond forfeiture appeals.
LA   HB 540    Failed           HB 540 would have revised the existing law on bail bonds to authorize the use of e-mail
                                to provide a notice of judgment of bond forfeiture. The bill would have outlined the
                                procedures under which e-mail could be used.
LA   HB 790    Failed           HB 790 would have revised the existing law for bail bonds, which allows a defendant to
                                furnish a personal undertaking as a bail bond. The bill would have authorized the courts
                                in any parish, other than St. John the Baptist and St. Charles, to alter the percentage
                                                                                                                              Document 324-4




                                amount of the bail to be deposited with the officer, and it would authorize the officer to
                                charge an administrative fee, not to exceed $25 for processing the bond.
LA   HB 1142   05/29/2014       HB 1142 provides for bail restrictions concerning protection orders and the possession of
               HB 1142 has been firearms. The new law establishes procedures for a bail hearing for felony offenses
               enacted.         against a family or household member or dating partner. The new law provides
                                procedures for the issuance of a Uniform Abuse Prevention Order as a condition of bail
                                for offenses against a family or household member or dating partner. The new law
                                                                                                                              Filed 10/26/22




                                prohibits the possession of firearms by persons subject to these orders.
LA   HB 1176   06/04/2014       HB 1176 would restrict use of Family Independence Temporary Assistance Program
               HB 1176 has been benefits and electronic benefits cards for bail bonds, among other items.
               sent to the
               Governor.
LA   HB 1206   04/01/2014       HB 1206 would consolidate the New Orleans Traffic and Municipal Courts.
               HB 1206 has been
                                                                                                                              Page 63 of 305




               sent to the



                                                   SFAA 000448
               Governor.
MA   SB 666    04/17/2014          SB 666 provides that a probationer that has been charged with violating the terms of his
               SB 666 has not      or her probation would be admitted to bail pending a final surrender hearing.
               moved since it
               was scheduled for
               a hearing on
               04/24/2014.
MA   SB 678    04/14/2014          SB 678 would amend the existing law pertaining to warrants to provide that a warrant
               SB 678 has not      could be designated as a default warrant if it is issued because a person has forfeited or
               moved since it      made default on his or her bail bond or recognizance or if the person has been surrendered
                                                                                                                                Case 4:19-cv-00717-JST




               was scheduled for   by a probation officer.
               a hearing on
               04/16/2014.
MA   SB 825/   04/14/2014          SB 825/HB 1239 would revise certain procedural matters pertaining to unsecured
     HB 1239   SB 825/HB 1239      appearance bonds, and also would revise certain procedures with regard to the review of
               has not moved       excessive bail.
               since it was
               scheduled for a
                                                                                                                                Document 324-4




               hearing on
               04/16/2014.
MD   SB 29     Failed              HB 29 would have outlined certain procedures with regard to local law enforcement
                                   participation in federal immigration enforcement. The bill provided that a detainee may
                                   not be denied bail solely because of an immigration detainer. Further, the bill provided
                                   that nothing in these procedures may be construed to undermine the authority of a court to
                                   make a bail or bond determination according to its usual procedures.
                                                                                                                                Filed 10/26/22




MD   HB 631    Failed              HB 631 would have revised the existing law pertaining to the forfeiture of a bail bond.
                                   The bill would have eliminated certain provisions concerning refunds to the surety. The
                                   bill also would have eliminated provisions concerning the handling of forfeited funds
                                   following the arrest, apprehension, or surrender of a defendant who was arrested,
                                   apprehended, or surrendered.
                                                                                                                                Page 64 of 305




                                                   SFAA 000449
MD   SB 973/   Failed               SB 973/HB 1232 would have established a pretrial release services program for criminal
     HB 1232                        defendants. The bill would have directed the Department of Public Safety and Public
                                    Services to create the program according to the requirements outlined in the proposed
                                    law. The program would have provided alternatives to the pre-trial incarceration of
                                    defendants. The bill would have repealed the authority of the District Court
                                    commissioners to carry out certain functions in connection with criminal proceedings,
                                    including the authority to set bail, and transfer that authority to a judge.
MD   SB 1030   Failed            SB 1030 would have revised the existing law concerning bail bond forfeitures. The bill
                                 would have repealed the existing law prohibiting courts exercising criminal jurisdiction
                                 from refunding a forfeiture of bail or collateral unless a private surety pays a forfeiture of
                                                                                                                                  Case 4:19-cv-00717-JST




                                 bail or collateral within the law’s time constraints. The bill also would have repealed
                                 certain conditions that have to be met under current law before the court may refund a
                                 forfeited bail bond or collateral that was not paid within a certain time.
MI   SB 521    02/20/2014        SB 521 would revise the existing law concerning bench warrants issued in family court
               SB 521 passed the cases where a person has violated a support order. Existing law allows such persons to
               Senate.           post a cash performance bond following the issuance of a bench warrant and their arrest
                                 in order to be released from custody. The bill would add procedures for furnishing the
                                 bond to permit a payer for whom a bench warrant has been issued to voluntarily appear at
                                                                                                                                  Document 324-4




                                 the office of the friend of the court to answer the bench warrant. The payer must post the
                                 bond set forth in the bench warrant or be taken promptly before the court for further
                                 proceedings. If the bond is posted, the court or its clerk must give a receipt to the payer,
                                 which must direct the payer to appear before the court at a specific time and date. Upon
                                 posting the bond, the bench warrant would be removed.
MI   HB 4083   06/04/2014        HB 4083 would create the Michigan crime stoppers act and provide for the designation of
                                                                                                                                  Filed 10/26/22




               HB 4083 is to the crime stoppers organizations by county. Defendants charged with a felony or a
               second reading in misdemeanor, including an ordinance violation, that is resolved by conviction,
               the House.        assignment of the defendant to youthful trainee status, a delayed sentence, or a deferred
                                 entry of judgment of guilt, or in another way that is not an acquittal or unconditional
                                 dismissal, the court shall charge the defendant an assessment that would be used to fund
                                 the designated crime stoppers organization in the county. If the defendant posted a cash
                                 bond or bail deposit in connection with the case, the court shall order the assessment to be
                                                                                                                                  Page 65 of 305




                                 collected out of that bond or deposit.




                                                    SFAA 000450
MN   HB 744    02/20/2013        HB 744 would impose a fee for the reinstatement of a bail bond in an amount prescribed
               HB 744 has been   by court rule in an amount based on a percentage of the bond fee, but not less than $100.
               introduced.       The bill also would direct the court to impose a minimum penalty as provided in Rule 702
                                 of Minnesota General Rules of Practice for reinstating the bond.
MO   HB 1325   Failed            HB 1325 would have revised the existing law regarding the possession of less than 35
                                 grams of marijuana and the possession of marijuana drug paraphernalia. The bill would
                                 have outlined the fines and penalties for persons charged with this offense. If the person
                                 did not have any prior drug offenses on their record, the bill would have exempted him or
                                 her from posting a bond.
MS   HB 38     Failed            HB 38 would have established a list of crimes with bail restrictions. Defendants charged
                                                                                                                                Case 4:19-cv-00717-JST




                                 with such crimes only could post the required amount of bail in the form of cash, a surety
                                 bond, or a bond secured by real property situated in the State with an unencumbered
                                 equity equal to the amount of the bail undertaking plus $20,000. The bill would have
                                 created a presumption in favor of the court requiring cash bail when a defendant is
                                 charged with one of the listed crimes and also has certain offenses or convictions on his
                                 or her record or was on parole when arrested, unless the court finds on the record that
                                 another form of bail will ensure the defendant's presence in court when required. For
                                 bonds secured by real property, an affidavit from the owner must be filed with certain
                                                                                                                                Document 324-4




                                 information about the property.
MS   HB 122    Failed            HB 122 would have revised the existing law’s bail procedures to establish procedures and
                                 conditions under which the court could determine whether to release a defendant prior to
                                 the trial. The procedures specify that a bail bond may be required as a condition of
                                 release. The bill would have revised the existing law concerning bail bonds to require
                                 bail to comply with the bill’s procedures. The bill also would have created exceptions in
                                 existing law concerning bail to address the bill’s procedures. The bill also would have
                                                                                                                                Filed 10/26/22




                                 authorized a surety to arrest a defendant released on an appearance bond. The surety
                                 would have to deliver the defendant to a law enforcement officer and brought before a
                                 judicial officer. The judicial officer would have had to determine whether to revoke the
                                 release of the person, and it may absolve the surety of responsibility to pay all or part of
                                 the bond.
MS   HB 519    Failed            HB 519 would have rewritten the current penal code in Mississippi. The bill provided
                                 that the court could require a defendant to post a bond in connection with the defendant’s
                                                                                                                                Page 66 of 305




                                 release for a suspended sentence.



                                                 SFAA 000451
MS   HB 886/   Failed              HB 886/SB 2828 would have eliminated the use of personal sureties for bail bonds. The
     SB 2828                       bill would have required bail to be issued by a “fidelity of surety insurance company”
                                   authorized to act as surety within the State. Any such company may execute the
                                   undertaking as surety by an officer or attorney authorized by resolution of its board of
                                   directors. A certified copy of the authorization, under its corporate seal, would have had
                                   to be on file with the clerk of the circuit court and the county sheriff. Existing law
                                   already permits insurance companies to write bail bonds in the State.
MS   HB 901    Failed            HB 901/SB 2677 would have revised the existing licensing requirements for bail bond
                                 agents. The bill would have revised the definition of bail agents to add assisting in the
                                 monitoring or the supervision of pretrial defendants to the types of activities outlined in
                                                                                                                                Case 4:19-cv-00717-JST




                                 the term. The bill would have made revisions to the existing continuing education
                                 requirements. The bill also would have revised the law concerning the suspension or
                                 revocation of a bail agent’s license, including penalties for providing false information to
                                 the court concerning the proper service of notices.
MS   HB 903/   Failed            HB 903/SB 2509 would have outlined the conditions under which a bail bond would have
     SB 2509                     been considered discharged.
MS   SB 2677   04/10/2014        SB 2677 revises the existing licensing requirements for bail bond agents. The new law
               SB 2677 has been makes revisions to the existing continuing education and examination requirements. The
                                                                                                                                Document 324-4




               enacted.          new law revises the law concerning the suspension or revocation of a bail agent’s license,
                                 including penalties for providing false information to the court concerning the proper
                                 service of notices. The new law prohibits bail agents from making or offering payments
                                 to officials in connection with bail transactions in return for business referrals. The new
                                 law provides fines and penalties for violations of this new provision.
NC   SB 493    06/18/2014        SB 493 would revise the requirements for the format and appearance of the shield that
                                                                                                                                Filed 10/26/22




               SB 493 is pending bail bond agents are permitted to carry under current law.
               in the House
               Committee on
               Regulatory
               Reform.
NC   SB 574    06/20/2014        SB 574 would have revised the existing law’s procedures regarding the termination of the
               SB 574 has been   obligation under a bail bond for certain misdemeanors. The bill was gutted and as sent to
                                                                                                                                Page 67 of 305




               sent to the       the Governor, it no longer pertains to bail bonds.
               Governor.



                                                   SFAA 000452
NC   HB 768    04/30/2013          HB 768 would eliminate unsecured appearance bonds for use in the pretrial release of a
               HB 768 is in the    defendant. Current law permits the court to require such a bond in an amount specified
               House Judiciary     by the judicial official.
               Committee.
NH   HB 353    06/20/2013          HB 353 would clarify existing law to provide that bail recovery agencies are subject to a
               A conference        $150 licensing fee if the agency has only one person employed. The fee is $500 if there
               committee report    is more than one employee. Existing law already requires licensure for such businesses.
               is pending for HB
               353.
NH   HB 1358   1/8/2014            HB 1358 would increase the amount of liability insurance that bail agencies and bail
                                                                                                                                  Case 4:19-cv-00717-JST




               HB 1358 has been    recovery agents must obtain from $300,000 to $500,000 and it would subject bail
               introduced.         enforcement agents to an existing license fee. The bill also would require bail
                                   enforcement agents to take rifle familiarization courses.
NH   HB 1482   02/12/2014          HB 1482 would clarify the licensure of individuals as a bail enforcement agent. Current
               The House           law provides for the licensure of agency businesses. The bill also would subject bail
               Executive           enforcement agents to an existing license fee of $150.
               Departments and
               Administration
                                                                                                                                  Document 324-4




               Committee voted
               the bill as
               inexpedient to
               legislate.
NJ   SCR 36/   01/14/2014          SCR 36/ACR 139 would revise the constitution in New Jersey with regard to bail. The
     ACR 139   SCR 36/ACR 139      constitution currently provides that “[all] persons shall, before conviction, be bailable by
               has been            sufficient sureties, except for capital offenses when the proof is evident or presumption
                                                                                                                                  Filed 10/26/22




               introduced.         great.” The resolution provides that all persons would be bailable by sufficient sureties
                                   prior to conviction, except that pretrial release could be denied to a defendant charged
                                   with a first-degree crime under certain circumstances. The resolution provides that
                                   defendants who are denied bail would have the right to appeal this determination and the
                                   right to an expedited trial. The resolution would authorize the legislature to establish
                                   procedures, terms, and conditions for pretrial release and the denial of it under the
                                   proposed change to the constitution.
                                                                                                                                  Page 68 of 305




                                                   SFAA 000453
NJ   SCR 113/   06/09/2014           SCR 113/ACR 163/ACR 167 would revise the constitution in New Jersey with regard to
     ACR 163/   SCR 113 has been     bail. The constitution currently provides that “[all] persons shall, before conviction, be
     ACR 167    placed on the desk   bailable by sufficient sureties, except for capital offenses when the proof is evident or
                in the Assembly.     presumption great.” The resolution provides that all persons would be eligible for pretrial
                                     release. The resolution provides that pretrial release may be denied to a person if the
                06/16/2013           court finds that no amount of monetary bail, non-monetary conditions of pretrial release,
                ACR 163/ACR          or combination of monetary bail and non-monetary conditions would reasonably assure
                167 have been        the person's appearance in court when required, or protect the safety of any other person
                introduced.          or the community, or prevent the person from obstructing or attempting to obstruct the
                                     criminal justice process. The resolution would authorize the legislature to establish
                                     procedures, terms, and conditions a for pretrial release and the denial of it.
                                                                                                                                   Case 4:19-cv-00717-JST




NJ   AB 452     01/16/2014           AB 452 would restore the options for posting bail in certain cases. The bill would create
                AB 452 has been      a presumption in favor of the court designating the posting of cash bail when a defendant
                introduced.          is charged for a second or subsequent time with certain crimes. The bill provides that the
                                     amounts would be 50% cash option for a second offense and 100% cash option for a third
                                     or subsequent offense.
NJ   SB 561     01/14/2014           SB 561 adds certain weapons offenses to the list of crimes with bail restrictions. The bill
                SB 561 has been      also would expand the cases in which a presumption of full cash bail would apply for the
                                                                                                                                   Document 324-4




                introduced.          defendant.
NJ   SB 744     01/14/2014           SB 744 would add certain crimes to the list of crimes that have bail restrictions.
                SB 744 has been
                introduced.
NJ   SB 847/    01/14/2014       SB 847/AB 3116 would authorize a court to order the detention of a defendant charged
     AB 3116    SB 847 has been  with a first-degree crime before trial and deny the defendant bail if the court determines
                introduced.      that no amount of bail, non-monetary conditions of pretrial release or combination of bail
                                                                                                                                   Filed 10/26/22




                                 and conditions would assure that the defendant would appear for trial. The bill would
                05/08/2014       authorize the court to deny pretrial release to protect the safety of any person or the
                AB 3116 has been community, or to prevent the defendant from obstructing or attempting to obstruct the
                introduced.      criminal justice process. The bill would establish the requirements for hearings on the
                                 denial of bail and for appealing such denial. Further, the bill would permit the court to
                                 use alternatives to setting bail for defendants charged with non-violent offenses. The bill
                                 provides that the defendant would be released upon meeting these alternative
                                                                                                                                   Page 69 of 305




                                 requirements.



                                                     SFAA 000454
NJ   SB 946/   06/12/2014           SB 946/AB 1910 would authorize a court to order the detention of a defendant charged
     AB 1910   SB 946 has been      with a first-degree crime before trial and deny the defendant bail if the court determines
               amended in the       that no amount of monetary bail, non-monetary conditions of pretrial release or
               Senate.              combination of bail and conditions would reasonably assure that the defendant would
                                    appear for trial. The bill was amended to provide that the bail would be monetary bail
               06/12/2014           and to provide that the conditions would not “reasonably assure” the defendant’s
               AB 1910 was          appearance. The bill would authorize the court to deny pretrial release to protect the
               substituted in the   safety of any person or the community, or to prevent the defendant from obstructing or
               Assembly             attempting to obstruct the criminal justice process. The bill would establish the
               Judiciary            requirements for a defendant to appeal the denial of pretrial release. The bill has been
               Committee and        amended to provide that the court could order the pretrial detention of a defendant when a
                                                                                                                                    Case 4:19-cv-00717-JST




               has been sent to     he or she fails to rebut a presumption of pretrial detention that the bill would authorize to
               the Assembly         be established for certain crimes. The bill also has been amended to require that
               Appropriations       defendants charged with a crime and ordered to be detained before a trial under the bill’s
               Committee.           provisions would be prohibited from being detained in jail for more than 90 days on that
                                    charge prior to the return of an indictment. The amended bill also provides that a
                                    defendant who has been indicted and for whom pretrial detention is ordered would be
                                    prohibited from being detained in jail for more than 180 days on that charge following the
                                                                                                                                    Document 324-4




                                    return or unsealing of the indictment, whichever is later, before commencement of the
                                    trial.

                                    The bill has been amended to provide for a Pretrial Services Program. The Pretrial
                                    Services Program would have to conduct a risk assessment to make recommendations to
                                    the court concerning an appropriate disposition pretrial release determination within 48
                                    hours of a defendant's commitment to jail. The recommendations could include releasing
                                                                                                                                    Filed 10/26/22




                                    the defendant on his or her own recognizance, posting an unsecured appearance bond,
                                    setting non-monetary conditions for release, release with the execution of a bail bond,
                                    released on a condition or combination of monetary bail and non-monetary conditions or
                                    any other conditions necessary to carry out the bill’s provisions.

                                    The bill provided that upon the appearance of a defendant charged with an offense, the
                                    court shall issue an order that the defendant would have to be released on conditions
                                                                                                                                    Page 70 of 305




                                    including the execution of a bail bond, released on his own personal recognizance, or



                                                    SFAA 000455
                                 detained. As amended, the bill provides that the court would have to determine a pretrial
                                 release decision for a defendant committed to jail no later than 48 hours after the
                                 defendant's commitment to jail. The bill provides that after considering the defendant's
                                 circumstances and the Pretrial Services Program's risk assessment and recommendation
                                 on conditions of release, the court would have to order the defendant would be released
                                 on the defendant's own recognizance or on execution of an unsecured appearance bond,
                                 released on a non-monetary conditions, released on monetary bail, or upon motion of the
                                 prosecutor, detained in jail pending a pretrial detention hearing.
NJ   SB 1430/   02/27/2014       SB 1430/AB 2357 would establish a judicial presumption in favor of the option for 10%
     AB 2357    SB 1430/AB 2357 bail to be posted in lieu of a bail bond issued by licensed surety for repeat criminal
                                                                                                                               Case 4:19-cv-00717-JST




                have been        offenders.
                introduced.
NJ   AB 2291    02/06/2014       AB 2291 would add death by auto or vessel and certain assaults as crimes with bail
                AB 2291 has been restrictions to the existing list of such crimes in the current law.
                introduced.
NJ   AB 3005    03/24/2014       AB 3005 would prohibit surety companies, bail agents, and agencies from knowingly
                AB 3005 has been executing a bail bond for the release of a defendant charged with a crime of the first
                introduced.      through fourth degree from custody or incarceration without collecting a fee for at least
                                                                                                                               Document 324-4




                                 10% of the face amount of the bail bond prior to or at the time the bond is filed. The bail
                                 agent or agency would have to give a written statement that it collected the fee. The bill
                                 provides penalties for violating this requirement.
NM   HB 50      02/08/2014       HB 50 replaces the current rating plan requirements for property bondsman with a
                HB 50 has been   process in which the Superintendent of Insurance conducts public hearings for
                enacted.         promulgating the premium rates, schedule of charges, and rating plans. The new law
                                 prohibits a bondsman from offering a reduction in rates, charges or premium.
                                                                                                                               Filed 10/26/22




                                    The new law requires a bail bondsman to register a solicitor with the superintendent
                                    within seven days of employment. The existing professional pre-licensing education
                                    requirements have been revised. Bail bondsmen must graduate from high school or pass
                                    an equivalency exam under the new law. The new law revises the existing penalties and
                                    fines in the current law. The new law requires the bond or deposit that a property
                                    bondsman must post under existing law to be maintained until all bonds that have been
                                                                                                                               Page 71 of 305




                                    posted with all courts become exonerated.



                                                    SFAA 000456
NY   SB 506    01/08/2014       SB 506 would require the Commissioner of Financial Services to conduct a study to
               SB 506 has been  identify problems and concerns regarding the bail bond business in order to improve and
               introduced.      clarify the existing law and regulations. The findings of the study would have to be
                                presented to the legislature in a public hearing.
NY   SB 6970   04/09/2014       SB 6790 would revise the existing law concerning bail bonds and bail agents. The bill
               SB 6970 has been would revise the existing definition on bail bond business and provide new definitions for
               introduced.      insurer, bail agent, and bail bond, among other related terms that pertain to bail bonds.
                                The bill would add conditions under which a bail bond agent license could be suspended
                                or revoked. The bill would add procedures concerning bail agents that have had their
                                licenses revoked. The bill would establish new collateral requirements for bail agents.
                                                                                                                              Case 4:19-cv-00717-JST




                                The bill would add procedures for premium refunds on bail bonds for insurers. The bill
                                would establish notice requirements for bail agents to issue concerning the obligations
                                under the bail bond.
NY   AB 7057   01/08/2014       AB 7057 would direct the Commissioner of Financial Services (Commissioner) to
               AB 7047 has been conduct a study to identify problems and concerns regarding the bail bond business. The
               introduced.      bill provides that the study would serve to identify necessary improvements and
                                clarifications to current regulations and statutes related to the rights of defendants who
                                use the bail bond business. Upon completion of the study, the Commissioner shall
                                                                                                                              Document 324-4




                                prepare a report with suggestions for regulatory and/or statutory changes necessary to
                                improve and clarify current regulations and statutes for the rights of defendants. The bill
                                would direct the Commissioner to hold a public hearing in that area in order to afford an
                                opportunity for any person to propose additions or deletions from the report
                                recommendations.
OK   HB 1941   04/15/2013       HB 1941 eliminates the ability of a bondsman to register in a county where he or she
               HB 1941 has been maintains an office but does not reside, and eliminates the per county limit of bonds a
                                                                                                                              Filed 10/26/22




               enacted.         surety may write in each county.
OK   SB 329/   Failed           SB 329/SB 1037 provided that a bondsman would be authorized to write bonds on up to
     SB 1037                    ten defendants per calendar year in each county outside his or her resident county. Each
                                date on the bonds written for an individual would have been used for counting the bonds
                                subject to the limit, notwithstanding any previous bonds written on that same individual.
                                This limit would not have applied in counties without a registered bondsman.
OK   SB 1291   Failed           SB 1291 would have revised the existing bail laws in Oklahoma by eliminating a
                                                                                                                              Page 72 of 305




                                provision that the law only applies to counties with a population of 400,000 or more



                                                   SFAA 000457
                                 people.
OK   SB 1406/   Failed           SB 1406/HB 2404 would have revised the registration process for a bondsman. Current
     HB 2404                     law permits the bondsman to register in a county where he or she resides or where he or
                                 she maintains an office but does not reside. Instead, the bondsman would have had to file
                                 a certified copy of his or her license with the district court clerk in each county where he
                                 or she will write bonds that is not his or her county of residence. The bill would allow a
                                 bondsman to write surety bonds statewide without the current ten defendants per county
                                 limit.
OK   HB 1606    Failed           HB 1606 would have increased the licensing fee for a bail bondsman from $250 to $350.
                                 The bill also would add a penalty for failing to provide notice of a change in legal name,
                                                                                                                                Case 4:19-cv-00717-JST




                                 address, or e-mail address within five days of the change. The bill would have added
                                 penalties for an untimely submission of the monthly reports bail bondsmen must submit
                                 on the bonds they have written and their liabilities in the amount of $50 for each late
                                 report. Bondsmen who have submitted untimely reports three times within a twelve-
                                 month period would have been subject to additional civil penalties in an amount ranging
                                 from $250 to $2,500.
OK   SB 2003    05/28/2014       SB 2003 exempts persons from a prohibition from acting as a bail bondsman if their
                SB 2003 has been license is suspended or revoked. The exemption is granted to those persons who within
                                                                                                                                Document 324-4




                enacted.         90 days of the date their bail bondsman license is suspended or revoked in Oklahoma
                                 contract with a licensed bail enforcer to cause the apprehension and surrender of his or
                                 her defendant clients to the appropriate authority. The new law revises an exemption for
                                 bail bondsmen from using bail enforcers if they have been licensed to do business in
                                 Oklahoma for five years. The new law prohibits persons not licensed as bail enforcers
                                 from using any markings indicating that they are a bail enforcer.
OK   HB 2928    06/03/2014       HB 2928 revises the requirements for the receipt that bail bondsmen must provide under
                                                                                                                                Filed 10/26/22




                HB 2928 has been existing law. The new law revises the current law concerning the maintenance of the list
                enacted.         of currently approved bail bondsmen that is posted at the county jail. The new law
                                 revises the due date of the annual financial statement that bail bondsmen must provide.
                                 The new law revises the definition of “return to custody.”
OK   HB 2407    04/16/2014       HB 2407 allows bail bond agents to be multicounty agent bondsmen. The new law
                HB 2407 has been establishes licensing requirements and outlines the qualifications for becoming a
                enacted.         multicounty agent bondsman.
                                                                                                                                Page 73 of 305




PA   SB 149     03/12/2014       SB 149 would establish licensing requirements for bail bond recovery agents.



                                                    SFAA 000458
               SB 149 has been
               sent to the Senate
               Appropriations
               Committee.
PA   HB 601    02/08/2013           HB 601 would add a crime restriction to the bail bond laws to provide that prisoners
               HB 601 has been      charged with the sexual abuse of a child are not eligible for bail.
               introduced.
PA   SB 1215   Failed               SB 1215 would have specified that certain documents for bail bonds could be filed in the
                                    appropriate judicial records office as an alternative to filing such documents with the
                                    office of the clerk.
                                                                                                                                   Case 4:19-cv-00717-JST




SC   SB 19     04/14/2014           SB 19 revises the existing law concerning bail bonds. The new law outlines the factors
               SB 19 has been       that a court could consider in determining whether to release a defendant that would
               enacted.             reasonably assure the defendant’s appearance in court. The new law authorizes the
                                    revocation of a defendant’s bond if he or she is charged with a violent crime and he or she
                                    commits a subsequent violent crime while released on bond.
SC   SB 45     Failed               SB 45 provided that a person convicted of committing or attempting to commit a general
                                    sessions offense while released on a bail bond or personal recognizance bond would have
                                    had to be imprisoned for five years in addition to the punishment provided for the
                                                                                                                                   Document 324-4




                                    principal offense. The five-year sentence would not have applied in cases where the
                                    death penalty or a life sentence without parole is imposed.
SC   SB 463    06/13/2013           SB 463 requires individuals applying to for a professional bondsman, surety bondsman or
               SB 463 has been      a runner’s license to undergo a state criminal records check, supported by his fingerprints,
               enacted.             by the South Carolina Law Enforcement Division and a national criminal records check,
                                    supported by his fingerprints, by the Federal Bureau of Investigation.
                                                                                                                                   Filed 10/26/22




SC   SB 827    Failed               SB 827 would have authorized a court to require a defendant to wear an approved
                                    electronic monitoring device, or be subject to monitoring by a global positioning system
                                    tracking device or other similar device. The bill provided that the defendant may be
                                    charged for the cost of the electronic monitoring device and its operation for the duration
                                    of the time he or she is required to be electronically monitored.
SC   SB 831    Failed               SB 831 would have provided for electronic monitoring vendor licensing. The bill
                                    provided that nothing in the bill’s provision’s “shall be construed to abrogate or impair
                                                                                                                                   Page 74 of 305




                                    the powers of any bond court or grant the department authority over a bail bonding
                                    company and their power to set conditions of pretrial release.”



                                                    SFAA 000459
SC   HB 3135   Failed       HB 3135 would have established a new licensing law for professional bondsmen.
                            Current law regulates professional bondsmen and surety bondsmen under South
                            Carolina’s Insurance Code. The bill would have regulated professional bondsmen under
                            the Department of Labor.
SC   HB 3137   Failed       HB 3137 would have permitted a bail bondsman or runner to assist another bail
                            bondsman in the apprehension, arrest, and surrender of the defendant even if the person is
                            not employed or appointed by the bail bondsman who is the defendant’s surety.

SC   HB 3138   Failed       HB 3138 would have changed the amount of continuing education required for a
                            professional bondsman from not less than six hours to not less than three hours.
                                                                                                                           Case 4:19-cv-00717-JST




SC   HB 3342   06/17/2013   HB 3342 would have added notice requirements in connection with the issuance of a
               Vetoed       bench warrant for a defendant that failed to appear in court.
SC   HB 3503   Failed       HB 3503 would have eliminated a law concerning jury areas for certain magistrate courts
                            including a bail provision. With the elimination of the current system, bail provisions
                            would be eliminated. The bill provided that jury areas would be determined by county
                            for magistrate courts.
SC   HB 4368   Failed       HB 4368 provided that a criminal gang member charged with a felony offense would be
                            required to post a minimum $50,000 bond if the court finds that the defendant may be
                                                                                                                           Document 324-4




                            released pending trial, unless the court determines the defendant is not likely to reoffend,
                            an appropriate intensive pretrial supervision is available, and the defendant agrees to
                            comply with the mandate of intensive pretrial supervision.
SC   HB 4790   Failed       HB 4790 would have amended the existing law on courts that have jurisdiction in certain
                            criminal matters. The bill would have extended the authority granted to the family court
                            in domestic violence cases to magistrates or municipal courts during non-business hours
                                                                                                                           Filed 10/26/22




                            or when the family court is not in session, or the court conducting the bond hearing of a
                            violent offender. The bill also would have prohibited persons charged with criminal
                            domestic violence from depositing cash in lieu of recognizance.
SC   HB 5083   Failed       HB 5083 would have required first year bail bondsmen to be under the supervision of a
                            bail bondsman who has been licensed for at least three years. The bill would have
                            required a first year surety bondsman to provide the department the name and license
                            number of his supervising surety bondsman. The bill would have revised the
                                                                                                                           Page 75 of 305




                            qualifications for bondsman with regard to residency and competency requirements. The
                            bill would have provided additional requirements for maintaining an office.



                                            SFAA 000460
SC   HB 5116   Failed             HB 5116 would have increased the minimum fee that a bail bondsman must charge for a
                                  bond from $25 to $100. The bill also would have established procedures for the use of a
                                  payment plan for paying the fee. The bill would have revised the existing law on
                                  providing collateral for a bail bond. The bill would have revised the release procedures
                                  for the collateral. The bill also would have added a notice requirement for converting the
                                  collateral into cash in connection with bond forfeitures.
TN   HJR 98    Failed             HJR 98 was a resolution that would direct the Administrative Office of the Courts to
                                  study the issues regarding the use of unsecured bail bonds and the fees charged for them.
                                  The report would have had to be submitted to the Judiciary Committee of the Senate and
                                  the Criminal Justice Committee of the House of Representatives on or before January 15,
                                                                                                                                  Case 4:19-cv-00717-JST




                                  2014. The report would have had to include information on the problems that the fees for
                                  unsecured bonds raise and recommendations for legislative solutions.
TN   SB 248/   Failed             SB 248/HB 410 would have authorized the court to consider a defendant's unlawful
     HB 410                       presence in the United States and the likelihood of his or her flight to avoid removal,
                                  deportation, exclusion or any other immigration proceeding when determining the amount
                                  of bail required. Current law already provides several factors for the basis of determining
                                  the bond amount.
TN   HB 309/   Failed             HB 309/SB 695 would have revised the existing law concerning the pre-trial release of a
                                                                                                                                  Document 324-4




     SB 695                       defendant in certain cases involving firearms. The bill would have authorized county and
                                  municipal magistrates to require a defendant to comply with certain requirements in
                                  connection with release. Among the conditions, the magistrate could have required the
                                  defendant to appear before a judge or magistrate, with no pre-trial release or prohibit a
                                  defendant from being released until the firearm, if any, used in the commission of the
                                  offense for which the defendant is charged, is found. The magistrate also could have
                                  required monitoring devices be used to track the defendant while on release.
                                                                                                                                  Filed 10/26/22




TN   SB 1952   05/29/2014         SB 1952 provides that a bail bond remains in effect until the court renders the
               SB 1952 has been   defendant's sentence, if the disposition of the case is a conviction or a plea of guilty. The
               enacted.           new law provides that following conviction or a plea of guilty and prior to sentencing, the
                                  bond shall not be forfeited against a surety, shall not be included in the calculation of a
                                  bondsman's capacity or solvency, or negatively impact the surety.
                                                                                                                                  Page 76 of 305




                                                  SFAA 000461
TN   HB 2131/   Failed            HB 2131/SB 2321 would have authorized counties with a population of not less than
     SB 2321                      75,100, nor more than 75,200, according to the 2010 federal census or any subsequent
     and                          federal census, to impose a tax on bail bonds in the amount of $8. The bill would have
     SB 2330/                     outlined the procedures for the county to adopt the tax and for administering the tax if
     HB 2360                      adopted.

                                  SB 2330/HB 2360 were similar except that it would have authorized the tax in all
                                  counties.
TN   SB 2167/   Failed            SB 2167/HB 2286 would have prohibited an alleged victim of domestic violence from
     HB 2286                      posting bail or signing any bond as surety for the appearance of the person who is
                                                                                                                              Case 4:19-cv-00717-JST




                                  charged with an act of domestic violence against the victim.
UT   SJR 20     03/21/2014        SJR 20 directs the legislature to study bail bond agents and whether to they should be
                SJR 20 has been   under the authority of the Department of Insurance or the Bureau of Criminal
                sent to the       Identification. The study also would have to include a review of licensing surety
                Governor.         collateralization when a bond is processed, when and how a penalty is paid, and other
                                  issues related to the industry.
UT   SB 159     03/31/2014        SB 159 allows the court to order that a judgment creditor be paid from funds posted as
                SB 159 has been   bail by a judgment debtor.
                                                                                                                              Document 324-4




                enacted.
UT   HB 191     Failed            HB 191 would revise the existing law concerning bail bond and bail bond agents. The
                                  bill would revise the law on qualifications as a bail agent, and makes changes regarding
                                  reporting requirements for agents and makes revisions to certain requirements concerning
                                  the operation of the bail agent’s business. The bill would delete references to bail
                                  recovery agents. The bill would modify the liability of the surety for the undertaking if
                                  the bond is issued after sentencing. The bill would revise provisions addressing the
                                                                                                                              Filed 10/26/22




                                  exoneration of the bond. The bill also would make related changes to the court’s
                                  processing of the bond.
UT   HB 203     03/29/2014        HB 203 revises the existing law on the membership of the Bail Bond Recovery Licensure
                HB 203 has been   Board. The new law allows the member who is required to be an owner of a bail bond
                enacted.          surety company to be a bail enforcement agent or a bail recovery agent. Such agents may
                                  not serve on the Board under current law.
                                                                                                                              Page 77 of 305




                                                  SFAA 000462
UT   HB 334    03/29/2014          HB 334 authorizes a bail bond apprentice to wear clothing that identifies the apprentice as
               HB 334 has been     a bail bond agent.
               enacted.
VA   HB 163/   Carryover to 2015HB 163/HB 984/SB 235 would revise the current law concerning appeal procedures for
     HB 984/                    bail bonds. The bill provides that any court from which an appeal of a bail, bond, or
     SB 235                     recognizance decision is taken would be prohibited from modifying the appellate court's
                                decision regarding the terms or amount of the bail, bond, or recognizance, except in
                                certain circumstances. To modify the decision, the appellate court would have to remand
                                the matter to the court from which the appeal was taken for further action or the court
                                from which the appeal was taken would have to find, for good cause shown, that a change
                                                                                                                                 Case 4:19-cv-00717-JST




                                in circumstances has occurred warranting a modification of the terms or amount of the
                                bail, bond, or recognizance since the time of the appellate court's decision.
VA   SB 501    03/31/2014       SB 501 revises the current law that allows a judicial officer to impose as a condition of
               SB 501 has been  release on bond for any felony or misdemeanor that the defendant may not have contact
               enacted.         with a household member for 72 hours. The new law deletes the time limitation and
                                allows the judicial officer to determine the amount of time.
VA   HB 1007   03/03/2014       HB 1007 revises the education requirements for bail bond agents with regard to
               HB 1007 has been alternatives to obtaining a high school diploma.
                                                                                                                                 Document 324-4




               enacted.
VT   HB 660    01/22/2014       HB 660 would establish a procedure which permits the civil commitment of sexually
               HB 660 has been violent predators after their release from prison. Persons subject to a civil commitment
               introduced.      petition who are in the secure confinement of the State would not be eligible for bail,
                                bond, house arrest, or other measures releasing the person from the physical protective
                                custody of the State.
                                                                                                                                 Filed 10/26/22




WA   HB 1098   Failed           HB 1098 would have revised the existing law concerning bail to implement the
                                recommendations of the bail practices work group. The bill would have made several
                                revisions to the requirements for bail bonds and bail agents.
WA   HB 2164   03/28/2014       HB 2164 provides that a juvenile defendant must participate in a rehabilitation program to
               HB 2164 has been obtain a deferred disposition if he or she had been charged with unlawful possession of a
               enacted.         firearm. The court may require a probation bond in connection with the release of the
                                juvenile defendant in a deferred disposition.
                                                                                                                                 Page 78 of 305




                                                   SFAA 000463
WA   HB 2265   Failed            HB 2265 would have prohibited bail bond agents from entering into a contract, including
                                 a general power of attorney, with a person that gives the agent full authority over the
                                 person's finances, assets, real property, or personal property.
WI   AB 383    Failed            AB 383 would have revised the existing law concerning cash and property bail bonds.
WV   SB 200/   Failed            SB 200/HB 3070 would have revised the existing law’s fees for bail bonds to a surcharge
     HB 3070                     on bail bonds in Magistrate and Circuit Court. The funds would have been deposited into
                                 the County General Revenue Fund to offset regional jail expense.
WV   SB 307    04/14/2014        SB 307 provides for pretrial release programs. The new law outlines the requirements for
               SB 307 has been   the program. The new law provides that nothing in the law should be construed to
               enacted.          prohibit a court from requiring a defendant to post a bond as a condition of pretrial
                                                                                                                                Case 4:19-cv-00717-JST




                                 release.

                                 The new law establishes premium and collateral requirements for bail bondsmen,
                                 outlining the standards for charging premium on the bond and for recording and
                                 maintaining collateral provided by defendants.
WV   SB 462    Failed            SB 462 would have revised the existing law concerning “bailpieces,” which is a
                                 certificate establishing the obligation in connection with the accused in a particular case
                                 and the amount of it. The bill provided that when a bail bondsman secures a bailpiece,
                                                                                                                                Document 324-4




                                 the surety shall be relieved of acting collateral on the case(s) for which the bailpiece was
                                 applied.
WV   SB 464    Failed            SB 464 would have prohibited law-enforcement officers and members of their immediate
                                 family from serving as a bail bondsman of a person in custody because of the conflict of
                                 interest it presents. The bill provided that if such persons take this action, it would be
                                 void.
                                                                                                                                Filed 10/26/22
                                                                                                                                Page 79 of 305




                                                 SFAA 000464
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Orgovan, Joseph

From:                Duke, Rob
Sent:                Tuesday, May 13, 2014 11:51 AM
To:                  Committee-BBAC-Open
Subject:             FW: AM Best Rating Metholdology Regarding Bail
Attachments:         OpenPDF.aspx.pdf


FYI -- Comments are requested by June 2, 2014. They can be submitted by email to
rating.methodology@ambest.com. Alternatively, you may submit feedback to SFAA staff and we will compile it
in our comment letter.

RobertJ.Duke
CorporateCounsel
TheSurety&FidelityAssociationofAmerica
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From: Duke, Rob
Sent: Tuesday, May 06, 2014 10:48 AM
To: Committee-BBAC-Open
Subject: AM Best Rating Metholdology Regarding Bail

You may recall that in January 2013, AM Best released a rating methodology for surety bonds (focusing on
contract surety and bail bonds). The methodology proposed a revised Bail Capital Factor Adjustment formula
that was drastically different from the previous formula. The basis was changed from net premium to gross
premium and the capital factor was increased, resulting in higher capitalization requirements.

On August 19, 2013, staff and members of the Bail Bond Advisory Committee met with representatives of A.M.
Best to discuss Best’s revised methodology. SFAA members stressed that a formula should not be “one size
fits all” and that risk mitigation and avoidance procedures (including the role of the agent) should be considered
in an analytical methodology assessing exposure and capital requirements.

Attached is a revised document. It appears that our meetings and discussions with AM Best have paid huge
dividends. They now seem to understand the special role of the agent in risk mitigation ("the bail agent is the
insurer's first line of defense against a potential loss").

The capital factors result in a lower required capital compared to the January 2013 document. For example, for
a "highly profitable company" that has net premiums of $5 million, the required capital is $1.6 million. Compare
this to a required capital of $5 million under the prior document (assuming $50 million of gross premium).
Further, the document picks up on our members' guidance that not all companies should be treated the same.
They are establishing different ranges of capital factors based on the quality of the company (unprofitable vs.
highly profitable). Finally, assessment of exposure will be in the context of the insurer's largest bail agents. It is
not looking at exposures in a vacuum but rather relative to the agent.



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CorporateCounsel
TheSurety&FidelityAssociationofAmerica
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                                                      SFAA 000465
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                               SFAA 000468
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                               SFAA 000469
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                               SFAA 000470
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                               SFAA 000471
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                               SFAA 000472
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                               SFAA 000473
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                               SFAA 000474
            Case 4:19-cv-00717-JST              Document 324-4      Filed 10/26/22      Page 90 of 305


Orgovan, Joseph

From:                Duke, Rob
Sent:                Tuesday, May 6, 2014 10:48 AM
To:                  Committee-BBAC-Open
Subject:             AM Best Rating Metholdology Regarding Bail
Attachments:         OpenPDF.aspx.pdf


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premium and the capital factor was increased, resulting in higher capitalization requirements.

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a "highly profitable company" that has net premiums of $5 million, the required capital is $1.6 million. Compare
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Further, the document picks up on our members' guidance that not all companies should be treated the same.
They are establishing different ranges of capital factors based on the quality of the company (unprofitable vs.
highly profitable). Finally, assessment of exposure will be in the context of the insurer's largest bail agents. It is
not looking at exposures in a vacuum but rather relative to the agent.



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                                                      SFAA 000475
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                               SFAA 000478
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                               SFAA 000479
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                               SFAA 000480
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                               SFAA 000481
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Orgovan, Joseph

From:                Wanke, Daniel
Sent:                Thursday, May 1, 2014 7:14 PM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Bail Bond Legislation
Attachments:         Bail Bond Legislation - April.pdf



Attached is our latest report on legislation for 2014. If you have any questions, please do not hesitate to contact
us. Thank you.

Daniel Wanke
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                                                         SFAA 000484
                                      THE SURETY & FIDELITY ASSOCIATION OF AMERICA

                                                            MEMORANDUM

     TO:           Bail Bond Advisory Committee

     FROM:         Daniel Wanke

     RE:           Bail Bond Legislation
                                                                                                                                               Case 4:19-cv-00717-JST




     DATE:         April 29, 2013


     There are 21 states and the District of Columbia in session. In all states except New Jersey and Virginia, this is the second
     year of a two-year session. The following report compiles and summarizes bail bond legislation that SFAA is tracking for
     2014.

Jurisdiction    Bill         Recent History      SFAA Summary
                                                                                                                                               Document 324-4




AL              HB 134       Failed              HB 134 would have eliminated the requirement that a professional bail company furnish a
                                                 $25,000 surety bond. The bill would have required an escrow agreement with a
                                                 minimum amount of $100,000 instead. The bill established a maximum amount of an
                                                 appearance bond that a company could post per defendant. The bill would have required
                                                 the company to obtain from the circuit clerk a certified list of its outstanding appearance
                                                 bonds and their amounts and a copy of the original escrow agreement for recertification.
                                                 The bill would have required an affidavit certifying proof of all the documents required
                                                                                                                                               Filed 10/26/22




                                                 for recertification. The bill also would have required employees of the company to be
                                                 fingerprinted to check their criminal record. The bill prohibited any person charged with
                                                 certain crimes from having a financial interest in the company. The bill also would have
                                                 established minimum education and exam requirements for employees.
AL              SB 155       Failed              SB 155 would have established education and continuing education requirements for
                                                 professional bail bondsmen. The bill provided that failure to comply with the proposed
                                                 education requirements would have resulted in a suspension of the authority to act as a
                                                                                                                                               Page 100 of 305




                                                 bondsman.



                                                                 SFAA 000485
AL   SB 236    Failed             SB 236 would have established continuing education and examination requirements for
                                  professional bail bondsmen. The bill would have required bondsmen to file certificates of
                                  examination or continuing education issued by the Department of Insurance with the
                                  presiding circuit judge.
AL   SB 249    Failed             SB 249 would have established continuing education and examination requirements for
                                  professional bail bondsmen. The bill would have established requirements for certifying
                                  organizations to conduct courses to meet these education requirements.
AL   SB 413/   Failed             SB 413/HB 477 would have revised the existing law concerning premium reserves for
     HB 477                       surety insurers. Current law requires sureties to post an unearned premium reserve in
                                  accordance with the requirements for property and general casualty insurers based on
                                                                                                                                 Case 4:19-cv-00717-JST




                                  gross premiums. The bill would have established an unearned premium reserve for bail
                                  bond surety insurers based on net premiums.
CA   AB 723    08/30/2013         AB 723 would permit a person on post-release supervision that has a revocation petition
               AB 723 has been filed against him or her to file an application for bail or release on his or her own
               held in the Senate recognizance with the superior court. Current law requires that persons released from
               Appropriations     prison after serving a prison term for a felony, with exceptions, be released into post-
               Committee.         release community supervision for a period not exceeding three years.
CA   AB 773    Failed             AB 773 would have revised the bail agent licensing law to permit a limited liability
                                                                                                                                 Document 324-4




                                  company (LLC) to be licensed as a bail agency. The bill would have exempted a
                                  corporation or LLC that is an admitted surety insurer or is a subsidiary of an admitted
                                  surety insurer from a requirement that 100% of the shares of the corporation or
                                  membership interest in the LLC be held by licensed bail agents and from a requirement
                                  that members of the LLC and all shareholders, officers, and directors of the corporation
                                  be licensed as bail agents.
                                                                                                                                 Filed 10/26/22




CA   AB 1118   07/02/2013.        AB 1118 would revise the existing law on the countywide bail schedules that courts
               AB 1118 is in the currently are required to establish by law. The bill provides that a court that adopts the
               Senate Committee countywide bail and penalty schedule shall consider the statewide bail schedule prepared
               on Public Safety. according to the proposed procedures. The bill would direct the Judicial Council to
                                  prepare, adopt and maintain a statewide bail schedule for all bailable felony offenses and
                                  for all misdemeanor and infraction offenses, except for Vehicle Code infractions. The
                                  bill would outline the procedures for how to set forth the schedule, which would be based
                                  on the seriousness of the offense, and additional factors set forth in the law pertaining to
                                                                                                                                 Page 101 of 305




                                  certain crimes. The bill would require a court to submit a report on how its bail schedule



                                                    SFAA 000486
                                 differs from the statewide bail schedule if it adopts a countywide schedule.
CO   SB 212    04/22/2014        SB 212 would clarify the existing law concerning bail bonds. The bill provides that the
               SB 212 has been   defendant could select how to secure a bail bond unless the court mandates a particular
               introduced.       method. The bill would revise the procedures for motions during hearings for the review
                                 of a bond. The bill would make technical corrections concerning monetary condition
                                 bonds. The bill would specify that a court could designate a person to set bond amounts.
CO   HB 1261   02/27/2014        HB 1261 would revise the existing law concerning pretrial release programs and bail
               HB 1261 passed    bonds. The bill limits a court's authority to determining the amount of the bond and gives
               the House         the defendant the ability to choose how to satisfy the bond. The bill also would outline
               Judiciary         limits on how the court may release a defendant on his or her personal recognizance. The
                                                                                                                                    Case 4:19-cv-00717-JST




               Committee.        bill would revise the law on the exoneration of the bond to require compensated sureties
                                 to provide information on the costs of the bond. The bill also would revise the law
                                 concerning how security deposits are used upon forfeiture or termination of a bond by
                                 requiring the consent of the defendant for how the proceeds are used. The bill would
                                 establish notification requirements for pretrial supervision programs for when a defendant
                                 commits a potential bail or program violations.
CT   SB 107    04/17/2014        SB 107 would revise the existing law concerning the advertising that bail bond agents
               SB 107 is pending may conduct in a correctional institution, community correctional center or other
                                                                                                                                    Document 324-4




               on the Senate     detention facility, police station or courthouse. The law permits telephone listings as a
               floor calendar.   form of advertising. The bill would clarify that this includes advertisements in a yellow
                                 pages phone book.
CT   389       04/25/2014        SB 389 would revise the conditions under which a bail bond is automatically terminated
               SB 389 passed the and released.
               Senate Education
                                                                                                                                    Filed 10/26/22




               Committee.
CT   HB 5246   02/21/2014        HB 5246 would revise the existing law concerning licensing for bail bond agents. The
               HB 5346 has not   bill provides for the cancellation of the license for a failure to pay the required license fee.
               moved since it    The bill also would authorize the Insurance Department to adopt regulations establishing
               was scheduled for continuing education requirements for bail bond agents in connection with licensure.
               a hearing on
               02/25/2014.
                                                                                                                                    Page 102 of 305




                                                     SFAA 000487
CT   HB 5586   04/25/2014           HB 5586 would permit probation officers to conduct interviews and set the amount of
               HB 5586 has been     bail in the course of serving arrest warrants for violation of probation under the same
               reported favorably   terms that a police officer can when making an arrest.
               from the
               Legislative
               Commissioner’s
               Office and has
               been tabled on the
               calendar in the
               House.
                                                                                                                                 Case 4:19-cv-00717-JST




CT   HB 5588   04/16/2014          HB 5588 would permit a surety on a bail bond in a criminal case to apply for release from
               HB 5588 has been    a bond if the defendant absconds. The bill would authorize the court to extend the stay of
               reported favorable  execution of a bond forfeiture if a defendant failed to appear. The bill provides that if a
               from the            defendant whose bond has been forfeited returns to court voluntarily more than five
               Legislative         business days after and less than six months after the bond was ordered forfeited, the
               Commissioner’s      bond would be automatically terminated, and the surety would be released. Among the
               Office.             conditions by which a court would vacate a bond forfeiture, the bill would add when the
                                   defendant is taken into custody by a federal agency, or if he or she has been removed by
                                                                                                                                 Document 324-4




                                   U.S. Immigration and Customs Enforcement.
CT   HB 5593   04/24/2014          HB 5593 would establish procedures for a professional bondsman to enter into premium
               HB 5593 has been financing agreements with a defendant. The bill would require the principal on the bail
               reported out of the bond or any indemnitor to make a minimum down payment of 35% of the premium due.
               Legislative
               Commissioner’s
                                                                                                                                 Filed 10/26/22




               Office.
DE   SB 36     01/29/2014          SB 36 would amend Delaware’s constitution regarding the right to bail. Currently, the
               SB 36 has been      law provides that all prisoners are bailable by sufficient sureties, except for capital
               reported out of the offenses “when the proof is positive or the presumption great.” The bill provides that bail
               House               would not be granted to prisoners charged with certain felony offenses or in
               Administration      circumstances when “no condition or combination of conditions other than detention will
               Committee.          reasonably assure the safety of any person or the community.” The bill would require
                                   persons held pretrial for such felonies to be offered bail if their trial has not commenced
                                                                                                                                 Page 103 of 305




                                   90 days from the date of their arrest.



                                                    SFAA 000488
FL   HB 65     03/04/2014          HB 365 provides that an order of no contact for a defendant would be effective
               HB 365 has been     immediately upon the order of the court and enforceable prior to and through the time of
               introduced.         release. Existing law prohibits defendants from contacting victims in a criminal case
                                   except in accordance with certain procedures in the case as a condition of pretrial release.
FL   HB 427/   04/01/2014          HB 427/SB 550 would prohibit a person who resides in Florida from crossing a county
     SB 550    HB 427 has          boundary with the intent to commit certain felony offenses in a county other than that of
               passed the House.   his or her residence. The bill provides that defendants charged with such crimes would
                                   not be eligible for release on a bail or a surety bond.
               04/28/2014
               SB 550 is to the
                                                                                                                                  Case 4:19-cv-00717-JST




               second reading in
               the Senate.
FL   SB 854/   03/20/2014          SB 854/HB 1395 would provide for the use of electronic surety bonds for bail bonds.
     HB 1395   SB 854 remains in   The bill would outline the qualifications required of bail agents to use such bonds.
               the Senate          Further, the bill also would add specifications to the law concerning surety qualifications
               Banking and         for issuing bail bonds, including licensure and the attachment of a power of attorney.
               Insurance
               Committee where
                                                                                                                                  Document 324-4




               a hearing for the
               bill was
               postponed.

               03/26/2014
               HB 1395 was
                                                                                                                                  Filed 10/26/22




               referred to the
               House Regulatory
               Affairs
               Committee.
FL   HB 939/   04/22/2014          HB 939/SB 1390 would revise the existing law concerning the premium and excise taxes
     SB 1390   HB 939 passed       for bail bonds and permit the computation based on net premiums.
               the House.
                                                                                                                                  Page 104 of 305




               04/11/2014



                                                   SFAA 000489
              HB 1390 is in the
              Senate
              Appropriations
              Committee.
GA   HB 96    Failed              HB 96 would have abolished the death penalty. The bill would have deleted references
                                  throughout the law referencing the death penalty with respect to criminal charges. The
                                  bill would have repealed an extension of the 90-day period for defendants subject to the
                                  death penalty to have the charges heard by a grand jury. The law provides that if the
                                  charges are not heard, then the defendant may be granted bail.
GA   HB 145   Failed              HB 145 would have revised the existing law for hearings in which persons who may pose
                                                                                                                                  Case 4:19-cv-00717-JST




                                  a danger are required to appear. Existing law provides that a bond may be required of the
                                  person who the court orders to appear to secure their good behavior. The bill would have
                                  revised the bond term, which currently is from the time of the order until the next term of
                                  the superior court of the county or for six months, whichever is greater. The bill would
                                  have required the bond to be in place for six months. The bill also would have repealed a
                                  provision permitting a person to require their spouse to post a bond for good behavior in
                                  these cases. The bill also would have repealed a provision permitting direct actions on
                                  the bond. The law permits the bond period to be extended from term to term by the
                                                                                                                                  Document 324-4




                                  superior or state court, or for additional 60-day periods, whichever is greater. Instead, the
                                  bill would have provided for the extension of the bond for a period of six months.
GA   HB 271   04/22/2014          HB 271 revises the requirements for escrow accounts for professional bail bond
              HB 271 has been     companies. The new law revises the premium requirements for bail bond companies with
              enacted.            regard to the permissible amount the company may charge for a bond. Prior law capped
                                  the charge at not more than 12% of the face amount of the bond set in the amount of
                                                                                                                                  Filed 10/26/22




                                  $10,000 or less, and not more than 15% of the face amount of the bond set in an amount
                                  in excess of $10,000. The new law caps the maximum premium at 15% of the bond
                                  amount, regardless of the amount of the bond, provided however that a surety may charge
                                  and receive a minimum of $50 per bonded charge or offense as compensation, regardless
                                  of whether it exceeds 15% of the face amount of the bond.

                                  Prior law provided that the establishment of a cash escrow account or other form of
                                  collateral had to be in a sum and upon terms and conditions approved by the sheriff. The
                                                                                                                                  Page 105 of 305




                                  new law provides that the escrow or collateral amount for professional bonding



                                                  SFAA 000490
                       companies that are new to the county or that has operated continuously in the county for
                       less than 18 months would be determined and approved by the sheriff. Following this
                       period, the cash escrow account or other form of collateral shall not exceed 10% of the
                       company’s current outstanding bail bond liability. The new law prohibits the company
                       from purchasing an insurance policy in lieu of establishing a cash escrow account or
                       posting other collateral. The new law provides that companies that were using an
                       insurance policy as collateral as of December 31, 2013, will be permitted to continue to
                       do so at the sheriff’s discretion. As introduced, the bill did not impact bonding. It was
                       amended and quickly passed in this form.
GA   HB 392   Failed   HB 392 would have revised the law for unclaimed cash bail. Under current law, if the
                                                                                                                     Case 4:19-cv-00717-JST




                       surety does not claim the cash bail seven years from the later of either the date on which
                       the defendant was required to appear in court or the date of disposition of the case by the
                       prosecutor or the court, then the bond is remitted to the county general fund where the
                       trial took place. The bill would have reduced this to a period of one year from the date of
                       the surety being released from liability or the date of disposition of the case by the
                       prosecutor or the court.
GA   HB 510   Failed   HB 510 would have reduced from 15 days to seven days the period given to place a
                       detainer or hold on a defendant to prevent forfeiture on the bond in certain cases where a
                                                                                                                     Document 324-4




                       defendant is prevented from appearing in court. Following this period, the surety is
                       relieved of the liability for the bond. The bill also would clarify that the period begins
                       from the date of the surety’s request. The bill provided that the bond could not be
                       forfeited due to the defendant undergoing treatment. The bill would have stricken
                       provisions pertaining to the return of the defendant in cases where the surety locates the
                       defendant. Returning the defendant grants the surety a refund. The bill would have
                                                                                                                     Filed 10/26/22




                       granted this refund if the defendant is “produced or otherwise appears before the court
                       that has jurisdiction of the bond.” The bill provided that in cases where the defendant is
                       outside of the State and the court does not seek extradition, the bill provides that 5% of
                       the bond could be remitted to satisfy the judgment.
GA   805      Failed   HB 805 would have revised existing law to permit bail bondsmen to be elected to certain
                       local offices.
                                                                                                                     Page 106 of 305




                                       SFAA 000491
HI   SB 873/   Failed              SB 415/HB 234 provided that all money deposited in any criminal proceeding before any
     SB 415/                       court for bail or a bail bond that has not been declared forfeited would have to be applied
     HB 234                        toward payment of any restitution, fines, or fees ordered by the court in the case for the
                                   restitution of the victim or victims of the crime.
IA   HSB 25    01/18/2013          HSB 25 would extend the time period that the court may set aside a judgment of forfeited
               HSB 25 is in the    bail against a surety when a defendant fails to appear in court from 60 days to 90 days.
               House Judiciary     Under existing law, if defendants fail to appear in court, such judgments may be set aside
               Committee.          for a period of up to 60 days from the date of the judgment to permit the defendant to
                                   voluntarily surrender to the sheriff or for the surety to deliver the defendant to the court.
                                   Further, the bill would increase the time the district court clerk is required to hold
                                                                                                                                   Case 4:19-cv-00717-JST




                                   forfeited bail from 60 days to 90 days from the date of the judgment against the surety.
IA   HSB 636   02/11/2014          HSB 636 outlines who an arrested person may call, which would include insurance
               HSB 636 is in the   companies writing bail bonds.
               House Public
               Safety
               Committee.
ID   461       03/26/2014         HB 461 establishes sobriety requirements as a part of a monitoring program for
               HB 461 has been    defendants in criminal cases. The new law provides that the court may require abstaining
                                                                                                                                   Document 324-4




               enacted.           from drugs and alcohol participation in a sobriety monitoring program as a condition of
                                  the defendant’s bond.
IL   HB 1243   04/11/2014         HB 1243 would enact the Illinois Parentage Act of 2013. The bill provides that when the
               HB 1243 has been obligor of a temporary order for child support in a parentage determination case or an
               sent to the House obligor of a support order in a paternity case is arrested for failing to report new
               Rules Committee. employment as outlined in the bill, the bond would have to be in the amount of the unpaid
                                                                                                                                   Filed 10/26/22




                                  support that should have been paid during the period of unreported employment.
IL   SB 2280   08/09/2013         SB 2280 would delete a provision under current law requiring a defendant to surrender
               SB 2280 has been his or her Firearm Owner's Identification Card as a condition of bail.
               sent to the Senate
               Assignments
               Committee.
                                                                                                                                   Page 107 of 305




                                                   SFAA 000492
IL   HB 3744   04/07/2014           HB 3744 would expand the types of crimes that are considered in a bail hearing for
               HB 3744 has          determining whether a defendant should be placed under electronic surveillance. The bill
               passed the House.    also would add procedures for the court to record the basis of its decision for placing the
               The bill has been    defendant under such surveillance. The bill also provides that the cost of the electronic
               sent to the Senate   surveillance shall be paid from the bail that the defendant has deposited.
               Criminal Law
               Committee.
IL   HB 3772   01/13/2014        HB 3772 would authorize a court to order a defendant to be placed under the supervision
               HB 3772 has been  of the Pretrial Services Agency, Probation Department, County Department of
               introduced.       Corrections, or Court Services Department in a pretrial bond home supervision capacity
                                                                                                                                  Case 4:19-cv-00717-JST




                                 with the use of an approved electronic monitoring device as a condition of being released
                                 by personal recognizance. The bill would authorize the court to require the defendant to
                                 remain or be placed in the custody of such designated person or organization agreeing to
                                 supervise his or her release, with or without the use of an approved electronic monitoring
                                 device administered by these agencies as a condition of bail. The bill would allow
                                 applications for electronic home detention to include “as a condition of bail, as a
                                 condition of release on own recognizances, or in lieu of bail.”
IL   HB 3773   01/13/2014        HB 3773 would outline the conditions on which a defendant may be released on his or
                                                                                                                                  Document 324-4




               HB 3773 has been her own recognizance when charged with certain drug-related crimes.
               introduced.
IL   4245      04/04/2014        HB 4245 would establish bail procedures for first time, non-violent offenders. The bill
               HB 4245 is        provides that such defendants would be released on their own recognizance unless the
               pending the third court determined a cash bond is necessary.
               reading in the
                                                                                                                                  Filed 10/26/22




               House.
IN   SB 373    Failed            SB 373 would have revised and reorganized the existing law pertaining to bail bonds in
                                 Indiana for cash, personal, and commercial bail bonds.
IN   HB 395    Failed            SB 395 would have revised the bail bond requirements in existing law. Of note, the bill
                                 provided for an increase in the required amount of the cash deposit from 10% to 15% of
                                 the amount of the bail that the court sets. The bill also would have revised the types of
                                 security that may be provided as bail. The bill also would have prohibited the court from
                                 declaring a bond forfeited for any reason other than the defendant’s failure to appear in
                                                                                                                                  Page 108 of 305




                                 court.



                                                    SFAA 000493
KS   SB 26     Failed            SB 26 would have added bail bond insurance to the types of insurance for which an
                                 insurance agent may receive a license. The bill listed bail bond insurance as a “limited
                                 line insurance that provides surety for a monetary guarantee that an individual released
                                 from jail will be present in court at an appointed time.” The bill would have exempted
                                 licensed insurance agents who only have a bail bond qualification from the existing law’s
                                 requirement to obtain continuing education credits.
KS   SB 140    Failed            SB 140 would have revised the current law pertaining to appearance bonds with respect
                                 to the defendant’s immigration status. The bill provided that persons charged with a
                                 crime that are not a citizen or national of the United States would have to have their
                                 immigration status verified with the federal government. For determining whether to
                                                                                                                               Case 4:19-cv-00717-JST




                                 grant or issue appearance bonds, if the person was verified by the federal government as
                                 an alien unlawfully present in the United States, there would have been a rebuttable
                                 presumption that the person is at risk of flight.
KS   SB 256    04/18/2014        SB 256 revises the existing law concerning bail to prohibit persons charged with certain
               SB 256 has been   crimes from being released on their own recognizance. The new law addresses the
               enacted.          qualifications of a surety for a bail bond. The new law requires out-of-state sureties to
                                 contract with a surety authorized in the State for the apprehension of persons in Kansas.
                                 Further, the new law revises the law concerning unlawful sexual relations between a
                                                                                                                               Document 324-4




                                 person acting as a bail surety and a defendant and/or minors.
KS   HB 2070   02/26/2014        HB 2070 restricts release of defendants on their own recognizance, provides that an out-
               HB 2070 passed    of-state surety or bounty hunter intending to apprehend any person in Kansas must enter
               the Senate.       into a contract with an individual authorized by a Kansas court to act as a surety or
                                 bounty hunter before attempting the apprehension. The surety or agent from out-of-state
                                 would have to be accompanied by the Kansas-authorized surety or bounty hunter during
                                                                                                                               Filed 10/26/22




                                 such apprehension. Any prior felony conviction would disqualify a person from being a
                                 surety or bounty hunter in Kansas. (Current law terminates the disqualification after ten
                                 years.)
KS   HB 2256   Failed            HB 2256 would have revised the requirements for appearance bonds for municipal courts.
                                 The bill provided the amount of the appearance bond shall be set by the court and the
                                 amount shall be the same, regardless of the method securing the bond. A deposit of cash
                                 in less than the full amount of the bond shall not be permitted. The bill would have
                                 deleted language permitting a responsible individual residing within the State to provide a
                                                                                                                               Page 109 of 305




                                 bond. Instead, the bill would have required an appearance bond to be provided by a



                                                 SFAA 000494
                                 “sufficient, solvent surety.” The bill would have revised the law concerning forfeitures.
                                 Current law provides that if the forfeiture of a bond has become final, the court shall
                                 direct the application of the funds or that an action to be instituted for the collection from
                                 the sureties on the bond or from the accused person. Instead, the bill provided that where
                                 the bond forfeiture has not been set aside, the court shall direct an action to be instituted
                                 for collection of the funds from the obligors on the bond as outlined in K.S.A. 22-2807.
KS   HB 2493   Failed            HB 2493 would revise the existing law concerning bail with respect to releasing
                                 defendants on their own recognizance. The bill also would address the qualifications of a
                                 surety for a bail bond. Further, the bill would revise the law concerning unlawful sexual
                                 relations between a person acting as a bail surety and a defendant and/or minors.
                                                                                                                                  Case 4:19-cv-00717-JST




KY   HB 359    04/25/2014        HB 359 authorizes the court to require defendants in a criminal case to wear a continuous
               HB 359 has been   monitoring device for alcohol as a condition of pretrial release if the defendant poses a
               enacted.          risk for substance abuse.
LA   HB 362    03/10/2014        HB 362 would revise the existing law concerning the release of a surety on a defendant’s
               HB 362 has been   bond to provide that the surety is released from its obligations on account of the clerk of
               introduced.       court’s failure to mail the notice of a judgment within 60 days after the defendant's
                                 “initial” failure to appear. Current law does not specify that it must be the defendant’s
                                 initial failure to appear.
                                                                                                                                  Document 324-4




LA   HB 363    03/10/2014        HB 363 would revise the existing law on the surety’s surrender of a defendant to modify
               HB 363 has been   procedures concerning the extradition of a defendant and for seeking to obtain an
               introduced.       extension of the time to surrender of a defendant.
LA   HB 367    04/08/2013        HB 367 would establish a pretrial release services program, which could be used to assist
               HB 367 has been   in determining the amount of bail required.
               introduced.
                                                                                                                                  Filed 10/26/22




LA   HB 418    03/10/2014        HB 418 would establish time limits for satisfying a judgment for the forfeiture of a bail
               HB 418            bond based on the amount of the bond. In addition, the bill would allow a judgment to be
                                 satisfied by paying the full amount of the judgments into the registry of the court and the
                                 simultaneous institution of proceedings to determine the validity of the judgment.
                                                                                                                                  Page 110 of 305




                                                 SFAA 000495
LA   SB 439    03/10/2014          SB 439 would rewrite the law concerning bail bonds. The bill would revise certain
               SB 439 has been     terminology and procedures with regard to the notices required under existing law in
               introduced.         connection with the defendant’s appearance in court. The bill also would revise certain
                                   procedures concerning the certificates a surety must receive following the surety’s
                                   surrender of a defendant or if the defendant surrenders himself or herself. The bill would
                                   revise the procedures concerning the provision of a certificate of death. (i.e. establish a
                                   timeframe of when the certificate may be furnished to the court.) The bill would add new
                                   procedures concerning the forfeiture of the bond and the arrest of the defendant following
                                   his or her failure to appear in court, including notice requirements and the liability of a
                                   bail agent in this case. The bill would require a contradictory hearing to order a judgment
                                                                                                                                 Case 4:19-cv-00717-JST




                                   of bond forfeiture. The bill would revise the current procedures for bond forfeiture
                                   appeals.
LA   HB 540    03/10/2014          HB 540 would revise the existing law on bail bonds to authorize the use of e-mail to
               HB 540 has been     provide a notice of judgment of bond forfeiture. The bill would outline the procedures
               introduced.         under which e-mail could be used.
LA   SB 790    03/10/2014          SB 790 would revise the existing law for bail bonds, which allows a defendant to furnish
               SB 790 has been     a personal undertaking as a bail bond. The bill would authorize the courts in any parish,
               introduced.         other than St. John the Baptist and St. Charles, to alter the percentage amount of the bail
                                                                                                                                 Document 324-4




                                   to be deposited with the officer, and it would authorize the officer to charge an
                                   administrative fee, not to exceed $25 for processing the bond.
LA   HB 1142   04/24/2014          HB 1146 would provide for bail restrictions concerning protection orders, the possession
               HB 1142 is to the   of firearms. The bill provides procedures for the issuance of a Uniform Abuse Prevention
               third reading in    Order as a condition of bail for offenses against a family or household member or dating
               the House and is    partner. The bill would prohibit the possession of firearms by persons subject to these
                                                                                                                                 Filed 10/26/22




               scheduled for       orders.
               floor debate.
LA   HB 1176   04/24/2014          HB 1176 would restrict use of Temporary Needy Assistance for Families cash transfer
               HB 1176 is to the   and electronic benefits cards for bail bonds, among other items.
               third reading in
               the House and is
               scheduled for
               floor debate.
                                                                                                                                 Page 111 of 305




                                                   SFAA 000496
LA   HB 1206   04/01/2014       HB 1206 would consolidate the New Orleans Traffic and Municipal Courts.
               HB 1206 has been
               introduced.
MA   SB 666    04/17/2014          SB 666 provides that a probationer that has been charged with violating the terms of his
               SB 666 has not      or her probation would be admitted to bail pending a final surrender hearing.
               moved since it
               was scheduled for
               a hearing on
               04/24/2014.
MA   SB 678    04/14/2014          SB 678 would amend the existing law pertaining to warrants to provide that a warrant
                                                                                                                                Case 4:19-cv-00717-JST




               SB 678 has not      could be designated as a default warrant if it is issued because a person has forfeited or
               moved since it      made default on his or her bail bond or recognizance or if the person has been surrendered
               was scheduled for   by a probation officer.
               a hearing on
               04/16/2014.
MA   SB 825/   04/14/2014          SB 825/HB 1239 would revise certain procedural matters pertaining to unsecured
     HB 1239   SB 825/HB 1239      appearance bonds, and also would revise certain procedures with regard to the review of
                                                                                                                                Document 324-4




               has not moved       excessive bail.
               since it was
               scheduled for a
               hearing on
               04/16/2014.
MD   SB 29     Failed              HB 29 would have outlined certain procedures with regard to local law enforcement
                                   participation in federal immigration enforcement. The bill provided that a detainee may
                                                                                                                                Filed 10/26/22




                                   not be denied bail solely because of an immigration detainer. Further, the bill provided
                                   that nothing in these procedures may be construed to undermine the authority of a court to
                                   make a bail or bond determination according to its usual procedures.
MD   HB 631    Failed              HB 631 would have revised the existing law pertaining to the forfeiture of a bail bond.
                                   The bill would have eliminated certain provisions concerning refunds to the surety. The
                                   bill also would have eliminated provisions concerning the handling of forfeited funds
                                   following the arrest, apprehension, or surrender of a defendant who was arrested,
                                   apprehended, or surrendered.
                                                                                                                                Page 112 of 305




                                                   SFAA 000497
MD   SB 973/   Failed               SB 973/HB 1232 would have established a pretrial release services program for criminal
     HB 1232                        defendants. The bill would have directed the Department of Public Safety and Public
                                    Services to create the program according to the requirements outlined in the proposed
                                    law. The program would have provided alternatives to the pre-trial incarceration of
                                    defendants. The bill would have repealed the authority of the District Court
                                    commissioners to carry out certain functions in connection with criminal proceedings,
                                    including the authority to set bail, and transfer that authority to a judge.
MD   SB 1030   Failed            SB 1030 would have revised the existing law concerning bail bond forfeitures. The bill
                                 would have repealed the existing law prohibiting courts exercising criminal jurisdiction
                                 from refunding a forfeiture of bail or collateral unless a private surety pays a forfeiture of
                                                                                                                                  Case 4:19-cv-00717-JST




                                 bail or collateral within the law’s time constraints. The bill also would have repealed
                                 certain conditions that have to be met under current law before the court may refund a
                                 forfeited bail bond or collateral that was not paid within a certain time.
MI   SB 521    02/20/2014        SB 521 would revise the existing law concerning bench warrants issued in family court
               SB 521 passed the cases where a person has violated a support order. Existing law allows such persons to
               Senate.           post a cash performance bond following the issuance of a bench warrant and their arrest
                                 in order to be released from custody. The bill would add procedures for furnishing the
                                                                                                                                  Document 324-4




                                 bond to permit a payer for whom a bench warrant has been issued to voluntarily appear at
                                 the office of the friend of the court to answer the bench warrant. The payer must post the
                                 bond set forth in the bench warrant or be taken promptly before the court for further
                                 proceedings. If the bond is posted, the court or its clerk must give a receipt to the payer,
                                 which must direct the payer to appear before the court at a specific time and date. Upon
                                 posting the bond, the bench warrant would be removed.
MI   HB 4083   05/08/2013        HB 4083 would create the Michigan crime stoppers act and provide for the designation of
                                                                                                                                  Filed 10/26/22




               HB 4083 is to the crime stoppers organizations by county. Defendants charged with a felony or a
               second reading in misdemeanor, including an ordinance violation, that is resolved by conviction,
               the House.        assignment of the defendant to youthful trainee status, a delayed sentence, or a deferred
                                 entry of judgment of guilt, or in another way that is not an acquittal or unconditional
                                 dismissal, the court shall charge the defendant an assessment that would be used to fund
                                 the designated crime stoppers organization in the county. If the defendant posted a cash
                                 bond or bail deposit in connection with the case, the court shall order the assessment to be
                                 collected out of that bond or deposit.
                                                                                                                                  Page 113 of 305




                                                    SFAA 000498
MN   HB 744    02/20/2013       HB 744 would impose a fee for the reinstatement of a bail bond in an amount prescribed
               HB 744 has been  by court rule in an amount based on a percentage of the bond fee, but not less than $100.
               introduced.      The bill also would direct the court to impose a minimum penalty as provided in Rule 702
                                of Minnesota General Rules of Practice for reinstating the bond.
MO   HB 1325   01/13/2014       HB 1325 would revise the existing law regarding the possession of less than 35 grams of
               HB 1325 has been marijuana and the possession of marijuana drug paraphernalia. The bill would outline the
               introduced.      fines and penalties for persons charged with this offense. If the person does not have any
                                prior drug offenses on their record, the bill would exempt him or her from posting a bond.
MS   HB 38     Failed           HB 38 would have established a list of crimes with bail restrictions. Defendants charged
                                with such crimes only could post the required amount of bail in the form of cash, a surety
                                                                                                                               Case 4:19-cv-00717-JST




                                bond, or a bond secured by real property situated in the State with an unencumbered
                                equity equal to the amount of the bail undertaking plus $20,000. The bill would have
                                created a presumption in favor of the court requiring cash bail when a defendant is
                                charged with one of the listed crimes and also has certain offenses or convictions on his
                                or her record or was on parole when arrested, unless the court finds on the record that
                                another form of bail will ensure the defendant's presence in court when required. For
                                bonds secured by real property, an affidavit from the owner must be filed with certain
                                information about the property.
                                                                                                                               Document 324-4




MS   HB 122    Failed           HB 122 would have revised the existing law’s bail procedures to establish procedures and
                                conditions under which the court could determine whether to release a defendant prior to
                                the trial. The procedures specify that a bail bond may be required as a condition of
                                release. The bill would have revised the existing law concerning bail bonds to require
                                bail to comply with the bill’s procedures. The bill also would have created exceptions in
                                existing law concerning bail to address the bill’s procedures. The bill also would have
                                                                                                                               Filed 10/26/22




                                authorized a surety to arrest a defendant released on an appearance bond. The surety
                                would have to deliver the defendant to a law enforcement officer and brought before a
                                judicial officer. The judicial officer would have had to determine whether to revoke the
                                release of the person, and it may absolve the surety of responsibility to pay all or part of
                                the bond.
MS   HB 519    Failed           HB 519 would have rewritten the current penal code in Mississippi. The bill provided
                                that the court could require a defendant to post a bond in connection with the defendant’s
                                release for a suspended sentence.
                                                                                                                               Page 114 of 305




                                                   SFAA 000499
MS   HB 886/   Failed             HB 886/SB 2828 would have eliminated the use of personal sureties for bail bonds. The
     SB 2828                      bill would have required bail to be issued by a “fidelity of surety insurance company”
                                  authorized to act as surety within the State. Any such company may execute the
                                  undertaking as surety by an officer or attorney authorized by resolution of its board of
                                  directors. A certified copy of the authorization, under its corporate seal, would have had
                                  to be on file with the clerk of the circuit court and the county sheriff. Existing law
                                  already permits insurance companies to write bail bonds in the State.
MS   HB 901    Failed             HB 901/SB 2677 would have revised the existing licensing requirements for bail bond
                                  agents. The bill would have revised the definition of bail agents to add assisting in the
                                  monitoring or the supervision of pretrial defendants to the types of activities outlined in
                                                                                                                                 Case 4:19-cv-00717-JST




                                  the term. The bill would have made revisions to the existing continuing education
                                  requirements. The bill also would have revised the law concerning the suspension or
                                  revocation of a bail agent’s license, including penalties for providing false information to
                                  the court concerning the proper service of notices.
MS   HB 903/   Failed             HB 903/SB 2509 would have outlined the conditions under which a bail bond would have
     SB 2509                      been considered discharged.
MS   SB 2677   04/10/2014         SB 2677 revises the existing licensing requirements for bail bond agents. The new law
                                                                                                                                 Document 324-4




               SB 2677 has been   makes revisions to the existing continuing education and examination requirements. The
               enacted.           new law revises the law concerning the suspension or revocation of a bail agent’s license,
                                  including penalties for providing false information to the court concerning the proper
                                  service of notices. The new law prohibits bail agents from making or offering payments
                                  to officials in connection with bail transactions in return for business referrals. The new
                                  law provides fines and penalties for violations of this new provision.
NC   SB 574    05/22/2013         SB 574 would revise the existing law’s procedures regarding the termination of the
                                                                                                                                 Filed 10/26/22




               SB 574 is in the   obligation under a bail bond for certain misdemeanors. Under current law, the obligation
               House Judiciary    is terminated if a judge authorized to do so releases the obligor from his bond, the
               Committee.         principal is surrendered by a surety, the proceeding is terminated by voluntary dismissal
                                  by the State before forfeiture is ordered, or prayer for judgment has been continued
                                  indefinitely in the district court. The bill provides that termination of the obligation
                                  would terminate if 36 months have passed from the date of release on a bail bond where
                                  the defendant is charged with a misdemeanor, except for impaired driving offenses.
                                                                                                                                 Page 115 of 305




                                                  SFAA 000500
NC   HB 768    04/30/2013          HB 768 would eliminate unsecured appearance bonds for use in the pretrial release of a
               HB 768 is in the    defendant. Current law permits the court to require such a bond in an amount specified
               House Judiciary     by the judicial official.
               Committee.
NH   HB 353    06/20/2013          HB 353 would clarify existing law to provide that bail recovery agencies are subject to a
               A conference        $150 licensing fee if the agency has only one person employed. The fee is $500 if there
               committee report    is more than one employee. Existing law already requires licensure for such businesses.
               is pending for HB
               353.
NH   HB 1358   1/8/2014            HB 1358 would increase the amount of liability insurance that bail agencies and bail
                                                                                                                                  Case 4:19-cv-00717-JST




               HB 1358 has been    recovery agents must obtain from $300,000 to $500,000 and it would subject bail
               introduced.         enforcement agents to an existing license fee. The bill also would require bail
                                   enforcement agents to take rifle familiarization courses.
NH   HB 1482   02/12/2014          HB 1482 would clarify the licensure of individuals as a bail enforcement agent. Current
               The House           law provides for the licensure of agency businesses. The bill also would subject bail
               Executive           enforcement agents to an existing license fee of $150.
               Departments and
               Administration
                                                                                                                                  Document 324-4




               Committee voted
               the bill as
               inexpedient to
               legislate.
NJ   SCR 36/   01/14/2014          SCR 36/ACR 139 would revise the constitution in New Jersey with regard to bail. The
     ACR 139   SCR 36/ACR 139      constitution currently provides that “[all] persons shall, before conviction, be bailable by
                                                                                                                                  Filed 10/26/22




               has been            sufficient sureties, except for capital offenses when the proof is evident or presumption
               introduced.         great.” The resolution provides that all persons would be bailable by sufficient sureties
                                   prior to conviction, except that pretrial release could be denied to a defendant charged
                                   with a first-degree crime under certain circumstances. The resolution provides that
                                   defendants who are denied bail would have the right to appeal this determination and the
                                   right to an expedited trial. The resolution would authorize the legislature to establish
                                   procedures, terms, and conditions for pretrial release and the denial of it under the
                                   proposed change to the constitution.
                                                                                                                                  Page 116 of 305




                                                   SFAA 000501
NJ   AB 452     01/16/2014          AB 452 would restore the options for posting bail in certain cases. The bill would create
                AB 452 has been     a presumption in favor of the court designating the posting of cash bail when a defendant
                introduced.         is charged for a second or subsequent time with certain crimes. The bill provides that the
                                    amounts would be 50% cash option for a second offense and 100% cash option for a third
                                    or subsequent offense.
NJ   SB 561     01/14/2014          SB 561 adds certain weapons offenses to the list of crimes with bail restrictions. The bill
                SB 561 has been     also would expand the cases in which a presumption of full cash bail would apply for the
                introduced.         defendant.
NJ   SB 744     01/14/2014          SB 744 would add certain crimes to the list of crimes that have bail restrictions.
                SB 744 has been
                                                                                                                                  Case 4:19-cv-00717-JST




                introduced.
NJ   SB         01/14/2014       SB 847/SB 946 would authorize a court to order the detention of a defendant charged
     847/SB     SB 847/SB 946    with a first-degree crime before trial and deny the defendant bail if the court determines
     946        have been        that no amount of bail, non-monetary conditions of pretrial release or combination of bail
                introduced.      and conditions would assure that the defendant would appear for trial. The bill would
                                 authorize the court to deny pretrial release to protect the safety of any person or the
                                 community, or to prevent the defendant from obstructing or attempting to obstruct the
                                 criminal justice process. The bill would establish the requirements for hearings on the
                                                                                                                                  Document 324-4




                                 denial of bail and for appealing such denial. Further, the bill would permit the court to
                                 use alternatives to setting bail for defendants charged with non-violent offenses. The bill
                                 provides that the defendant would be released upon meeting these alternative
                                 requirements.
NJ   SB 1430/   02/27/2014       SB 1430/AB 2357 would establish a judicial presumption in favor of the option for 10%
     AB 2357    SB 1430/AB 2357 bail to be posted in lieu of a bail bond issued by licensed surety for repeat criminal
                                                                                                                                  Filed 10/26/22




                have been        offenders.
                introduced.
NJ   AB 2291    02/06/2014       AB 2291 would add death by auto or vessel and certain assaults as crimes with bail
                AB 2291 has been restrictions to the existing list of such crimes in the current law.
                introduced.
                                                                                                                                  Page 117 of 305




                                                    SFAA 000502
NJ   AB 3005   03/24/2014       AB 3005 would prohibit surety companies, bail agents, and agencies from knowingly
               AB 3005 has been executing a bail bond for the release of a defendant charged with a crime of the first
               introduced.      through fourth degree from custody or incarceration without collecting a fee for at least
                                10% of the face amount of the bail bond prior to or at the time the bond is filed. The bail
                                agent or agency would have to give a written statement that it collected the fee. The bill
                                provides penalties for violating this requirement.
NM   HB 50     02/08/2014       HB 50 replaces the current rating plan requirements for property bondsman with a
               HB 50 has been   process in which the Superintendent of Insurance conducts public hearings for
               enacted.         promulgating the premium rates, schedule of charges, and rating plans. The new law
                                prohibits a bondsman from offering a reduction in rates, charges or premium.
                                                                                                                                Case 4:19-cv-00717-JST




                                   The new law requires a bail bondsman to register a solicitor with the superintendent
                                   within seven days of employment. The existing professional pre-licensing education
                                   requirements have been revised. Bail bondsmen must graduate from high school or pass
                                   an equivalency exam under the new law. The new law revises the existing penalties and
                                   fines in the current law. The new law requires the bond or deposit that a property
                                   bondsman must post under existing law to be maintained until all bonds that have been
                                   posted with all courts become exonerated.
                                                                                                                                Document 324-4




NY   SB 506    01/08/2014          SB 506 would require the Commissioner of Financial Services to conduct a study to
               SB 506 has been     identify problems and concerns regarding the bail bond business in order to improve and
               introduced.         clarify the existing law and regulations. The findings of the study would have to be
                                   presented to the legislature in a public hearing.
NY   SB 6970   04/09/2014          SB 6790 would revise the existing law concerning bail bonds and bail agents. The bill
               SB 6970 has been    would revise the existing definition on bail bond business and provide new definitions for
                                                                                                                                Filed 10/26/22




               introduced.         insurer, bail agent, and bail bond, among other related terms that pertain to bail bonds.
                                   The bill would add conditions under which a bail bond agent license could be suspended
                                   or revoked. The bill would add procedures concerning bail agents that have had their
                                   licenses revoked. The bill would establish new collateral requirements for bail agents.
                                   The bill would add procedures for premium refunds on bail bonds for insurers. The bill
                                   would establish notice requirements for bail agents to issue concerning the obligations
                                   under the bail bond.
                                                                                                                                Page 118 of 305




                                                   SFAA 000503
NY   AB 7057    01/08/2014        AB 7057 would direct the Commissioner of Financial Services (Commissioner) to
                AB 7047 has been conduct a study to identify problems and concerns regarding the bail bond business. The
                introduced.       bill provides that the study would serve to identify necessary improvements and
                                  clarifications to current regulations and statutes related to the rights of defendants who
                                  use the bail bond business. Upon completion of the study, the Commissioner shall
                                  prepare a report with suggestions for regulatory and/or statutory changes necessary to
                                  improve and clarify current regulations and statutes for the rights of defendants. The bill
                                  would direct the Commissioner to hold a public hearing in that area in order to afford an
                                  opportunity for any person to propose additions or deletions from the report
                                  recommendations.
                                                                                                                                  Case 4:19-cv-00717-JST




OK   SB 9       02/06/2013        SB 9 would eliminate the ability of a bondsman to register in a county where he or she
                SB 9 has been     maintains an office but does not reside, and eliminates the per county limit of bonds a
                introduced.       surety may write in each county.
OK   SB 329/    02/04/2013        SB 329 provides that a bondsman would be authorized to write bonds on up to ten
     SB 1037    SB 329 has been   defendants per calendar year in each county outside his or her resident county. Each date
                introduced.       on the bonds written for an individual would be used for counting the bonds subject to the
                                  limit, notwithstanding any previous bonds written on that same individual. This limit
                03/18/2013        would not apply in counties without a registered bondsman.
                                                                                                                                  Document 324-4




                SB 1037 is to the
                second reading in
                the House.
OK   SB 1291    02/04/2014        SB 1291 would revise the existing bail laws in Oklahoma by eliminating a provision that
                SB 1291 has been the law only applies to counties with a population of 400,000 or more people.
                introduced.
                                                                                                                                  Filed 10/26/22




OK   SB 1406/   02/03/2014        SB 1406/HB 2404 would revise the registration process for a bondsman. Current law
     HB 2404    SB 1406/HB 2404 permits the bondsman to register in a county where he or she resides or where he or she
                has been          maintains an office but does not reside. Instead, the bondsman would have to file a
                introduced.       certified copy of his or her license with the district court clerk in each county where he or
                                  she will write bonds that is not his or her county of residence. The bill would allow a
                                  bondsman to write surety bonds statewide without the current ten defendants per county
                                  limit.
                                                                                                                                  Page 119 of 305




                                                     SFAA 000504
OK   HB 1606    02/04/2013       HB 1606 would increase the licensing fee for a bail bondsman from $250 to $350. The
                HB 1606 has been bill also would add a penalty for failing to provide notice of a change in legal name,
                introduced.      address, or e-mail address within five days of the change. The bill would add penalties
                                 for an untimely submission of the monthly reports bail bondsmen must submit on the
                                 bonds they have written and their liabilities in the amount of $50 for each late report.
                                 Bondsmen who have submitted untimely reports three times within a twelve-month
                                 period would be subject to additional civil penalties in an amount ranging from $250 to
                                 $2,500.
OK   SB 1675/   04/28/2014       SB 1675/SB 1886/HB 2928 would revise the requirements for the receipt that bail
     SB 1886/   SB 1675 has been bondsmen must provide under existing law. The bill also would revise the current law
                                                                                                                                 Case 4:19-cv-00717-JST




     HB 2928    returned to the  concerning the maintenance of the list of currently approved bail bondsmen that is posted
                Senate for       at the county jail. The bill would revise the due date of the annual financial statement that
                approval of the  bail bondsmen must provide. The bill also would revise the definition of “return to
                House-passed     custody.”
                amendments.
                                 The House amendments do not appear to impact these provisions in SB 1675. The Senate
                04/23/2014       amendments do not appear to impact these provisions in HB 2928.
                HB 2928 has been
                                                                                                                                 Document 324-4




                returned to the
                House for
                approval of the
                Senate-passed
                amendments.

                02/03/2014
                                                                                                                                 Filed 10/26/22




                SB 1886 has been
                introduced.
OK   HB 2407    04/16/2014           HB 2407 allows bail bond agents to be multicounty agent bondsmen. The new law
                HB 2407 has been     establishes licensing requirements and outlines the qualifications for becoming a
                enacted.             multicounty agent bondsman.
PA   SB 149     03/12/2014           SB 149 would establish licensing requirements for bail bond recovery agents.
                SB 149 has been
                                                                                                                                 Page 120 of 305




                sent to the Senate



                                                    SFAA 000505
               Appropriations
               Committee.
PA   HB 601    02/08/2013          HB 601 would add a crime restriction to the bail bond laws to provide that prisoners
               HB 601 has been     charged with the sexual abuse of a child are not eligible for bail.
               introduced.
PA   SB 1215   01/17/2014       SB 1215 would specify that certain documents for bail bonds could be filed in the
               SB 1215 has been appropriate judicial records office as an alternative to filing such documents with the
               introduced.      office of the clerk.
SC   SB 19     04/14/2014       SB 19 revises the existing law concerning bail bonds. The new law outlines the factors
               SB 19 has been   that a court could consider in determining whether to release a defendant that would
                                                                                                                              Case 4:19-cv-00717-JST




               enacted.         reasonably assure the defendant’s appearance in court. The new law authorizes the
                                revocation of a defendant’s bond if he or she is charged with a violent crime and he or she
                                commits a subsequent violent crime while released on bond.
SC   SB 45     01/08/2013       SB 45 provides that a person convicted of committing or attempting to commit a general
               SB 45 has been   sessions offense while released on a bail bond or personal recognizance bond would have
               introduced.      to be imprisoned for five years in addition to the punishment provided for the principal
                                offense. The five-year sentence would not apply in cases where the death penalty or a life
                                sentence without parole is imposed.
                                                                                                                              Document 324-4




SC   SB 827    01/14/2014       SB 827 would authorize a court to require a defendant to wear an approved electronic
               SB 827 has been  monitoring device, or be subject to monitoring by a global positioning system tracking
               introduced.      device or other similar device. The bill provides that the defendant may be charged for
                                the cost of the electronic monitoring device and its operation for the duration of the time
                                he or she is required to be electronically monitored.
SC   SB 831    01/14/2014       SB 831 would provide for electronic monitoring vendor licensing. The bill provides that
                                                                                                                              Filed 10/26/22




               SB 831 has been  nothing in the bill’s provision’s “shall be construed to abrogate or impair the powers of
               introduced.      any bond court or grant the department authority over a bail bonding company and their
                                power to set conditions of pretrial release."
SC   HB 3135   01/08/2013       HB 3135 would establish a new licensing law for professional bondsmen. Current law
               HB 3135 has been regulates professional bondsmen and surety bondsmen under South Carolina’s Insurance
               introduced.      Code. The bill would regulate professional bondsmen under the Department of Labor.
                                                                                                                              Page 121 of 305




                                                   SFAA 000506
SC   HB 3137   01/08/2013       HB 3137 would permit a bail bondsman or runner to assist another bail bondsman in the
               HB 3137 has been apprehension, arrest, and surrender of the defendant even if the person is not employed or
               introduced.      appointed by the bail bondsman who is the defendant’s surety.

SC   HB 3138   01/08/2013       HB 3138 would change the amount of continuing education required for a professional
               HB 3138 has been bondsman from not less than six hours to not less than three hours.
               introduced.
SC   HB 3342   01/23/2014       HB 3342 would have added notice requirements in connection with the issuance of a
               Vetoed           bench warrant for a defendant that failed to appear in court.
                                                                                                                               Case 4:19-cv-00717-JST




SC   HB 3503   02/06/2013       HB 3503 would eliminate a law concerning jury areas for certain magistrate courts
               HB 3503 has been including a bail provision. With the elimination of the current system, bail provisions
               introduced.      would be eliminated. The bill provides that jury areas would be determined by county for
                                magistrate courts.
SC   HB 3619   02/26/2013       HB 3619 would require individuals applying to for a professional bondsman, surety
               HB 3619 has been bondsman or a runner’s license to provide the Department with his or her business, email,
               introduced.      mailing, and residential street addresses. The bondsman or runner also would have to
                                notify the Department within 30 days of any change in legal name or in any of these
                                                                                                                               Document 324-4




                                addresses. Failure to provide such notice within the required timeframe would be
                                considered a violation subject to the penalties in existing law.
SC   HB 4368   01/14/2014       HB 4368 provides that a criminal gang member charged with a felony offense would be
               HB 4368 has been required to post a minimum $50,000 bond if the court finds that the defendant may be
               introduced.      released pending trial, unless the court determines the defendant is not likely to reoffend,
                                an appropriate intensive pretrial supervision is available, and the defendant agrees to
                                comply with the mandate of intensive pretrial supervision.
                                                                                                                               Filed 10/26/22




SC   HB 4790   02/26/2014       HB 4790 would amend the existing law on courts that have jurisdiction in certain
               HB 4790 has been criminal matters. The bill would extend the authority granted to the family court in
               introduced.      domestic violence cases to magistrates or municipal courts during non-business hours or
                                when the family court is not in session, or the court conducting the bond hearing of a
                                violent offender. The bill also would prohibit persons charged with criminal domestic
                                violence from depositing cash in lieu of recognizance.
                                                                                                                               Page 122 of 305




                                                   SFAA 000507
SC   HB 5083   04/09/2014       HB 5083 would require first year bail bondsmen to be under the supervision of a bail
               HB 5083 has been bondsman who has been licensed for at least three years. The bill would require a first
               introduced.      year surety bondsman to provide the department the name and license number of his
                                supervising surety bondsman. The bill would revise the qualifications for bondsman with
                                regard to residency and competency requirements. The bill would provide additional
                                requirements for maintaining an office.
SC   HB 5116   04/10/2014       HB 5116 would increase the minimum fee that a bail bondsman must charge for a bond
               HB 5116 has been from $25 to $100. The bill also would establish procedures for the use of a payment plan
               introduced.      for paying the fee. The bill would revise the existing law on providing collateral for a
                                bail bond. The bill would revise the release procedures for the collateral. The bill also
                                                                                                                              Case 4:19-cv-00717-JST




                                would add a notice requirement for converting the collateral into cash in connection with
                                bond forfeitures.
TN   HJR 98    Failed           HJR 98 was a resolution that would direct the Administrative Office of the Courts to
                                study the issues regarding the use of unsecured bail bonds and the fees charged for them.
                                The report would have had to be submitted to the Judiciary Committee of the Senate and
                                the Criminal Justice Committee of the House of Representatives on or before January 15,
                                2014. The report would have had to include information on the problems that the fees for
                                unsecured bonds raise and recommendations for legislative solutions.
                                                                                                                              Document 324-4




TN   SB 248/   Failed           SB 248/HB 410 would have authorized the court to consider a defendant's unlawful
     HB 410                     presence in the United States and the likelihood of his or her flight to avoid removal,
                                deportation, exclusion or any other immigration proceeding when determining the amount
                                of bail required. Current law already provides several factors for the basis of determining
                                the bond amount.
TN   HB 309/   Failed           HB 309/SB 695 would have revised the existing law concerning the pre-trial release of a
                                                                                                                              Filed 10/26/22




     SB 695                     defendant in certain cases involving firearms. The bill would have authorized county and
                                municipal magistrates to require a defendant to comply with certain requirements in
                                connection with release. Among the conditions, the magistrate could have required the
                                defendant to appear before a judge or magistrate, with no pre-trial release or prohibit a
                                defendant from being released until the firearm, if any, used in the commission of the
                                offense for which the defendant is charged, is found. The magistrate also could have
                                required monitoring devices be used to track the defendant while on release.
                                                                                                                              Page 123 of 305




                                                   SFAA 000508
TN   SB 1952    04/21/2014         SB 1952 provides that a bail bond remains in effect until the court renders the defendant's
                SB 1952 has been   sentence, if the disposition of the case is a conviction or a plea of guilty. The new law
                sent to the        provides that following conviction or a plea of guilty and prior to sentencing, the bond
                Governor.          shall not be forfeited against a surety, shall not be included in the calculation of a
                                   bondsman's capacity or solvency, or negatively impact the surety.
TN   HB 2131/   Failed             HB 2131/SB 2321 would have authorized counties with a population of not less than
     SB 2321                       75,100, nor more than 75,200, according to the 2010 federal census or any subsequent
     and                           federal census, to impose a tax on bail bonds in the amount of $8. The bill would have
     SB 2330/                      outlined the procedures for the county to adopt the tax and for administering the tax if
     HB 2360                       adopted.
                                                                                                                                 Case 4:19-cv-00717-JST




                                   SB 2330/HB 2360 were similar except that it would have authorized the tax in all
                                   counties.
TN   SB 2167/   Failed             SB 2167/HB 2286 would have prohibited an alleged victim of domestic violence from
     HB 2286                       posting bail or signing any bond as surety for the appearance of the person who is
                                   charged with an act of domestic violence against the victim.
UT   SJR 20     03/21/2014         SJR 20 directs the legislature to study bail bond agents and whether to they should be
                SJR 20 has been    under the authority of the Department of Insurance or the Bureau of Criminal
                                                                                                                                 Document 324-4




                sent to the        Identification. The study also would have to include a review of licensing surety
                Governor.          collateralization when a bond is processed, when and how a penalty is paid, and other
                                   issues related to the industry.
UT   SB 159     03/31/2014         SB 159 allows the court to order that a judgment creditor be paid from funds posted as
                SB 159 has been    bail by a judgment debtor.
                enacted.
                                                                                                                                 Filed 10/26/22




UT   HB 191     Failed             HB 191 would revise the existing law concerning bail bond and bail bond agents. The
                                   bill would revise the law on qualifications as a bail agent, and makes changes regarding
                                   reporting requirements for agents and makes revisions to certain requirements concerning
                                   the operation of the bail agent’s business. The bill would delete references to bail
                                   recovery agents. The bill would modify the liability of the surety for the undertaking if
                                   the bond is issued after sentencing. The bill would revise provisions addressing the
                                   exoneration of the bond. The bill also would make related changes to the court’s
                                   processing of the bond.
                                                                                                                                 Page 124 of 305




                                                   SFAA 000509
UT   HB 203    03/29/2014          HB 203 revises the existing law on the membership of the Bail Bond Recovery Licensure
               HB 203 has been     Board. The new law allows the member who is required to be an owner of a bail bond
               enacted.            surety company to be a bail enforcement agent or a bail recovery agent. Such agents may
                                   not serve on the Board under current law.
UT   HB 334    03/29/2014          HB 334 authorizes a bail bond apprentice to wear clothing that identifies the apprentice as
               HB 334 has been     a bail bond agent.
               enacted.
VA   HB 163/   Carryover to 2015HB 163/HB 984/SB 235 would revise the current law concerning appeal procedures for
     HB 984/                    bail bonds. The bill provides that any court from which an appeal of a bail, bond, or
     SB 235                     recognizance decision is taken would be prohibited from modifying the appellate court's
                                                                                                                                 Case 4:19-cv-00717-JST




                                decision regarding the terms or amount of the bail, bond, or recognizance, except in
                                certain circumstances. To modify the decision, the appellate court would have to remand
                                the matter to the court from which the appeal was taken for further action or the court
                                from which the appeal was taken would have to find, for good cause shown, that a change
                                in circumstances has occurred warranting a modification of the terms or amount of the
                                bail, bond, or recognizance since the time of the appellate court's decision.
VA   SB 501    03/31/2014       SB 501 revises the current law that allows a judicial officer to impose as a condition of
                                                                                                                                 Document 324-4




               SB 501 has been  release on bond for any felony or misdemeanor that the defendant may not have contact
               enacted.         with a household member for 72 hours. The new law deletes the time limitation and
                                allows the judicial officer to determine the amount of time.
VA   HB 1007   03/03/2014       HB 1007 revises the education requirements for bail bond agents with regard to
               HB 1007 has been alternatives to obtaining a high school diploma.
               enacted.
VT   HB 660    01/22/2014       HB 660 would establish a procedure which permits the civil commitment of sexually
                                                                                                                                 Filed 10/26/22




               HB 660 has been violent predators after their release from prison. Persons subject to a civil commitment
               introduced.      petition who are in the secure confinement of the State would not be eligible for bail,
                                bond, house arrest, or other measures releasing the person from the physical protective
                                custody of the State.
WA   HB 1098   Failed           HB 1098 would have revised the existing law concerning bail to implement the
                                recommendations of the bail practices work group. The bill would have made several
                                revisions to the requirements for bail bonds and bail agents.
                                                                                                                                 Page 125 of 305




                                                   SFAA 000510
WA   HB 2164   03/28/2014       HB 2164 provides that a juvenile defendant must participate in a rehabilitation program to
               HB 2164 has been obtain a deferred disposition if he or she had been charged with unlawful possession of a
               enacted.         firearm. The court may require a probation bond in connection with the release of the
                                juvenile defendant in a deferred disposition.
WA   HB 2265   Failed           HB 2265 would have prohibited bail bond agents from entering into a contract, including
                                a general power of attorney, with a person that gives the agent full authority over the
                                person's finances, assets, real property, or personal property.
WI   AB 383    Failed           AB 383 would revise the existing law concerning cash and property bail bonds.
WV   SB 200/   Failed           SB 200/HB 3070 would have revised the existing law’s fees for bail bonds to a surcharge
     HB 3070                    on bail bonds in Magistrate and Circuit Court. The funds would have been deposited into
                                                                                                                                  Case 4:19-cv-00717-JST




                                the County General Revenue Fund to offset regional jail expense.
WV   SB 307    04/14/2014       SB 307 provides for pretrial release programs. The new law outlines the requirements for
               SB 307 has been  the program. The new law provides that nothing in the law should be construed to
               enacted.         prohibit a court from requiring a defendant to post a bond as a condition of pretrial
                                release.

                                   The new law establishes premium and collateral requirements for bail bondsmen,
                                   outlining the standards for charging premium on the bond and for recording and
                                                                                                                                  Document 324-4




                                   maintaining collateral provided by defendants.
WV   SB 462    Failed              SB 462 would have revised the existing law concerning “bailpieces,” which is a
                                   certificate establishing the obligation in connection with the accused in a particular case
                                   and the amount of it. The bill provided that when a bail bondsman secures a bailpiece,
                                   the surety shall be relieved of acting collateral on the case(s) for which the bailpiece was
                                   applied.
                                                                                                                                  Filed 10/26/22




WV   SB 464    Failed              SB 464 would have prohibited law-enforcement officers and members of their immediate
                                   family from serving as a bail bondsman of a person in custody because of the conflict of
                                   interest it presents. The bill provided that if such persons take this action, it would be
                                   void.
                                                                                                                                  Page 126 of 305




                                                   SFAA 000511
           Case 4:19-cv-00717-JST             Document 324-4          Filed 10/26/22       Page 127 of 305


Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Tuesday, September 3, 2013 11:26 AM
To:                  Committee-BBAC-Open
Cc:                  Dnabic
Subject:             Recent California Decision
Attachments:         CountyofLosAngeles.v.IFIC.08.28.2013.pdf


Attached is a copy of the August 28 unpublished decision of the Second District Court of Appeals in County of Los
Angelesv.InternationalFidelityInsuranceCo.AlthoughnotreallybeforetheCourt,itseemstomethatthejudges
misunderstoodtherecentadditionofsubdivision(h)toPenalCodesection1305.Specifically,aspartofthediscussionof
newsubdivision(h)atpages5Ͳ7oftheOpinion,theysaid:

Subdivision (h) is applicable “[i]n cases arising under subdivision (g),” and
subdivision (g) applies to cases where “the prosecuting agency elects not to seek
extradition after being informed of the location of the defendant[.]” In this case, the
prosecuting agency is pursuing extradition.

Iwouldunderstandthepointofaddingsubdivision(h)tobetoletthecourttolltheappearanceperiodwhenthe
prosecutingagencydoesseekextraditionbutmoretimeisneededtoreturnthedefendant.Therewouldbenopurpose
toaddingthenewsubdivision(h)ifitwasonlygoingtoapplyiftheprosecutingagencydecidesnottoextradite.




                                                             1
                                                        SFAA 000512
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Filed 8/28/13 County of Los Angeles v. International Fidelity Ins. CA2/4
                  NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


              IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                     SECOND APPELLATE DISTRICT

                                                 DIVISION FOUR




COUNTY OF LOS ANGELES,                                               B243060

                   Plaintiff and Respondent,                         (Los Angeles Country
                                                                     Super. Ct. No. OSJ001432)
                        v.

INTERNATIONAL FIDELITY
INSURANCE COMPANY,

                 Defendant and Appellant.




         APPEAL from a judgment of the Superior Court of Los Angeles Country,
Lia Martin, Judge. Affirmed.
         John M. Rorabaugh for Defendant and Appellant.
         Office of the County Counsel, Ruben Baeza, Jr., and Joanne Nielsen, for Plaintiff
and Respondent.


                                    ______________________________




                                                       SFAA 000513
   Case 4:19-cv-00717-JST          Document 324-4        Filed 10/26/22   Page 129 of 305




       In this bail bond forfeiture case, International Fidelity Insurance Company appeals
from a summary judgment and an order denying its motion to set aside the judgment,
discharge the forfeiture and exonerate the bond. We find proper notice of forfeiture was
sent by the clerk of the court. We also conclude that, even if the recent amendment of
Penal Code section 1305, subdivision (h)1 can be applied retroactively, appellant has not
shown that the prosecuting agency agreed to additional tolling of the 180-day period
within which to vacate the forfeiture, as required by that provision. We affirm the
judgment.


                      FACTUAL AND PROCEDURAL SUMMARY
       On June 3, 2008, appellant posted a $150,000 bond for the release of criminal
defendant Javier Abdin. On Friday, June 6, 2008, Abdin failed to return to the afternoon
session of his preliminary hearing. The court adjourned the proceedings and ordered the
bond forfeited. The minute order for the hearing states: “Bond is ordered forfeited, when
received.”
       The minute order for June 9, 2008 shows the case was called for further
proceedings on that day, but the only individuals present were the judge and the court
clerk. The minute order states: “The defendant fails to appear. . . . [¶] Bail ordered
forfeited.” It then clarifies: “As the bail bond was received by the court this date, the
court now orders the bond forfeiture of 6/6/08 into full force and effect. . . . [¶] Bail
bond received and filed after appearance date of 06/06/08.” Notice of the forfeiture was
printed and mailed on June 9, 2008, and June 9 was listed as the date of forfeiture.
       The forfeiture period was to end on December 12, 2008. The court granted the
bail agent’s motion to extend that period to June 8, 2009. On June 4, 2009, the bail agent
filed a motion to vacate the forfeiture and reinstate and exonerate the bond on the ground
that Abdin had been found in Mexico, and the district attorney did not intend to extradite




       1
           All statutory references are to the Penal Code.
                                               2
                                           SFAA 000514
   Case 4:19-cv-00717-JST        Document 324-4         Filed 10/26/22   Page 130 of 305




him. Based on the People’s in-court representation that they did in fact intend to seek
Abdin’s extradition, the court denied the motion.
       On July 2, 2009, the court denied the bail agent’s request to reopen her motion.
The court gave the district attorney’s office until September 30, 2009 to ‘“show
progress”’ on the extradition and stated it would exonerate the bond if Abdin had been
extradited by then. Nevertheless, summary judgment on the bond was entered
immediately. Appellant moved to set it aside because it was entered before the
September 30 deadline the court had set for the progress report on the extradition. A
different judge heard the motion and decided to set aside the summary judgment to allow
appellant to seek clarification of the court’s July 2 ruling.
       Appellant moved for clarification and to exonerate the bond. At the December
2009 hearing, the People represented the extradition would take about six months. The
parties agreed to continue the matter and toll the forfeiture period until June 7, 2010. At
the June 2010 hearing, the People advised that Abdin had been detained by the bail agent
in Mexico. The procedure to extradite him was governed by international law. It
required obtaining various affidavits and sending an application to the Department of
Justice and the Department of State for submission to the Mexican Embassy. The People
had only managed to obtain an affidavit from the prosecutor. Appellant’s attorney urged
the court to conclude the delay indicated the district attorney had no intent to extradite
Abdin and to either exonerate the bond or toll the forfeiture period for another six
months. Troubled by the delay, the court said, ‘“Enough is enough,”’ and proceeded to
set aside the forfeiture, reinstate the bond, and exonerate it.
       The People appealed. In People v. International Fidelity Insurance Company,
(Nov. 16, 2011, No. B225994 [nonpub. opn.]) we held the exoneration was inconsistent
with section 1305, subdivision (g), under which the bond could be exonerated only if
“Abdin was returned to the court or the prosecutor elected not to extradite. Neither of
those conditions was met.” (See People v. Seneca Ins. Co. (2010) 189 Cal.App.4th 1075,
1082.) We reversed the order setting aside the forfeiture, reinstating the bond, and
exonerating it. A remittitur issued in February 2012.

                                               3
                                          SFAA 000515
   Case 4:19-cv-00717-JST        Document 324-4          Filed 10/26/22     Page 131 of 305




       Summary judgment was entered against appellant in April 2012. Appellant moved
to set it aside on the ground that the court had lost jurisdiction over the bond when it
failed to mail notice of the June 6, 2008 forfeiture. On July 19, 2012, appellant filed a
request for judicial notice of Senate Bill 989, which had just been signed into law. The
bill added section 1305, subdivision (h), which allowed the court to toll the forfeiture
period based on an agreement between the bond agent and the prosecuting agency.
       At the hearing the following day, the court denied appellant’s motion. It found
that res judicata principles probably applied. In the alternative, it found the court had not
lost jurisdiction over the bond and the new section 1305, subdivision (h) did not change
the result. This timely appeal followed.


                                       DISCUSSION
                                                I
       Appellant first argues the court lost jurisdiction over the bond because the clerk
failed to mail notice of the June 6, 2008 forfeiture.2 As we explain, we find the notice
fully satisfied the strict requirements of section 1305, subdivision (b).
       Defendant failed to appear for the afternoon session of his arraignment on Friday,
June 6, 2008. The court noted his absence and stated: “[T]hese proceedings are
adjourned. The bail is forfeited. Bench warrant is issued. No bail on the bench
warrant.” Apparently the bond had not yet been received by the court, because the
minute order reflects a forfeiture order conditioned on receipt of the bond: “The bond is
ordered forfeited, when received.” (Italics added.) The minutes from the next court day,
Monday, June 9 state: “Bail ordered forfeited. As the bail bond was received by the
court this date, the court now orders the bond forfeiture of 6/6/08 into full force and
effect. The bench warrant is recalled and reissued after entry of bail bond into the
system.” (Italics added.)


       2
        Although we believe this issue could be resolved by application of res judicata,
we find it more expedient to resolve it on the merits.
                                               4
                                           SFAA 000516
   Case 4:19-cv-00717-JST        Document 324-4         Filed 10/26/22   Page 132 of 305




       Reading these court minutes together, it is evident that the court-ordered forfeiture
became effective upon receipt of the bail bond on June 9, 2008. The clerk mailed notice
of forfeiture that same day. The notice accurately specifies June 9, 2008 as the date of
forfeiture. This notice complies with the requirements of section 1305, subdivision (b).
       County of Los Angeles v. Granite State Ins. Co. (2004) 121 Cal.App.4th 1, on
which appellant relies, is distinguishable. In that case, on February 13, 2001, when the
defendant failed to appear, the court ordered bail forfeited. Despite that order, the clerk
prepared a minute order declaring that the court had found “good cause not to forfeit
bail” and had ordered the warrant held to March 6, 2001. When the defendant failed to
appear on March 6, the court noted it had held the bench warrant until that date, again
issued a bench warrant, and “forfeited” bail. The clerk sent notice of bail forfeiture
giving the forfeiture date as March 6, and making no reference to the February 13
declaration of forfeiture. On appeal, the court concluded that the trial court
“unequivocally forfeited bail on February 13 (in spite of the contradictory minute order).
We also conclude that the March 9 notice, which specifically limited itself to the March 6
‘forfeiture,’ failed to adequately advise the surety of the February 13 forfeiture.” (121
Cal.App.4th at p. 3.)
       In contrast, the June 9 minute order in our case specifically references the June 6
order of forfeiture and notes that the sole condition precluding completion of the
forfeiture, receipt of the bond, had been met. There was only one forfeiture, which was
“in full force and effect” as of June 9, 2001, when the bond was received. The notice
properly reflects that.
                                              II
       Appellant also asks that we apply the new subdivision (h) of section 1305, added
in 2012 (Stats. 2012, ch. 129, § 1 (SB 989).)
       Section 1305 generally provides that after bond is forfeited, if a defendant appears
within 180 days of the date of the forfeiture, the court shall order the forfeiture vacated
and the bond exonerated. Subdivision (g) addresses the situation where a defendant is
beyond the jurisdiction of the state: “In all cases of forfeiture where a defendant is not in

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                                          SFAA 000517
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custody and is beyond the jurisdiction of the state, is temporarily detained, by the bail
agent, in the presence of a local law enforcement officer of the jurisdiction in which the
defendant is located, and is positively identified by that law enforcement officer as the
wanted defendant in an affidavit signed under penalty of perjury, and the prosecuting
agency elects not to seek extradition after being informed of the location of the
defendant, the court shall vacate the forfeiture and exonerate the bond on terms that are
just and do not exceed the terms imposed in similar situations with respect to other forms
of pretrial release.” In simple terms, this subdivision requires the court to vacate the
forfeiture and exonerate the bond where the prosecuting agency decides not to seek
extradition of a defendant who is beyond the jurisdiction of the state.
       New subdivision (h) provides: “In cases arising under subdivision (g), if the bail
agent and the prosecuting agency agree that additional time is needed to return the
defendant to the jurisdiction of the court, and the prosecuting agency agrees to the tolling
of the 180-day period, the court may, on the basis of the agreement, toll the 180-day
period within which to vacate the forfeiture. The court may order tolling for up to the
length of time agreed upon by the parties.”
       Appellant argues that the amendment should apply to this case under People v.
Durbin (1966) 64 Cal.2d 474, which holds that a statute involving the “elimination of the
power of forfeiture” or the “repeal of a civil penalty or forforfeiture” applies retroactively
if the judgment is not final. (Id. at p. 478.) We need not decide that question in this case
because there is no factual basis for applying the amended statute.
       Subdivision (h) is applicable “[i]n cases arising under subdivision (g),” and
subdivision (g) applies to cases where “the prosecuting agency elects not to seek
extradition after being informed of the location of the defendant[.]” In this case, the
prosecuting agency is pursuing extradition.
       In addition, subdivision (h) authorizes the court to toll the 180-day period if the
bail agent and the prosecuting agency agree to the tolling. Appellant presented no
evidence of such agreement to the trial court, nor does it do so on appeal. As the trial


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court observed, “I don’t find for our purposes of today that Penal Code section 1305,
subdivision (h), would change anything.”


                                    DISPOSITION
      The judgment is affirmed. Respondent to have its costs on appeal.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                                 EPSTEIN, P. J.
We concur:



      WILLHITE, J.



      MANELLA, J.




                                            7
                                        SFAA 000519
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Orgovan, Joseph

From:                 Wanke, Daniel
Sent:                 Monday, April 22, 2013 4:36 PM
To:                   Committee-BBAC-Open
Cc:                   DNABIC@aol.com
Subject:              Bail Bond Legislation
Attachments:          Bail Bond Legislative Report--April.pdf



Attached is our latest report on legislation for 2013. If you have any questions, please do not hesitate to contact
us. Thank you.

Daniel Wanke

Daniel Wanke
Analyst - Government Affairs and Regulatory Affairs
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(202) 778-3631 - Direct
(202) 463-0606 - Fax
www.surety.org


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                                                              1
                                                         SFAA 000520
                                 THE SURETY & FIDELITY ASSOCIATION OF AMERICA

                                                        MEMORANDUM

TO:           Bail Bond Advisory Committee

FROM:         Daniel Wanke

RE:           Bail Bond Legislation
                                                                                                                                          Case 4:19-cv-00717-JST




DATE:         April 15, 2013


There are 38 states and the District of Columbia in session. In all states except New Jersey and Virginia, this is the first year
of a two-year session. The following report compiles and summarizes bail bond legislation that SFAA is tracking for 2013.

State        Bill(s)     Recent History       SFAA Summary
AL           HB 143      03/20/2013           HB 143/SB 361 would revise the existing law pertaining to court fees for bail bonds.
                                                                                                                                          Document 324-4




                         HB 143 is            The bill provides that the fee must be collected in 30 days from the execution of the
                         pending the third    bail bond. Current law allows for two business days. The bill would authorize a $500
                         reading in the       maximum contempt of court fine for failing to pay the fee. The bill would revise the
                         House.               law determining the fee based on multiple charges arising out of one incident to define
                                              one incident as acts that took place on the same date and at the same location and time.
                         04/10/2013           The bill provides for the suspension of the license until the fee is paid. The bill would
                         SB 361 has           repeal the existing sunset date for the bail bond fee.
                                                                                                                                          Filed 10/26/22




                         passed the Senate.
AL           HB 319      03/12/2013           SB 319 would establish education and continuing education requirements for
                         SB 319 has been      professional bail bondsmen. The bill provides that failure to comply with the proposed
                         introduced.          education requirements would result in a suspension of the authority to act as a
                                              bondsman.
                                                                                                                                          Page 136 of 305




                                                             SFAA 000521
AL   HB 346   02/26/2013        HB 346 would require a professional bail bond company to obtain recertification
              HB 346 has been   biannually instead of annually as provided under current law. The bill also would
              introduced.       eliminate a $25,000 surety bond that may be posted in connection with its authorization
                                to provide bonds. Instead, the bill would require an escrow agreement with a minimum
                                amount of $1 million. The bill establishes a maximum amount of an appearance bond
                                that a company could post per defendant at the amount of the escrow agreement filed
                                with the court and maximum aggregate liability at three times the escrow agreement.
                                The bill would require the company to obtain from the circuit clerk a certified list of its
                                outstanding appearance bonds and their amounts and a copy of the original escrow
                                agreement in connection with recertification. The bill would require an affidavit
                                                                                                                              Case 4:19-cv-00717-JST




                                certifying proof of all the documents required for recertification. The bill also would
                                require employees of the company to be fingerprinted to check their criminal record.
                                The bill prohibits any person charged with certain crimes from having a financial
                                interest in the company. The bill also would establish minimum education and exam
                                requirements for the company’s employees, and would require such information to be
                                included in the biannual report. The bill would require a $500 fee for each
                                recertification. The bill provides for civil penalties in connection with providing false
                                information for recertification.
                                                                                                                              Document 324-4




AL   HB 347   02/26/2013        HB 347 would authorize a circuit court to revoke or suspend the authority of a
              HB 347 has been   professional surety company or professional bail company if it is determined to the
              introduced.       reasonable satisfaction of the judge that any person, including an employee, agent, or
                                other person with a financial interest in a professional surety company or a professional
                                bail company in any jurisdiction in the State, committed certain offenses outlined in the
                                bill. The bill also would require a professional bail company to provide written
                                notification to the presiding judge and the district attorney's office in the counties
                                                                                                                              Filed 10/26/22




                                where the company is certified, in writing, if any person, including an employee, agent,
                                or other person with a financial interest in the company is arrested for a felony or a
                                crime involving moral turpitude in any state within 72 hours of the arrest. Failure to
                                provide such notification would result in an automatic suspension of the bail
                                company’s certification.
                                                                                                                              Page 137 of 305




                                               SFAA 000522
AL   HB 356    02/28/2013         HB 356 would establish education and continuing education requirements for
               HB 356 has been    professional bail bondsmen. The bill provides that failure to comply with the proposed
               introduced.        education requirements would result in a suspension of the authority to act as a
                                  bondsman. HB 356 is identical to HB 319.
AR   HB 1829   04/15/2013         HB 1829 would revise certain existing bail bond fee collection procedures to provide
               HB 1829 has been   that the sheriff, keeper of a jail, or other persons permitted by law to take bonds to
               sent to the        collect such fees in addition to professional agents. The fees are payable to and
               Governor.          deposited with the Bail Bondsman Board Fund rather than the State Insurance
                                  Department.
AR   HB 1841   04/15/2013         HB 1841 would address the fees charged in connection with bail bonds. The bill
                                                                                                                               Case 4:19-cv-00717-JST




               HB 1841 has been   would require each professional bail bond company, sheriff, keeper of the jail, or
               sent to the        person authorized to take bail to charge and collect an additional $4 fee per bail bond.
               Governor.          The fees would be for the Bail Bond Recovery Fund, which the bill would create for
                                  use for professional bail bond forfeitures. The bill also would require each
                                  professional bail bond company, sheriff, keeper of the jail, or person authorized to take
                                  bail to charge a $6 fee per bail bond for the Arkansas Counties Alcohol and Drug
                                  Abuse and Crime Prevention Program Fund. The bill also would revise certain
                                  existing bail bond fees to provide that the sheriff or keeper of a jail shall collect them
                                                                                                                               Document 324-4




                                  in addition to professional agents.
AZ   SCR 1001 01/17/2013          Senate Concurrent Resolution 1001 would eliminate the death penalty in Arizona. The
              SCR 1001 is to      resolution also would delete capital offenses from the types of crimes ineligible for
              the second          bail.
              reading in the
              Senate.
                                                                                                                               Filed 10/26/22




AZ   HB 2459 04/09/2013           HB 2459 would revise the current law concerning justices of the peace. The bill would
              HB 2459 is          eliminate a provision granting the justice of the peace the authority to designate a
              pending review in   deputy to set the amount of bail under the bail schedule and collect it or accept bail
              the majority and    bonds for and on behalf of the court when the court is not open. The bill would outline
              minority caucuses   the requirements for the justice of the peace regarding the setting of a bail schedule and
              of the Senate       the collection of bail. The law addresses situations when a justice of the peace may
              following passage   perform duties for another precinct other than his or her own precinct. The law permits
              from committee.     the justice of the peace to perform certain duties for that other precinct without being
                                                                                                                               Page 138 of 305




              The bill passed     present, with certain exceptions. One of those exceptions was presiding over pretrial



                                                 SFAA 000523
               the House on         proceedings. The bill would eliminate this exception.
               03/04/2013.
AZ   HB 2462   03/28/2013         HB 2462 adds “[soliciting] bail bond business inside a court building or immediately
               HB 2462 has been   around or near the entrance of a county or city jail” to list of what is considered
               enacted.           loitering under the law. For the purposes of loitering, the bill would define "solicit" as
                                  “handing out business cards or any printed material or displaying any electronic
                                  devices related to bail bonds, verbally asking a person if the person needs a bail bond
                                  and recruiting another person to solicit bail bond business.” The offense does not
                                  extend to the distribution of the list of persons authorized to provide bail bonds by the
                                  sheriff to persons charged with a bailable offense. Further, the new law requires the
                                                                                                                               Case 4:19-cv-00717-JST




                                  list of approved bail agents to be updated monthly. Prior law required annual updates.
                                  Further, the list must be circulated monthly instead of quarterly as provided under
                                  existing law. The new law authorizes the sheriff or jail keeper to accept secured
                                  appearance bonds from an employee of a bail bond agent if the employee has proper
                                  identification. The new law provides that if bail is authorized by the court, the sheriff
                                  or jail keeper must accept secured appearance bonds, money orders, cashier's checks or
                                  cash directly for releasing person in his or her custody. The sheriff or jail keeper must
                                  be open 24 hours a day, every day, including holidays to accept a secured appearance
                                                                                                                               Document 324-4




                                  bond.
AZ   HB 2553   04/02/2013         HB 2553 would require a signed contract and fee agreement before the agent posts the
               HB 2553 is         bond. The bill would add fees for recovering the defendant and renewal fees to the
               pending review by categories for which the bail agent can charge. The bill also provides that bail bond
               the majority and   agent would not be required to refund premiums or fees associated with the bail
               minority caucus    transaction if the surety places the defendant back in custody for violations of the terms
                                                                                                                               Filed 10/26/22




               of the Senate. The and conditions of release set by the court. The bill would change the time period a bail
               bill passed the    agent is required to maintain records of transactions from three years from the
               House on           completion of the transaction to one year from exoneration of the bond. The bill would
               03/04/2013.        strike a provision requiring the bail bond agent to pay the costs incurred for an
                                  examination of his or her records by the State. The bill also strikes a provision
                                  pertaining to the residency of the bail bond agent.
                                                                                                                               Page 139 of 305




                                                   SFAA 000524
CA   AB 773    03/04/2013        AB 773 would revise the bail agent licensing law to permit a limited liability company
               AB 773 has been   (LLC) to be licensed as a bail agency. The bill would exempt a corporation or LLC
               introduced.       that is an admitted surety insurer or is a subsidiary of an admitted surety insurer from a
                                 requirement that 100% of the shares of the corporation or membership interest in the
                                 LLC be held by licensed bail agents and from a requirement that members of the LLC
                                 and all shareholders, officers, and directors of the corporation be licensed as bail
                                 agents. Sale of membership or other interest in an LLC licensed as a bail agency would
                                 require approval from the Department of Insurance as provided under existing law for
                                 corporations selling or transferring stock or other interests.
CA   AB 1118   04/11/2013        AB 1118 would revise the existing law on the countywide bail schedules that courts
                                                                                                                              Case 4:19-cv-00717-JST




               AB 1118 is        currently are required to establish by law. The bill provides that a court that adopts the
               pending in the    countywide bail and penalty schedule shall consider the statewide bail schedule
               Assembly          prepared according to the proposed procedures. The bill would direct the Judicial
               Committee on      Council to prepare, adopt and maintain a statewide bail schedule for all bailable felony
               Public Safety.    offenses and for all misdemeanor and infraction offenses, except for Vehicle Code
                                 infractions. The bill would outline the procedures for how to develop the schedule,
                                 which would be based on the seriousness of the offense, and additional factors set forth
                                 in the law pertaining to certain crimes. The bill would require a court to submit a
                                                                                                                              Document 324-4




                                 report on how its bail schedule differs from the statewide bail schedule if it adopts a
                                 countywide schedule.
CA   AB 1293   04/02/2013        AB 1293 would authorize the court to require payment of a $65 administrative fee for
               AB 1293 is        the reinstatement of a bail bond to cover the costs of the process. As introduced, the
               pending in the    bill did not impact bail bonds, but was substituted to include this provision.
               Assembly
                                                                                                                              Filed 10/26/22




               Judiciary
               Committee.
CO   HB 1156   04/05/2013        HB 1156 would establish a pre-trial diversion program in which the prosecution of a
               HB 1156 passed    defendant would be suspended for a period of up to two years for the purposes of
               the House.        rehabilitating the defendant. Existing law already provides for the exoneration of a bail
                                 bond for a deferred prosecution and a deferred judgment. The bill would provide for
                                 the exoneration of the bond for a defendant participating in a diversion program. The
                                 bill has been amended to exclude persons charged with domestic violence from
                                                                                                                              Page 140 of 305




                                 eligibility for the program.



                                                SFAA 000525
CO   HB 1236    03/21/2013          HB 1236 would rewrite the current law for bail bonds to provide for the use of
                HB 1236 passed      evidence-based decisions when setting bail, as well as to provide for decisions based
                the House.          on factors pertaining to individual defendants. The bill would direct the court to use
                                    such practices through the use of an empirically developed risk assessment instrument
                                    that classifies a defendant based on the predicted level of risk of pretrial failure. Of
                                    note, the bill also rewrites the definition of bail. Current law defines bail as the
                                    “amount of money set by the court which is required to be obligated by a bond for the
                                    release of a person in custody to assure that he will appear before the court in which his
                                    appearance is required or that he will comply with other conditions set forth in a
                                    bond.”
                                                                                                                                 Case 4:19-cv-00717-JST




                                    As amended, the bill would define bail as a “security, which may include a bond with
                                    or without monetary conditions, required by a court for the release of a person in
                                    custody set to provide reasonable assurance of public safety and court appearance.”
                                    The amended bill also would define bond as a “bail bond which is an undertaking, with
                                    or without sureties or security, entered into by a person in custody by which he binds
                                    himself to comply with the conditions of the undertaking and in default of such
                                    compliance to pay the amount of bail or other sum fixed, if any, in the bond.” The
                                                                                                                                 Document 324-4




                                    amendment removed a definition for evidence-based decision-making. The amended
                                    bill also provides for further considerations in setting the amount of a bail bond with
                                    regard to the factors that must be considered, as well as the use of any bail schedules.
CO   HB 1242    03/26/201           HB 1242 would repeal the current law, which states that a person who commits the
                HB 1242 is to the   offense of violation of bail bond conditions is not eligible for probation or suspended
                second reading in   sentence and is subject to mandatory imprisonment for a prescribed term.
                the House
                                                                                                                                 Filed 10/26/22




                following passage
                from committee.
CO   HB 1264/   03/26/2013          HB 1264/HB 1270 would repeal the death penalty. With regard to capital offenses, the
     HB 1270    HB 1264 and HB      bill would revise them to become a class 1 felony. The bill would make conforming
                1270 have been      amendments to the existing law concerning bailable offenses and bail after a
                been held in        conviction.
                committee.
                                                                                                                                 Page 141 of 305




                                                   SFAA 000526
CT   SB 825   03/18/2013          SB 825 would require that a professional bondsman be at least 21 years old and has
              SB 825 has been     obtained a high school diploma (or equivalent). The bill adds an additional basis on
              reported from the   which a license can be suspended – violation of a restraining or protective order. The
              Legislative         bill also would require the Commissioner of Emergency Services and Public Protection
              Commissioner’s      to approve any badge that a bail enforcement agent could wear, carry, or display. The
              Office.             bill also would revise the firearms safety requirements for bail bondsmen, bail agents,
                                  and bail enforcement agents to require an annual safety refresher course. The bill also
                                  would establish procedures for becoming a firearms safety instructor and for starting a
                                  school for such courses in the criminal justice system.
CT   SB 871   04/17/2013          SB 871 would permit probation officers to conduct interviews and set the amount of
                                                                                                                            Case 4:19-cv-00717-JST




              SB 871 has been     bail in the course of serving arrest warrants for violation of probation under the same
              filed with the      terms that a police officer can when making an arrest.
              Legislative
              Commissioner’s
              Office.
CT   SB 825   04/19/2013        SB 825 would establish age and education requirements for licensure as a professional
              SB 825 is on the  bondsmen or a bail enforcement agent. The bill also would require the Commissioner
              House calendar.   of Emergency Services and Public Protection to approve any badge that a bail
                                                                                                                            Document 324-4




                                enforcement agent could wear, carry, or display. The bill also would revise the
                                firearms safety requirements for bail bondsmen, bail agents, and bail enforcement
                                agents to require an annual safety refresher course. The bill also would establish
                                procedures for becoming a firearms safety instructor and for starting a school for such
                                courses in the criminal justice system.
CT   SB 746   02/04/2013        SB 746 would require the court to vacate an order to forfeit a bail bond and to release a
                                                                                                                            Filed 10/26/22




              SB 746 is pending professional bondsman, surety bail bond agent and insurer from the bail bond, if the
              in committee in   principal on the bail bond is detained or incarcerated in another state, territory or
              the House.        country; the State's attorney seeks extradition of the principal; and the bondsman, and
                                the agent or insurer agrees to reimburse the extradition costs.
                                                                                                                            Page 142 of 305




                                                 SFAA 000527
CT   SB 1122   04/12/2013         The law provides three conditions under which a court shall vacate an order forfeiting a
               SB 1122 passed     bail bond and release a professional bondsman, a surety bail bond agent, and the
               the Joint          insurer. The bill amends the third condition to include cases when the state's attorney
               Committee on       prosecuting the case seeks extradition of the principal, and the professional bondsman,
               Judiciary.         surety bail bond agent or insurer provides proof to the court that they have paid the
                                  costs that would be incurred in extraditing the principal to the State.
CT   HB 5633   02/08/2013         HB 5633 would allow a surety bail bond agent to request the Insurance Commissioner
               HB 5633 is         to maintain the agent's license in an inactive status for up to two years after its
               pending in         expiration date and establish procedures for the reinstatement of the license. The bill
               committee in the   would exempt surety bail bond agents from the examination and examination fee
                                                                                                                               Case 4:19-cv-00717-JST




               House.             requirement if the agent demonstrates to the Insurance Commissioner that he or she has
                                  not executed any bail bonds in a given year.
CT   HB 5116   01/09/2013         HB 5116 is a placeholder and does not provide the actual provisions of the
               HB 5116 has been   amendments at this time. The bill provides a general description of the intent of the
               introduced.        bill to amend the existing law to increase the oversight authority of the Insurance
                                  Department and the Department of Emergency Services and Public Protection to
                                  regulate surety bail bond agents and professional bondsmen. The bill’s description
                                  also notes that any bond set by a court as a condition of release for a person charged
                                                                                                                               Document 324-4




                                  with a family violence offense would be paid in full. Promissory notes would not be
                                  accepted as an assurance in this instance.
CT   HB 6689   03/28/2013         HB 6689 would release a surety from a bail bond in a criminal case if the defendant
               HB 6689 has been   absconds, and when the bond was executed, the State's attorney prosecuting the case
               introduced.        was in possession of information about known aliases used by the defendant or
                                  information that demonstrated an increased risk that the defendant will abscond or if
                                                                                                                               Filed 10/26/22




                                  there was any administrative error in processing the defendant’s arrest that materially
                                  affected his or her release or the bond amount.

                                  The bill would authorize the court to extend the stay of execution of a bond forfeiture if
                                  a defendant failed to appear.

                                  The bill provides that if a defendant whose bond has been forfeited returns to court
                                  voluntarily more than five business days after the bond was ordered forfeited, the court
                                                                                                                               Page 143 of 305




                                  would have to vacate any re-arrest warrant or capias issued for the defendant. The



                                                 SFAA 000528
                                bond would be automatically terminated, and the surety would be released.

                                Among the conditions by which a court would vacate a bond forfeiture, the bill would
                                add when the defendant is taken into custody by a federal agency, or if he or she has
                                been removed by U.S. Immigration and Customs Enforcement. The bill would strike a
                                provision conditioning this order on the state's attorney prosecuting the case declining
                                to seek extradition of the defendant.

                                The bill would repeal certain provisions with regard to promissory notes given in
                                connection with premium financing agreements for the bail bond.
                                                                                                                              Case 4:19-cv-00717-JST




DE   SB 36   03/28/2013         SB 36 would amend Delaware’s constitution regarding the right to bail. Currently, the
             SB 36 has been     law provides that all prisoners are bailable by sufficient sureties, except for capital
             introduced.        offenses “when the proof is positive or the presumption great.” The bill provides that
                                bail would not be granted to prisoners charged with certain felony offenses or in
                                circumstances when “no condition or combination of conditions other than detention
                                will reasonably assure the safety of any person or the community.”
DE   HB 39   03/28/2013         HB 39 would revise certain provisions pertaining to bail bonds. The bill would
             HB 39 passed the   establish provisions for providing cash bail and would set forth procedures for
                                                                                                                              Document 324-4




             House.             determining the sufficiency of the source of the cash bail. Further, the bill would
                                require the court to set conditions on the bail that the defendant will return to the court
                                at any time upon notice and submit to the orders and processes of the court and prohibit
                                the defendant from committing additional criminal offenses. The court also would
                                have to consider the safety of the victim and the community, as well as the defendant’s
                                criminal history in addition to other existing required factors when setting the amount
                                                                                                                              Filed 10/26/22




                                and the type of bail. The bill also would create a presumption in favor of cash bail
                                whenever a person on probation or pre-trial release is alleged to have committed a
                                violent felony. The bill also would revise procedures on the revocation of bail. Under
                                current law, if a defendant’s bail is revoked, he or she is held without bail until the
                                charges are dismissed or withdrawn, the defendant is found not guilty, or a convicted
                                person is sentenced. The bill provides instead that the bail for the original charges
                                could be doubled.
                                                                                                                              Page 144 of 305




                                               SFAA 000529
FL   HB 311/    04/12/2013          HB 311/SB 288 would require the withholding of costs for prosecution and for
     SB 288     HB 311 passed       representation from a cash bond not posted by a bail bond agent.
                the House.

                04/11/2013
                SB 288 is pending
                in the Senate
                Appropriations
                Committee.
FL   SB 1114/   04/15/2013          SB 1114/HB 7031 would add a new restriction to the current law for determining
                                                                                                                               Case 4:19-cv-00717-JST




     HB 7031    SB 1114 passed      whether a defendant may be granted bail. The bill provides that the court, in
                the Senate          determining whether the release a defendant and under what conditions of bail, must
                Judiciary           consider whether the defendant is required to register as a sexual offender or predator.
                Committee.          Further such defendants would be ineligible for bail or a surety bond until the first
                                    appearance on the case to ensure the participation of the prosecutor and the protection
                04/12/2013          of the public.
                HB 7031 has been
                placed on the
                                                                                                                               Document 324-4




                House calendar.
FL   HB 7017    04/04/2013          HB 7017 strikes a provision that if no date or an impossible date is provided in the
                HB 7017 has been    bond for the defendant’s appearance, the defendant must appear on the first day of the
                sent to the         next term of court that will commence more than three days after the undertaking is
                Governor.           given.
                                                                                                                               Filed 10/26/22




                                    HB 7017 was substituted for an identical Senate bill, SB 746.
GA   HB 146     04/01/2013          HB 146 would revise the existing procedures concerning “good behavior bonds”
                HB 146 has been     required of certain persons who are deemed to be dangerous and the current procedures
                sent to the         for arrest warrants for such persons. The bill also would revise the term of the bond.
                Governor.           Current law requires the bond to secure a person’s behavior until the next term of the
                                    superior court of the county or for six months, whichever is greater. The bill would
                                    provide that the bond must be in place for six months. The law permits the bond to be
                                    extended for a period of 60 days. Instead, the bill would permit the bond term to be
                                                                                                                               Page 145 of 305




                                    extended for six months.



                                                   SFAA 000530
GA   SB 225    04/08/2013          SB 225 would reduce from 15 days to ten days the period given to place a detainer or
               SB 225 has been     hold on a defendant to prevent forfeiture on the bond in certain cases where a
               sent to the         defendant is prevented from appearing in court. Following this period, the surety is
               Governor.           relieved of the liability for the bond. The bill also would clarify that the period begins
                                   from the date of the surety’s request. The bill provides that the bond could not be
                                   forfeited due to the defendant undergoing treatment. The bill would strike provisions
                                   pertaining to the remission of the bond in cases where the surety locates the defendant.
                                   Remission is available if the defendant is “produced or otherwise appears before the
                                   court that has jurisdiction of the bond.” The bill provides that in cases where the
                                   defendant is outside of the State and the court does not seek extradition, 5% of the
                                                                                                                                Case 4:19-cv-00717-JST




                                   bond could be remitted to satisfy the judgment.
HI   SB 873/   04/15/2013          SB 873 provides that all money deposited in any criminal proceeding before any court
     SB 415/   SB 873 has been     for bail or a bail bond that has not been declared forfeited would have to be applied
     HB 234    sent to a           toward payment of any restitution, fines, or fees ordered by the court in the case for the
               conference          restitution of the victim or victims of the crime.
               committee
               following passage   SB 415 has not moved since it was introduced.
               from the House.
                                                                                                                                Document 324-4




               02/08/2013
               HB 234 passed
               the second
               reading in the
               House.
                                                                                                                                Filed 10/26/22




IA   HB 112    04/08/2013          HB 112 would extend the time period for the surety to recover the defendant and be
               HB 112 passed       relieved of the forfeiture from 60 to 90 days.
               the Senate.
ID   SB 1016   03/07/2013          SB 1016 strikes a provision from the bail agent licensing laws that provides that filing
               SB 1016 has been    a bail agent’s license with the clerk of the district court is deemed proof that the agent
               enacted.            is licensed under the law. The new law becomes effective July 1, 2013.
                                                                                                                                Page 146 of 305




                                                  SFAA 000531
ID   SB 1017   03/07/2013          SB 1017 repeals the existing law pertaining to proceedings in the magistrate's division
               SB 1017 has been    of the district court for bail and criminal appeals, including provisions concerning bail
               enacted.            during the time of the appeal, undertakings for the appearance of witnesses, and
                                   judgments against the surety for court costs in a case where a defendant is convicted.
                                   The new law becomes effective on July 1, 2013.
IL   HB 130    04/19/2013          HB 130 provides that when a first-time offender is charged with a non-violent offense,
               HB 130 is to the    the court shall order him or her released on his or her own recognizance. A cash bond
               third reading in    could be required if the court determines it is necessary for securing the defendant’s
               the House.          appearance. The release could be conditioned on requiring monitoring through
                                   electronic surveillance as provided under current law.
                                                                                                                               Case 4:19-cv-00717-JST




IL   HB 1243   03/20/2013          HB 1243 would enact the Illinois Parentage Act of 2013. The bill provides that when
               HB 1243 is to the   the obligor of a temporary order for child support in a parentage determination case or
               second reading in   an obligor of a support order in a paternity case is arrested for failing to report new
               the House.          employment as outlined in the bill, the bond would have to be in the amount of the
                                   unpaid support that should have been paid during the period of unreported
                                   employment.
IN   SB 6      03/28/2013          SB 6 would repeal the law concerning the enforcement of a support order following the
               SB 6 has been       determination of paternity. Current law authorizes the Commissioner of Insurance to
                                                                                                                               Document 324-4




               sent to a           suspend, refuse to renew, or not issue a new license for a bail agent, recovery agent,
               conference          insurance producer, and surplus lines producers if a person subject to a support order
               committee           commits an intentional violation of the order’s requirements.
               following passage
               from the House.
IN   HB 1484   01/28/2013          HB 1484 would permit a defendant to combine a deposit of cash or securities with a
                                                                                                                               Filed 10/26/22




               HB 1484 has not     secured bond so long as the combined amount equals 100% of the total amount of the
               moved since it      bail.
               was introduced.
IN   SB 55     01/07/2013          SB 55 would eliminate the use of grand juries in Indiana. The bill would delete all
               SB 55 has not       references indictments by a grand jury in existing law, including the provisions
               moved since it      pertaining to bail bond requirements as outlined at Indiana Code §35-33-8-3.2.
               was introduced.
                                                                                                                               Page 147 of 305




                                                  SFAA 000532
IN   SB 425   01/10/2013        SB 425 would revise the term of bail bonds as outlined in current law, which provides
              SB 425 has been   that an undertaking written after August 31, 1985, shall expire 36 months after it is
              introduced.       posted for the release of a defendant from custody. This does not apply to cases in
                                which a bond has been declared to be forfeited and the surety and bail agent have been
                                notified according to the law’s requirements. The bill would provide that the bond
                                would not expire if the defendant remained a fugitive after the 36-month period and it
                                would delete the 1985 date so that the law applies to any bond. The bill also would
                                revise the current recognizance form to reduce from 365 days to 180 days the period in
                                which the surety has to produce the defendant and pay all required costs and late
                                surrender fees following notice being sent to the surety. Under current law, after the
                                                                                                                              Case 4:19-cv-00717-JST




                                period expires, the court shall declare the bond forfeited. The bill would re-write the
                                incremental schedule under which the late fees are assessed over the course of 365
                                days. Instead, the bill provides that if the surety does not comply within 180 days, the
                                late fee would be assessed against the bail agent or the surety in an amount equal to
                                80% of the face value of the bond. In this case, the bond would be declared forfeited
                                and judgment entered in an amount equal to20% of the face value of the bond without
                                pleadings and without change of judge or change of venue. The bill also provides for
                                the use of electronic mail for sending notices. Of note, a portion of the fees collected
                                                                                                                              Document 324-4




                                from forfeited bonds would be placed in a fund for an electronic monitoring program
                                that the bill would create.
IN   SB 581   01/15/2013        SB 581 would repeal the existing laws in Indiana concerning penalties on unauthorized
              SB 581 has not    aliens and E-Verify, including the bail requirements applicable to unauthorized foreign
              moved since it    nationals. Current law requires a cash bond, surety bond, or real estate as a form of
              was introduced.   bail. The law also prohibits the forfeiture of the bond when such a defendant is taken
                                into custody or deported by a federal agency, or if the defendant is arrested for a
                                                                                                                              Filed 10/26/22




                                different crime. If the bill is enacted, these provisions would be eliminated entirely.
KS   SB 16    04/08/2013        SB 16 would establish a law addressing the crimes of racketeering and corrupt
              SB 16 has been    organizations in Kansas. The bill provides that for persons arrested and charged with
              sent to the       such crimes, bail would have to be for at least $50,000. If the court determined that the
              Governor.         defendant was not likely to re-offend, the bill would permit the court to direct the
                                defendant to participate in an intensive pretrial supervision program, if one is available,
                                and if the defendant agrees to comply with its requirements.
                                                                                                                              Page 148 of 305




                                               SFAA 000533
KS   SB 26     04/01/2013          SB 26 would add bail bond insurance to the types of insurance for which an insurance
               SB 26 passed the    agent may receive a license. The bill lists bail bond insurance as a “limited line
               House Insurance     insurance that provides surety for a monetary guarantee that an individual released
               Committee, but      from jail will be present in court at an appointed time.” Of note, the bill would exempt
               has been stricken   licensed insurance agents who only have a bail bond qualification from the existing
               from the House      law’s requirement to obtain continuing education credits.
               Calendar.
KS   SB 140    02/07/2013          SB 140 would revise the current law pertaining to appearance bonds with respect to the
               SB 140 has been     defendant’s immigration status. The bill provides that persons charged with a crime
               introduced.         that are not a citizen or national of the United States must have their immigration status
                                                                                                                                  Case 4:19-cv-00717-JST




                                   shall be verified with the federal government. For determining whether to grant or
                                   issue appearance bonds, if the person is verified by the federal government as an alien
                                   unlawfully present in the United States, there would be a rebuttable presumption that
                                   the person is at risk of flight.

KS   HB 2256   02/08/2013          HB 2256 provides that regardless of the method securing the bond, it would have to be
               HB 2256 was         the same amount, and a deposit of cash in less than the full amount of the bond shall
               introduced.         not be permitted. The bill would delete language permitting a responsible individual
                                                                                                                                  Document 324-4




                                   residing within the State to provide a bond. Instead, the bill would require an
                                   appearance bond to be provided by a “sufficient, solvent surety.” Current law provides
                                   that if the forfeiture of a bond has become final, the court shall direct the application of
                                   the funds or that an action to be instituted for the collection from the sureties on the
                                   bond or from the accused person. Instead, the bill provides that where the bond
                                   forfeiture has not been set aside, the court shall direct an action to be instituted for
                                   collection of the funds from the obligors on the bond.
                                                                                                                                  Filed 10/26/22




KS   HB 2070   03/01/2013          HB 2070 amends the conditions on which defendants may be released on their own
               HB 2070 passed      recognizance. The bill also provides that an out-of-state surety or bounty hunter
               the House.          intending to apprehend any person in Kansas must enter into a contract with an
                                   individual authorized by a Kansas court to act as a surety or surety agent before
                                   attempting the apprehension. Any prior felony conviction would disqualify a person
                                   from being a surety or agent of the surety in Kansas. (Current law terminates the
                                   disqualification after ten years.)
                                                                                                                                  Page 149 of 305




                                                  SFAA 000534
KY   HB 362   03/07/2013          HB 362 would rewrite the current military justice laws in Kentucky. The bill would
              HB 362 is to the    eliminate certain procedures pertaining to the arrest of persons charged with crimes
              second reading in   under this law, including provisions allowing the defendant to be admitted to bail.
              the Senate. The
              bill passed the
              House on
              02/26/2013.
KY   SB 35    01/10/2013          SB 35 would require defendants who are eligible but do not execute a bond under the
              SB 35 has not       existing law’s uniform schedule to appear before a judge within 12 hours in order to be
              moved since it      considered for release on personal recognizance.
                                                                                                                              Case 4:19-cv-00717-JST




              was introduced.
KY   SB 45/   02/05/2013          SB 45/HB 48 would abolish the death penalty in Kentucky. The bill would instead
     HB 48    SB 45 is pending    provide for life imprisonment without parole for those inmates currently sentenced to
              in the Senate       death. The bill also would eliminate the term “capital offense.” Instead, the bill would
              Judiciary           provide for a Class A felony. The bill would amend the current criminal code to reflect
              Committee.          these changes with respect to sentencing requirements.

              01/08/2013
                                                                                                                              Document 324-4




              HB 48 has not
              moved since it
              was introduced.
LA   SB 179   04/08/2013          SB 179 would rewrite the law concerning bail bonds under Louisiana’s criminal
              SB 179 has been     procedure law in its entirety. The bill would revise certain definitions, including the
              introduced.         definition of bail which currently is defined as the security given by a person to assure
                                                                                                                              Filed 10/26/22




                                  his appearance before the proper court whenever required. The bill provides that bail
                                  would be defined as an order of the court establishing the amount, type, and conditions
                                  of bond for the release of the defendant from jail. The bill also removes the current
                                  definition of surety under the criminal procedure law. The bill would define bail bond
                                  as a contract under private signature between the defendant and his sureties as solidary
                                  obligors and the State as obligee.

                                  Under the bill, a defendant is no longer automatically entitled to furnish an unsecured
                                                                                                                              Page 150 of 305




                                  personal surety bond or recognizance bond, among the different types of bail (cash,



                                                 SFAA 000535
commercial surety bond, secured personal bond, unsecured personal bond). An
unsecured personal surety bond or recognizance bond may not be furnished in
connection with certain types of offenses, and may be furnished at the discretion of the
court for other offenses. The bill provides that the security for a secured personal bond
must be a promissory note.

The bill would prohibit certain court officials from acting as a personal surety. The bill
provides that defects in the sufficiency or qualifications of the surety would not be a
defense to an action to forfeit or revoke a bail bond or actions to enforce a judgment.
The bill would repeal a provision that provides that when bail has been given in
                                                                                             Case 4:19-cv-00717-JST




compliance with the law, the money, check, bond, or money order is not subject to
garnishment, attachment, or seizure under any legal process. Further, the defendant
could specify a combination of the types of bonds permitted for a single charge. The
bill would provide for the use of bail schedules as to the type and form of bail, which
current law prohibits. The bill would revise the procedures for bail forfeitures and the
required notices and hearing procedures, and the bill would permit the substitution of
alternative forms of security if a bail bond is forfeited. The bill would revise the
procedures for a surety to surrender a defendant.
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The bill provides that the obligation of the bond would run from the execution of the
bond contract. The obligation would terminate by written order of conviction,
acquittal, modification of bail, or revocation of the bond. The bill also provides that
the obligation terminates upon either dismissal of the charge by the prosecution, unless
the defendant is charged with the same crime or a similar crime within three days of
the dismissal, or surrender of the defendant. The bill would eliminate procedures for
                                                                                             Filed 10/26/22




bail hearings for certain sex offenders. The bill also would repeal a provision that
defendant is remanded to jail to await sentence unless he or she is allowed to remain
free on a bail bond posted prior to or after conviction that meets the law’s
requirements.

The bill deletes the provision that permitted the substitution of security at any time
before the breach of bail. The bill deletes the provision by which a convicted
                                                                                             Page 151 of 305




defendant could remain free and await sentencing based on the bond furnished pre-



               SFAA 000536
                                 trial.

                                 The bill amends provisions regarding the conditions of bail and the factors to be
                                 considered in the establishment of bail in the context of certain offenses. For example,
                                 the court is to require any person indicted for the crime of aggravated rape to wear an
                                 electronic monitoring device.
LA   HB 266    04/09/2013        HB 266 would authorize the clerk of court to use of e-mail to provide notice of
               HB 266 has been   judgment of bond forfeiture. The bill provides that the clerk of court only would be
               introduced.       permitted to use e-mail for such notices if the defendant, the personal surety, the agent,
                                 or the bondsman have agreed to receive notice by e-mail, and the clerk has a valid
                                                                                                                               Case 4:19-cv-00717-JST




                                 email address that these persons have provided. All other requirements for the clerk
                                 pertaining to this notice still would apply.
LA   HB 367    04/01/2013        HB 367 would establish a pretrial release services program, which could be used to
               HB 367 has been   assist in determining the amount of bail required.
               introduced.
MD   SB 505/   04/01/2013        SB 505/HB 777 provides that if an order setting cash bail or a cash bond specifies that
     HB 777    SB 505 and HB     the defendant only may post it, the cash bail or cash bond nevertheless can be posted
               777 have been     by the defendant or by a private surety that holds a certificate of authority in the State.
                                                                                                                               Document 324-4




               sent to the       An exception is bail or cash bond for a failure to pay support under the Family Law
               Governor.         section which can only be posted by the defendant, unless the court orders otherwise.
MI   HB 4083   01/23/2013        HB 4083 would create the Michigan crime stoppers act and provide for the designation
               HB 4083 has not   of crime stoppers organizations by county. Defendants charged with a felony or a
               moved since it    misdemeanor, including an ordinance violation, that is resolved by conviction,
               was introduced.   assignment of the defendant to youthful trainee status, a delayed sentence, or a deferred
                                                                                                                               Filed 10/26/22




                                 entry of judgment of guilt, or in another way that is not an acquittal or unconditional
                                 dismissal, the court shall charge the defendant an assessment that would be used to
                                 fund the designated crime stoppers organization in the county. If the defendant posted
                                 a cash bond or bail deposit in connection with the case, the court shall order the
                                 assessment to be collected out of that bond or deposit.
                                                                                                                               Page 152 of 305




                                                SFAA 000537
MN   HB 744   02/20/2013         HB 744 would impose a fee for the reinstatement of a bail bond in an amount
              HB 744 has been    prescribed by court rule in an amount based on a percentage of the bond fee, but not
              introduced.        less than $100. The bill also would direct the court to impose a minimum penalty as
                                 provided in Rule 702 of Minnesota General Rules of Practice for reinstating the bond.

MO   HB 512   02/07/2013         HB 512 would revise the existing law with respect to persons in possession of less than
              HB 512 has been    35 grams of marijuana, any synthetic cannabinoid and persons using or possessing with
              introduced.        intent to use any marijuana drug paraphernalia. The bill provides that such persons
                                 only would be subject to an appearance order in court and would not be required to
                                 post a bond.
                                                                                                                             Case 4:19-cv-00717-JST




MO   HB 774   03/28/2013         HB 774 repeals certain obsolete laws. The bill would repeal a study provision in the
              HB 774 is out of   law directing the Missouri Department of Insurance, Financial Institutions and
              committee in the   Professional Registration to conduct a study regarding its licensing rules and other
              House.             policies and procedures governing the bail bond industry within the state of Missouri.
                                 The report was due in 2010.
MS   HB 714   03/21/2013         HB 714 revises the bond forfeiture proceedings under current law. If a felony warrant
              HB 714 has been    is issued for nonappearance, it must be put in the NCIC database. If a judgment nisi is
              enacted.           set aside, the new law requires the bail agent to be served notice with a copy of the set
                                                                                                                             Document 324-4




                                 aside judgment via certified mail. The new law provides for the automatic stay of the
                                 execution of a final judgment against a bail bond for a period of 90 days. If the
                                 defendant appears in court voluntarily or in custody prior to the execution of the final
                                 judgment, the court on its own motion will set aside the forfeiture and exonerate the
                                 bond under the new law. The new law becomes effective on July 1, 2013.
MS   HB 749   03/21/2013         HB 749 revises the existing bail agent licensing law to require applicants for a
              HB 749 has been    soliciting bail agent or bail enforcement agent license applying after July 1, 2013, to
                                                                                                                             Filed 10/26/22




              enacted.           successfully complete a limited examination for the restricted lines of business.
MT   HB 233   04/15/2013         HB 233 would expand an existing program concerning sobriety monitoring for
              HB 233 has been    defendants charged with certain second or subsequent offenses by allowing its use as a
              sent to the        bail condition for any defendant charged with a crime that involved the abuse of
              Governor.          alcohol or dangerous drugs as a contributing factor in the commission of the crime.
                                                                                                                             Page 153 of 305




                                                SFAA 000538
MT   SB 400    04/05/2013            SB 400 would establish licensing requirements for bail fugitive recovery agents,
               SB 400 passed the     including educational requirements. The bill also would establish procedures for such
               Senate. The bill is   agents in handling the recovery of a fugitive, including notification requirements for
               pending in the        agents to send certain notices to law enforcement agencies.
               House Business
               and Labor
               Committee.
NC   SB 574    04/02/2013            Under current law, the termination of the obligation under a bail bond occurs upon the
               SB 574 has been       earliest of certain events. SB 574 would add an additional event: 36 months have
               introduced.           passed from the date of release on a bail bond where the defendant is charged with a
                                                                                                                                  Case 4:19-cv-00717-JST




                                     misdemeanor, except for impaired driving offenses. For obligations that terminate in
                                     this instance, the judicial official shall determine if the defendant is again entitled to
                                     release and the conditions for such release.
NV   SB 381    03/20/2013            SB 381 would prohibit the use of public assistance funds for the purchase of a bail
               SB 381 has been       bond. The bill provides that bail agents or their employees shall not knowingly permit
               introduced.           a person to use a public assistance electronic benefit transfer card for such purposes. If
                                     a person attempts to use their card to purchase a bail bond, the bail agent would be
                                     required to report the person to the Division. Bail agents would have to disable any
                                                                                                                                  Document 324-4




                                     point-of-sale terminal or automated teller located at his or her place of business from
                                     accepting such cards. Failure to comply with these requirements would result in the
                                     suspension of the agent’s license. The license could be reinstated upon demonstration
                                     of preventative measures and/or compliance with the requirements of the proposed law.
NH   HB 353    03/14/2013            HB 353 would clarify existing law to provide that the licensing fee requirement
               HB 353 passed         extends to bail recovery agencies. The bill also would revise the firearms training
                                                                                                                                  Filed 10/26/22




               the House.            requirements to require bail enforcement agents to be familiar with rifles if their agents
                                     use such equipment.
NJ   AB 3352   03/21/2013            AB 3352 would add human trafficking to the existing law’s list of crimes with bail
               AB 3352 has been      restrictions.
               sent to the
               Governor.
                                                                                                                                  Page 154 of 305




                                                    SFAA 000539
NJ   ACR 93     01/10/2013         ACR 93 would amend the state Constitution to allow the legislature to forbid bail to
                ACR 93 has not     illegal immigrants charged with certain crimes.
                moved since it
                was introduced.
NJ   ACR 107/   06/07/2012         ACR 107 and 153 would amend the state Constitution to allow courts to deny bail if
     ACR 153    ACR 107 and        the court finds that no combination of bail and other conditions will assure appearance
                ACR 153 are        and protect the public. The Legislature would be authorized to establish terms and
                pending in the     conditions for pretrial release and the denial thereof.
                Assembly.
NJ   AB 474/    01/10/2012         AB 474/SB 560 would add assault and death by auto or vessel to the list of crimes with
                                                                                                                               Case 4:19-cv-00717-JST




     SB 560     AB 474 and SB      bail restrictions.
                560 have not
                moved since they
                were introduced.
NJ   AB 1713    01/10/2012         AB 1713 provides that if a released defendant is charged with a second offense
                AB 1713 has not    involving petty disorderly persons, disorderly persons, a crime of the fourth degree or a
                moved since it     crime of the third degree, there would be a presumption of a 50% cash bail option. For
                was introduced.    a third or subsequent charge for the same categories of offenses, the presumption
                                                                                                                               Document 324-4




                                   would be for 100% cash bond. This seems to be intended to substitute the higher
                                   percentages for a 10% cash option.
NJ   AB 1674/   01/10/2012         AB 1674/SB 733 would make 16 additions to the list of crimes with bail restrictions.
     SB 733     AB 1674 and SB
                733 have not
                moved since they
                                                                                                                               Filed 10/26/22




                were introduced.
NJ   AB 1772/   01/10/2012         AB 1772 and SB 678 would forbid the release of illegal immigrants charged with
     SB 678     AB 1772 and SB     crimes of the first or second degree or previously convicted of two or more crimes that
                678 have not       occurred on separate occasions. The change would take effect upon amendment to the
                moved since they   state Constitution per CR 93.
                were introduced.
                                                                                                                               Page 155 of 305




                                                  SFAA 000540
NJ   AB 2254   02/02/2012          AB 2254 would authorize the establishment of a pretrial release program. Any
               AB 2254 has not     defendant would be eligible except one charged with a crime with bail restrictions or
               moved since it      other first degree offenses.
               was introduced.
NJ   AB 2536   02/21/2012          AB 2536 provides that a bail bond can be forfeited only for failure to appear;
               AB 2536 has not     establishes a schedule for remission of forfeitures if the defendant is recovered, is dead
               moved since it      or is incarcerated within the United States if the surety engaged in monitoring efforts or
               was introduced.     attempted to contact the defendant at least once every three weeks; requires mailing
                                   notice to the surety and agent; if a bench warrant has been issued, authorizes any jail or
                                   law enforcement agent to accept surrender of the defendant from the surety or agent or
                                                                                                                                Case 4:19-cv-00717-JST




                                   their representatives; establishes a $100 filing fee for bonds or recognizances; and
                                   forbids removing the surety or its agents from bail registry if the surety has filed a
                                   motion to vacate a forfeiture and the defendant is in custody in New Jersey or has
                                   entered an order to vacate the forfeiture that is awaiting court’s signature. [This
                                   appears to be the same as 2010 AB 1143, and the remission schedule does not make
                                   sense.]
NJ   AB 3056   06/07/2012          AB 3056 provides that a defendant charged with a “Crime with Bail Restrictions”
               AB 3056 has not     cannot post a secured surety bond but must provide either full cash bail or a lien on real
                                                                                                                                Document 324-4




               moved since it      property.
               was introduced.
NJ   SB 1133   01/23/2012          SB 1133 adds certain weapons offenses to the list of crimes with bail restrictions.
               SB 1133 has not
               moved since it
               was introduced.
                                                                                                                                Filed 10/26/22




NJ   SB 2224   12/17/2013          SB 2224 would add human trafficking to the existing law’s list of crimes with bail
               SB 2224 is to the   restrictions.
               second reading in
               the Senate.
NY   SB 506    01/09/2013          SB 506 would require the Commissioner of Financial Services to conduct a study to
               SB 506 has not      identify problems and concerns regarding the bail bond business and to present his or
               moved since it      her findings to the legislature. The study would seek to identify “necessary
               was introduced.     improvements and clarifications to current regulations and statutes related to the rights
                                                                                                                                Page 156 of 305




                                   of defendants who utilize the bail bond business.”



                                                  SFAA 000541
OK   HB 2167/   04/17/2013          HB 2167/SB 849/HB 1067 revises provisions regarding the licensure of bail bondsmen
     SB 849/    HB 2167 has been    and appointment of agents. The bill amends the conditions under which a bail
     HB 1067    sent to the         bondsman’s license could be revoked, suspended, denied, refused renewal, or censured
                Governor.           to include failing to accept or claim a certified mailing from the Insurance Department.
                                    The bill clarifies that bail bondsmen must give receipts to indemnitors at the time of
                04/11/2013          payment. The bill adds that a surety bondsman’s license application could be denied
                SB 849 has          for submitting false information on the affidavit of no outstanding forfeitures or fines.
                passed the House    The bill would increase the fee required for a bail bondsman to file a power of attorney
                and has been        in each county from $10 to $20, and require the fee to be paid biennially.
                returned to the
                                                                                                                                Case 4:19-cv-00717-JST




                Senate for
                approval of the
                House
                amendments.

                04/04/2013
                HB 1067 has
                passed the House
                                                                                                                                Document 324-4




                Business and
                Commerce
                Committee.
OK   SB 1013    04/03/2013          SB 1013 would establish licensing requirements for enforcers and recovery agencies
                SB 1013 passed      and require them to obtain a $10,000 liability insurance policy or surety bond from an
                the House           insurance company or surety licensed to do business in the State. The bond or policy
                Judiciary           would have to allow persons to recover for actionable injuries, loss, or damage as a
                                                                                                                                Filed 10/26/22




                Committee. The      result of the willful or wrongful acts or omissions of the licensee, and it must protect
                bill passed the     the State, its agents, officers and employees from judgments against the licensee.
                Senate on           Further, the bond or policy would be conditioned upon the faithful and honest conduct
                03/12/2013.         of the principal's business. .
OK   SB 9       02/05/2013          SB 9 would eliminate the ability of a bondsman to register in a county where he or she
                SB 9 is to the      maintains an office but does not reside, and would allow a bondsman to write surety
                second reading in   bonds statewide without the former ten defendants per county limit and without regard
                                                                                                                                Page 157 of 305




                the Senate.         to whether there is a registered bondsman resident in the county.



                                                   SFAA 000542
OK   SB 1037/   03/18/2013          Current law establishes a limit of the number of bond written by a bondsman outside
     SB 329     SB 1037 is to the   his or her county. SB 1037/SB 329 would address how such bonds are counted.
                second reading in
                the House
                following passage
                in the Senate on
                03/06/2013.

                02/04/2013
                SB 329 is to the
                                                                                                                               Case 4:19-cv-00717-JST




                second reading in
                the Senate.
OK   HB 1606    02/06/2013          HB 1606 would increase the licensing fee for a bail bondsman from $250 to $350 and
                HB 1606 is to the   add a penalty for failing to provide notice of changes in legal name, address, or e-mail
                second reading in   address within five days of the change to the violations for which a license can be
                the Senate.         suspended or revoked. A late notice of change requires a $25 fee. The bill would add
                                    penalties for an untimely submission of the monthly reports bail bondsmen must
                                    submit on the bonds they have written and their liabilities in the amount of $50 for
                                                                                                                               Document 324-4




                                    each late report. Bondsmen who have submitted untimely reports three times within a
                                    twelve-month period would be subject to additional civil penalties in an amount
                                    ranging from $250 to $2,500.
OK   HB 1941    04/15/2013          HB 1941 would have eliminated the ability of a bondsman to register in a county
                The Governor has    where he or she maintains an office and would allow a bondsman to write surety bonds
                vetoed this bill.   statewide without the ten defendants per county limit and without regard to whether
                                                                                                                               Filed 10/26/22




                                    there is a registered bondsman resident in the county.
PA   HB 601     02/08/2013          HB 601 would add sexual abuse of a child to capital crimes as crimes exempted from
                HB 601 has been     the requirement of bail by sufficient sureties.
                introduced.
PA   SB 149     01/15/2013          SB 149 would establish licensing requirements for bail bond recovery agents.
                SB 149 has not
                moved since it
                                                                                                                               Page 158 of 305




                was introduced.




                                                   SFAA 000543
SC   HB 3135   01/08/2013          HB 3135 would establish a new licensing law for professional bondsmen. Current law
               HB 3135 has not     regulates professional bondsmen and surety bondsmen under South Carolina’s
               moved since it      Insurance Code. The bill would regulate professional bondsmen under the Department
               was introduced.     of Labor.
SC   HB 3137   01/08/2013          HB 3137 would permit a bail bondsman or runner to assist another bail bondsman in
               HB 3137 has not     the apprehension, arrest, and surrender of the defendant even if the person is not
               moved since it      employed or appointed by the bail bondsman who is the defendant’s surety.
               was introduced.
SC   HB 3138   01/08/2013          HB 3138 would reduce from not less than six hours to not less than three hours the
               HB 3138 has not     amount of continuing
                                                                                                                             Case 4:19-cv-00717-JST




               moved since it
               was introduced.
SC   SB 45     01/08/2013          SB 45 provides that a person convicted of committing or attempting to commit a
               SB 45 has not       general sessions offense while released on a bail bond or personal recognizance bond
               moved since it      would have to be imprisoned for five years in addition to the punishment provided for
               was introduced.     the principal offense. The five-year sentence would not apply in cases where the death
                                   penalty or a life sentence without parole is imposed.
SC   SB 463/   04/13/2013          SB 463/HB 3619 would require individuals applying to for a professional bondsman,
                                                                                                                             Document 324-4




     HB 3619   SB 463 passed the   surety bondsman or a runner’s license to provide the Department with his or her
               Senate Banking      business, email, mailing, and residential street addresses. The bondsman or runner also
               and Insurance       would have to notify the Department within 30 days of any change in legal name or in
               Committee.          any of these addresses. Failure to provide such notice within the required timeframe
                                   would be considered a violation subject to the penalties in existing law.
               02/262013
                                                                                                                             Filed 10/26/22




               HB 3619 has been
               introduced.
SC   HB 3342   03/07/2013          HB 3342 would add notice requirements in connection with the issuance of a bench
               HB 3342 passed      warrant for a defendant that failed to appear in court.
               the House.
SD   HB 1130   03/25/2013          HB 1130 establishes a definition for a bail bond, which the new law defines as “cash,
               HB 1130 has been    property or surety given to obtain a defendant's release.” The new law provides a
               enacted.            definition for cash.
                                                                                                                             Page 159 of 305




                                                 SFAA 000544
TN   HJR 98    03/12/2013          HJR 98 is a resolution that would direct the Administrative Office of the Courts to
               HJR 98 is pending   study the issues regarding the use of unsecured bail bonds and the fees charged for
               in the House        them. The report would have to be submitted to the Judiciary Committee of the Senate
               Criminal Justice    and the Criminal Justice Committee of the House of Representatives on or before
               Committee.          January 15, 2014. The report would have to include information on the problems that
                                   the fees for unsecured bonds raise and recommendations for legislative solutions.
TN   SB 248/   01/31/2013          SB 248/HB 410 would authorize the court to consider a defendant's unlawful presence
     HB 410    SB 248 is to the    in the United States and the likelihood of his or her flight to avoid removal,
               second reading in   deportation, exclusion or any other immigration proceeding when determining the
               the Senate.         amount of bail required. Current law already provides several factors for the basis of
                                                                                                                              Case 4:19-cv-00717-JST




                                   determining the bond amount.
               03/19/2013
               HB 410 is
               pending in the
               House Criminal
               Justice
               Committee.
TN   HB 309/   03/05/2013          HB 309/SB 695 would permit the local legislative body and chief law enforcement
                                                                                                                              Document 324-4




     SB 695    HB 309 is           officer to mandate additional conditions of release including reporting, drug testing,
               pending in the      residence restriction, no contact with persons convicted of firearms offenses, no
               House Criminal      possession of firearms, and requiring the defendant to appear before a judge or
               Justice             magistrate, with no pre-trial release, and prohibiting a defendant from being released
               Committee.          until the firearm, if any, used in the commission of the offense for which the defendant
                                   is charged, is found. The magistrate also could require monitoring devices be used to
                                                                                                                              Filed 10/26/22




               02/06/2013          track the defendant while on release.
               SB 695 is pending
               in the Senate
               Judiciary
               Committee.
TN   HB 351    02/04/2013        HB 351 would strike the language of a notice in the existing law pertaining to the
               HB 351 has been   amounts a professional bail bondsman or bail agent may charge for bonds. The bill
               withdrawn.        would mandate a 10% premium and forbid a renewal fee in the first year of the bond
                                                                                                                              Page 160 of 305




                                 and eliminate provisions allowing professional bondsmen and agents of insurance



                                                  SFAA 000545
                                   companies issuing appearance bonds to charge a premium renewal fee after the initial
                                   12-month period provided for the bond. It would eliminate a provision permitting
                                   additional premium to be charged if the criminal case is appealed. The bill also would
                                   eliminate a provision permitting professional bondsmen and agents to assess a bond
                                   initiation fee of not more than $25 in addition to the premium. The bill provides
                                   instead that the minimum premium collected before the execution of bail shall not be
                                   less than10% of the face value of the bond. Under the bill’s provisions, collecting less
                                   than 10% would violate the current law’s standards of professional conduct. The bill
                                   also would add a provision with respect to the amount of the bonds secure by cash, a
                                   certificate of deposit, or equity in real estate that a professional bondsman is permitted
                                                                                                                                Case 4:19-cv-00717-JST




                                   to write, prohibiting the bondsman from issuing any single bond in excess of the total
                                   amount of collateral deposited or pledged or total bonds in excess of ten times the
                                   value of the collateral.
TN   SB 736/   04/11/2013          SB 736/HB 1023 would add a provision to the existing law’s forfeiture proceedings on
     HB 1023   SB 736 has been     a bail bond to provide that no execution shall issue upon a final forfeit of the bond, nor
               placed on the       shall proceedings be taken for its enforcement until after 30 days following the entry of
               Senate calendar     the forfeiture. The bill would eliminate a provision holding the surety liable under a
               following passage   criminal appearance bond until the court issues the defendant’s sentence in cases
                                                                                                                                Document 324-4




               from committee.     resulting in a conviction or a guilty plea. The bill also would increase from $5 to $10
                                   the sheriff’s fee on each bond.
               04/11/2013
               HB 1023 has been    SB 736 would have provided that if there has not been a disposition of the case within
               placed on the       two years for felonies and one year for misdemeanors following the date the bond was
               House calendar      posted and the bond has not been forfeited, then the surety would be relieved of its
               following passage   obligation. The provision was removed from SB 736 in an amendment in committee.
                                                                                                                                Filed 10/26/22




               from committee.     HB 1023 still contains this provision.
TN   HB 947    04/04/2013          HB 947 provides that persons applying to be a professional bondsman cannot have
               HB 947 has been     been convicted in any state of two or more misdemeanors which are equivalent to
               sent to the         Tennessee Class A or Class B misdemeanors within five years of the date the
               Governor.           application is filed.
                                                                                                                                Page 161 of 305




                                                  SFAA 000546
TX   SB 669     04/17/2013          SB 669 would require the court to consider certain factors pertaining to the purpose of
                SB 669 has been     a bail bond when determining whether to grant a request for a reformation of the final
                scheduled for a     judgment and a remittance to the surety in a special bill of review for a bail bond. The
                hearing.            bill also would require 72 hours to pass following the calling of the name of the
                                    defendant that failed to appear before a judgment for forfeiture may be entered against
                                    a bail bond.
TX   SB 876     04/16/2013          SB 876 would require the judge or magistrate presiding over a pending criminal action
                SB 876 has been     to discharge a surety's liability on a bond if the surety files an affidavit stating that (1)
                placed on the       more than five years have elapsed since the date of the defendant's last court hearing or
                Senate Intent       appearance for the case; (2) the defendant has never been required to appear in court or
                                                                                                                                    Case 4:19-cv-00717-JST




                Calendar            there has not been any action in the case for a three year period; (3) the bond was not
                following passage   forfeited before of on the date of the motion; (4) the surety no longer wants to be a
                from committee.     surety on the bond; (5) the surety has served notice of the motion to the defendant’s
                                    attorney and (6) the surety has provided a copy of the motion to the prosecuting
                                    attorney. The bill provides that if the judge or magistrate discharges a surety's liability
                                    and an indictment or information remains pending against the defendant, the judge or
                                    magistrate may be issue a capias for the defendant’s arrest or a summons for the
                                    defendant to post another bond.
                                                                                                                                    Document 324-4




TX   SB 975     02/28/2013          SB 975 would revise the instances in which the disposition of a case occurs for
                SB 975 has been     determining when a person executing a bail bond is relieved of their liability. Under
                introduced.         current law, the disposition of a case “occurs on the date the case is dismissed or the
                                    principal is acquitted or convicted.” The bill would revise this provision to include
                                    when the principal receives an order of deferred adjudication, is placed on community
                                    supervision, or is placed in a pretrial diversion program.
                                                                                                                                    Filed 10/26/22




TX   HB 76      02/05/2013          HB 76 would outline procedures under which a surety could obtain a discharge of its
                HB 76 has not       liability on a bail bond for certain criminal matters pending in a judge or magistrate’s
                moved since it      court. The surety would have to submit an affidavit in connection with obtaining the
                was introduced.     discharge.
TX   HB 1047/   04/15/2013          HB 1047/SB 1397 would exclude premiums or service fees retained by a bail bond
     SB 1397    HB 1047 has been    surety, or by a property and casualty agent in connection with the execution or delivery
                sent to the House   of a bail bond from the premium receipts used to determine an insurer's taxable
                Calendars           premium receipts. The bill also would provide that a surety company would not be
                                                                                                                                    Page 162 of 305




                Committee           require to maintain an unearned premium reserve for a bail bond executed or delivered



                                                   SFAA 000547
               following passage   by the company. Further, the surety’s report of its direct written premium in a
               from the House      financial statement filed with the Department of Insurance could be calculated
               Insurance           excluding any premiums or service fees retained by a bail bond surety, or by a property
               Committee.          and casualty agent in connection with the execution or delivery of a bail bond. The bill
                                   provides that surety companies executing or delivering bail bonds in the State would
               03/07/2013          have to disclose in the company's financial statement filed with the Department of
               SB 1397 has been    Insurance the aggregate amount of its gross premium for bail bond business reported in
               introduced.         the company's surety line of business; premium or service fees retained by the bail
                                   bond surety or agent; and the premium for bail bond business received by the
                                   company, net of amounts retained by the bail bond surety or agent.
                                                                                                                                Case 4:19-cv-00717-JST




TX   HB 1530   04/08/2013          HB 1530 provides that certain administrative fees collected under the existing law for
               HB 1530 has been    local governments could be deducted from cash deposits posted as bail.
               reported from the
               House Judiciary
               and Civil
               Jurisprudence
               Committee.
TX   HB 1562   04/09/2013          HB 1562 would establish notice requirement to a surety in default. The bill provides
                                                                                                                                Document 324-4




               HB 1462 is          that if a bail bond is posted for an offense other than a Class C misdemeanor, the clerk
               pending in the      of court where the surety is in default must sent notice of the default by certified mail
               House Criminal      to the last known address of the surety.
               Jurisprudence
               Committee
               following a
                                                                                                                                Filed 10/26/22




               hearing.
TX   HB 1631   03/04/2013          HB 1631 would require the court to consider certain factors pertaining to the purpose
               HB 1631 has been    of a bail bond when determining whether to grant a request for a reformation of the
               introduced.         final judgment and a remittance to the surety in a special bill of review for a bail bond.
                                   This bill is almost identical to SB 669.
                                                                                                                                Page 163 of 305




                                                  SFAA 000548
TX   HB1667    04/09/2013         HB 1667 would provide for the revocation of a defendant’s release on a personal bond
               HB 1667 is         in a burglary cases if the defendant violates a condition of the bond. The bill provides
               pending in the     that the defendant would be prohibited from release on a personal bond pending trial,
               House Criminal     but the defendant could be released if he or she posts a cash deposit or posts a surety
               Jurisprudence      bond in an amount that the court determines. The bill also would establish
               Committee.         requirements for electronic monitoring as a condition of the bond for defendants who
                                  have previously been convicted of burglary charges two or more times.
TX   HB 2021   02/28/2013         HB 2021 would authorize a municipality or county to contract for the collection of
               HB 2021 has been   certain debts in connection with civil cases. The bill provides that the provision would
               introduced.        not apply to commercial bail bonds.
                                                                                                                             Case 4:19-cv-00717-JST




TX   HB 2280   04/02/2013         HB 2280 would prohibit a surety from employing a person who has been convicted of
               HB 2280 passed     a felony or misdemeanor involving moral turpitude.
               the House
               Licensing and
               Administrative
               Procedures
               Committee.
TX   HB 3030   03/18/2013         HB 3030 would permit a sheriff or other peace officer, or a jailer to allow a defendant
                                                                                                                             Document 324-4




               HB 3030 has been   in a misdemeanor case to seek deferred adjudication if qualified, or if indigent, do
               introduced.        community service for payment of the fine, costs and fees, to pay the fine, costs and
                                  fees. Current law provides that the defendant may provide a bail bond.
UT   HB 386    04/01/2013         HB 386 authorizes the Bureau of Criminal Identification to review applications for bail
               HB 386 has been    recovery, bail enforcement, and bail apprentice licensure and renewals of licenses, and
               enacted.           approve license renewal applications. The new law authorizes the Bail Bond Recovery
                                                                                                                             Filed 10/26/22




                                  Licensure Board to permit the Utah Bureau of Criminal Investigation to approve
                                  license applications that contain no new or modified information from the prior
                                  application. The new law further specifies when and how a licensee may display an
                                  authorized badge.
VA   SB 847    03/20/2013         SB 847 authorizes judicial officers to require a person who has been arrested to
               SB 847 has been    accompany the arresting officer to the jurisdiction’s facility to be fingerprinted and
               enacted.           photographed prior to release on bail.
                                                                                                                             Page 164 of 305




                                                 SFAA 000549
VA   SB 870     03/20/2013         SB 870 would permit a circuit judge to hear an appeal in a criminal case from a
                SB 870 has been    summary contempt judgment of the district court without a jury. Existing law requires
                enacted.           a bond for the appeal.
VA   SB 1118/   03/16/2013         SB 1118/HB 1311 revises the law for appeals of a judicial officer’s order concerning
     HB 1311    SB 1118 and HB     bail. Upon appeal, the new law authorizes courts granting or denying bail and courts
                1311 have been     ordering an increased bond, new or additional sureties, or revoking bail to stay the
                enacted.           execution of its order for good cause shown for as long as would be reasonably
                                   practicable to allow the party to obtain an expedited hearing before the next higher
                                   court. A stay of an order granting bail will not be allowed for a person who was
                                   granted bail and who has been released on it.
                                                                                                                                 Case 4:19-cv-00717-JST




VA   HB 2294    03/20/2013         HB 2294 expands the definition of the crime of “carnal knowledge of an inmate” to
                HB 2294 has been   state that an accused person is guilty of carnal knowledge of an inmate, parolee,
                enacted.           probationer, detainee, or pretrial defendant or post-trial offender if he is an employee or
                                   contractual employee of, or a volunteer with, a bail bond company and he carnally
                                   knows, without the use of force, threat, or intimidation, a probationer, parolee,
                                   detainee, or pretrial defendant or post-trial offender for whom the bail bond company is
                                   surety.
WA   HB 1098    02/25/2013         HB 1098 would revise the existing law concerning bail to implement the
                                                                                                                                 Document 324-4




                HB 1098 passed     recommendations of the bail practices work group. The bill would revise the
                the House.         circumstances in which a surety on a bail bond may return a person to custody so that
                                   the surety would have to demonstrate “good cause” for returning the defendant.
                                   Current law requires the surety to submit a notice of forfeiture or a notarized affidavit
                                   specifying the reasons for the surrender. The bill would define “good cause” as a
                                   “reasonable belief in a substantial increase in the likelihood of the risk of flight,
                                                                                                                                 Filed 10/26/22




                                   violation of a court order, failure to appear, or the concealment or intentional
                                   misrepresentation of information by the person.” Failure to make timely payments of
                                   bond premium would not be considered good cause. The bill has been amended to
                                   provide that if good cause does not exist for surrender, the sole remedy for the surety is
                                   to return the premium charged on the bond and any recovery fees.


                                   Further, the bill would specify that the existing $10,000 license bond or deposit
                                                                                                                                 Page 165 of 305




                                   required for bail agencies only would apply to surety bail bond agencies. The bill



                                                  SFAA 000550
                                   would require property bond agencies to post a $100,000 bond or deposit. The bill also
                                   would subject bail bond agents to an existing requirement to complete a records check
                                   through the Washington state patrol criminal identification system and through the
                                   Federal Bureau of Investigation. Currently, only bail recovery agents are subject to this
                                   requirement.

                                   The bill provides that the presiding judge of a court would be required to notify the
                                   Administrative Office of the Courts (Office) when the court revokes or reinstates the
                                   justification or certification of a bail bond agent to post bonds in the court. The Office
                                   would have to notify superior courts and courts of limited jurisdiction statewide. With
                                                                                                                                Case 4:19-cv-00717-JST




                                   regard to standards of professional conduct for bail agents, the bill would add the
                                   following activities as unprofessional conduct: entering into a contract with a person
                                   that gives the bail bond agent full authority over a person's finances, assets, real
                                   property, or personal property, including a general power of attorney and failing to
                                   reasonably disclose information within the bail agent's possession concerning the
                                   location of a fugitive criminal defendant.

                                   The bill would add definitions for surety bond, surety bond agency, property bond and
                                                                                                                                Document 324-4




                                   property bond agency. The bill would delete the definition of “contract”.
WA   SB 5176   04/05/2013          SB 5176 would revise the procedures concerning a 72-hour placement of defendants in
               SB 5176 is to the   an evaluation and treatment facility. The bill would eliminate procedures for referring
               second reading in   such persons to a surety hearing when the court will not release the person
               the House. The      unconditionally.
               bill passed the
               Senate on
                                                                                                                                Filed 10/26/22




               03/04/2013.
WA   SB 5376   02/21/2013          SB 5376 provides that a juvenile defendant would be ineligible for a deferred
               SB 5376 is          disposition of he or she had been charged with unlawful possession of a firearm in the
               pending in the      second degree, theft of a firearm, or possession of a stolen firearm. Current law
               Senate Ways and     authorizes the court to require a probation bond in connection with the release of the
               Means               juvenile defendant in a deferred disposition.
               Committee.
                                                                                                                                Page 166 of 305




                                                  SFAA 000551
WV   SB 530/   03/14/2013         SB 530/SB 547/HB 3070 would increase the fee the clerk of a circuit court charges per
     SB 547/   SB 530, SB 547,    bail bond for processing services from $25 to $75. If a surety company provides the
     HB 3070   and HB 3070        bond, the company must pay the fee under current law.
               have been
               introduced.
WV   HB 2723   02/25/2013         HB 2723 would establish a 5% surcharge on bail bonds. Municipal and magistrate
               HB 2723 has been   courts would have to collect the surcharge from cash bail bonds, and bail bondsmen
               introduced.        would have to charge the purchasers of a bail bond the surcharge in an amount equal to
                                  5% of the bail bond. The funds collected would have to be deposited into a special
                                  fund that would be used to benefit regional jails, State Police, county sheriffs, and
                                                                                                                           Case 4:19-cv-00717-JST




                                  municipal police departments.
                                                                                                                           Document 324-4
                                                                                                                           Filed 10/26/22
                                                                                                                           Page 167 of 305




                                                SFAA 000552
           Case 4:19-cv-00717-JST            Document 324-4          Filed 10/26/22       Page 168 of 305


Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Thursday, June 21, 2012 3:15 PM
To:                  Committee-BBAC-Open
Subject:             Preliminary Statistical Report
Attachments:         Bail Bond Report 2011 groups.pdf; Bail Bond Report 2011companies.pdf


AttachedaretwoReportsbasedonthebailbondsupplementstothe2011annualstatements.Inonereporteach
companyisshownseparately,andintheotherthecompaniesineachgrouparecombined.Forprioryeardataweused
whatwasreportedinthe2011bailbondsupplementevenifitdidnotagreewiththe2010report.Ourassumptionwas
thatthelaterfigureswouldbethemostaccurate.

Asinprioryears,thereseemtobeinconsistenciesinhowsomeofthenumbersarereported.Ifyourcompany’s
informationisnotcorrectpleasereviewyourbailbondsupplementandletusknowifweneedtomakeanycorrections
toourreport.Obviously,ifthereisanerrorinwhatwasreportedtothestatesitwouldhavetobecorrecteddirectly
withthem.




                                                            1
                                                       SFAA 000553
                                              The Surety and Fidelity Association of America
                                 2011 BAIL BOND SUPPLEMENT EXHIBIT #1A: TOP BAIL BOND WRITERS
                                                                                12.PremWritNet                       14.Prem
                                                    10.Direct                  ofAgentComm&        13.Direct   EarnedNetof 15.Direct    16.Direct
                                 9.FaceAmount
                                 9  Face Amount     Premiums
                                                    Premiums     11.Comm
                                                                  11  Comm        Broker Expenses
                                                                                  BrokerExpenses       Premium
                                                                                                         Premium      Agent Comm Unearned
                                                                                                                       AgentComm    Unearned      LossesPaid
                                                                                                                                                    Losses Paid    17.Direct
                                                                                                                                                                   17  Direct
                                   ofBailBonds    Written     andBroker   (Line10ͲLine11=     Earned        &Broker    Premium      (deducting     Losses        18.Direct
            Company                   Written        (Gross)       Expenses           Line12)            (Gross)        Expenses     Reserves        salvage)     Incurred      LossesUnpaid
INTERNATIONAL FIDELITY INS CO     2,222,985,694 46,772,604 38,764,053               8,008,551            46,967,783    25,803,632     5,556,032          0             0              0
FINANCIAL CAS & SURETY INC.       1,562,555,011 12,527,649       0                 12,527,649            12,527,649    12,527,649          0        1,768,411      1,739,864      1,374,155
FAIRFAX FIN GRP                   1,510,577,028 146,898,843 136,875,252            10,023,591           146,409,109     9,994,104      983,291       200,298           0          1,000,000
BANKERS INS GRP                   1,380,017,661
                                  1 380 017 661  1,344,893
                                                 1 344 893       0                  1,344,893
                                                                                    1 344 893           134,224,564
                                                                                                        134 224 564      (17,967)
                                                                                                                         (17 967)     8,260,893
                                                                                                                                      8 260 893          0             0              0
ACCREDITED SURETY & CAS CO.       1,154,812,400 112,711,087 103,662,017             9,049,070           112,711,087     9,049,070          0             0             0              0
DHC GRP                           1,079,426,825 99,054,785 96,083,141               2,971,644            99,054,785     2,971,644          0             0             0              0
LEXINGTON NATIONAL INS CORP.      1,025,586,076 106,664,535 96,761,936              9,902,599           106,757,972    10,032,301     2,424,395     1,306,266      1,123,357       243,818
HCC INS HOLDINGS GRP               718,037,196   70,637,793 64,764,836              5,872,957            70,516,231     5,966,230      905,083       852,895        759,397       (546,888)
                                                                                                                                                                                                 Case 4:19-cv-00717-JST




AMERICAN SURETY CO.                631,908,362   64,767,717 57,266,793              7,500,924            65,045,994     7,533,152      961,284       326,656        233,291       1,201,465
DELPHI FIN GRP                     493,223,111   49,346,112 46,283,455              3,062,657            49,346,112     3,062,657          0             0         1,071,930      6,374,637
ROCHE SURETY & CASUALTY CO.        320,091,276   33,628,019 31,242,029              2,385,990            34,505,310     2,449,877      363,276           0             0              0
UNIV FIRE & CASUALTY INS CO.       291,686,076   27,529,426 24,762,431              2,766,995            27,529,426     2,766,995          0             0             0              0
PROALLIANCE GROUP                  232,302,220   23,230,222 21,720,258              1,509,964            22,919,202     1,499,894     1,985,424          0             0              0
PALMETTO SURETY CORP.              191,403,964   19,140,396 16,908,800              2,231,596            2,273,970           0             0          11,106         11,106        571,348
INDIANA LUMBERMENS GRP             163,467,677   17,590,516 17,132,299               458,217             16,333,433     (798,866)     2,708,303          0              0             0
FIRST INDEMNITY OF AM INS CO.      157,987,814   15,798,781 14,534,879              1,263,902            16,676,537      965,894       168,326       922,614       1,302,614       380,000
                                                                                                                                                                                                 Document 324-4




SUN SURETY INSURANCE CO.           147,800,017   15,172,303 12,918,652              2,253,651            15,172,303     2,252,743          0         209,056        209,056           0
PENINSULAR SURETY CO.              109,473,167   1,074,294       0                  1,074,294            1,073,634      1,073,634       89,140         3,370         3,370         100,000
ASSURANT INC GRP                    67,403,069    295,772       798                  294,974               295,775       137,305           0             0         (809,949)      1,083,164
WHITECAP SURETY CO.                 33,761,729   3,375,154   3,102,645               272,509             3,375,154       272,509           0             0             0              0
INTL CRDT OF NORTH AMERICA RE       27 763 806
                                    27,763,806   2 626 657
                                                 2,626,657   2 387 808
                                                             2,387,808               238 849
                                                                                     238,849              2 528 078
                                                                                                          2,528,078      140 270
                                                                                                                         140,270       591 619
                                                                                                                                       591,619       112 300
                                                                                                                                                     112,300        260 008
                                                                                                                                                                    260,008        258 421
                                                                                                                                                                                   258,421
INTEGRA INSURANCE INC.              25,482,133   2,271,592   1,889,360               382,232             2,271,592       382,232           0             0             0              0
EMPIRE BONDING & INSURANCE CO.      16,709,400    167,094        0                   167,094                38,923           0         128,171           0           4,706          4,706
BLACK DIAMOND INSURANCE CO.          6,333,113   1,150,187       0                  1,150,187             1,224,211          0             0             0          377,444        377,444
                                                                                                                                                                                                 Filed 10/26/22




SURETY HOLDINGS GRP                  4,965,790    666,100     641,271                 24,829                27,754         1,034       638,346           0             0              0
MEADOWBROOK INS GRP                   59,200       5,920       5,439                   481                   1,918           0           4,002           0              0             0
LINCOLN GENERAL INSURANCE CO.        (690,000)    (44,500)    (41,830)               (2,670)               (44,500)       (2,670)          0             0             0              0
               Totals            13,575,129,815 874,403,951 787,666,322            86,737,629           989,764,006    98,063,323    25,767,585     5,712,972      6,286,194     12,422,270
                                                                                                                                                                                                 Page 169 of 305




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                                              The Surety and Fidelity Association of America
                                 2011 BAIL BOND SUPPLEMENT EXHIBIT #1B: TOP BAIL BOND WRITERS
                                                                                                                                                                      26.BuildͲUpFund
                                    19.Direct                                                            23.BuildͲUpFund 24.Grossdeposits       25.Gross     AccountBalances
                                  Defense Cost
                                  DefenseCost   20.DirectDefense
                                                  20  Direct Defense 21.DirectDefense
                                                                      21 Direct Defense      22 Taxes
                                                                                             22.Taxes,   Account Balances toBUFAccounts
                                                                                                           AccountBalances    to BUF Accounts Withdrawals
                                                                                                                                                    Withdrawalsfrom
                                                                                                                                                                 from as of End of Period
                                                                                                                                                                      asofEndofPeriod
                                  Containment    CostContainment CostContainment      Licensesand   asofBeginningof (includinginterest  BuildͲUpFund (Line23+Line24Ͳ
            Company               ExpensesPaid   ExpensesIncurred ExpensesUnpaid            Fees              Period              earned)            Accounts            Line25)
INTERNATIONAL FIDELITY INS CO          0                 0                   0              3,559,923         43,212,753          31,289,744          33,849,475          40,653,022
FINANCIAL CAS & SURETY INC.            0                 0                   0              3,300,761         11,299,702          4,254,789            2,746,557          12,807,934
FAIRFAX FIN GRP                        0                 0                   0              1,840,088         47,340,011          11,057,505           7,271,122          51,126,394
BANKERS INS GRP                        0                 0                   0                96,572
                                                                                              96 572          22,823,277
                                                                                                              22 823 277          11,952,164
                                                                                                                                  11 952 164           8,090,017
                                                                                                                                                       8 090 017          26,685,424
                                                                                                                                                                          26 685 424
ACCREDITED SURETY & CAS CO.            0                 0                   0              1,722,386         21,722,719          3,216,256            1,966,271          22,972,704
DHC GRP                                0                 0                   0                  0              7,015,022          6,245,075            5,275,089           7,985,008
LEXINGTON NATIONAL INS CORP.           0                 0                   0              2,415,013         25,678,556          7,051,631            7,420,978          25,309,209
HCC INS HOLDINGS GRP                 6,150             31,967                0              1,567,560         14,305,133          5,302,058            4,259,269          15,347,922
                                                                                                                                                                                             Case 4:19-cv-00717-JST




AMERICAN SURETY CO.                  23,757            19,007              34,890           1,664,537         21,039,550          4,532,992            5,489,541          20,083,001
DELPHI FIN GRP                         0                 0                   0               389,924          11,401,075          2,790,071            3,099,545          11,091,601
ROCHE SURETY & CASUALTY CO.            0                 0                   0               613,344          11,124,733          3,318,767            3,014,142          11,429,358
UNIV FIRE & CASUALTY INS CO.           0                 0                   0               250,123          3,884,312           1,677,073            1,060,751          4,500,634
PROALLIANCE GROUP                      0                 0                   0               461,384          4,906,435           1,615,201            2,108,004          4,413,632
PALMETTO SURETY CORP.                  0                 0                   0               820,949          3,647,644            881,185              456,680           4,072,150
INDIANA LUMBERMENS GRP                 0                 0                   0                  0             4,184,929           1,143,878            1,709,998           3,618,810
FIRST INDEMNITY OF AM INS CO.       272,538           272,538                0                20,284          2,166,194           1,864,636            2,471,073          1,559,757
                                                                                                                                                                                             Document 324-4




SUN SURETY INSURANCE CO.             62,471            62,471                0               404,250          6,977,450           1,111,004             817,917           7,270,537
PENINSULAR SURETY CO.                  0                 0                   0                31,574            399,310            263,697              138,777             524,230
ASSURANT INC GRP                       0              (62,137)             77,021             5,258           5,570,382            921,257             1,818,713          4,672,926
WHITECAP SURETY CO.                    0                 0                   0                82,168            180,498              588                   0                181,086
INTL CRDT OF NORTH AMERICA RE        9 665
                                     9,665            157 373
                                                      157,373             258 421
                                                                          258,421             87 269
                                                                                              87,269            425 537
                                                                                                                425,537            318 546
                                                                                                                                   318,546               32 564
                                                                                                                                                         32,564             711 519
                                                                                                                                                                            711,519
INTEGRA INSURANCE INC.                 0                 0                   0                  0               200,000               0                    0                200,000
EMPIRE BONDING & INSURANCE CO.         0               4,706               4,706              11,741               0                39,722                 0                 39,722
BLACK DIAMOND INSURANCE CO.            0              111,536             111,536             54,322               0                  0                    0                   0
                                                                                                                                                                                             Filed 10/26/22




SURETY HOLDINGS GRP                    0                 0                   0                18,233               0                12,624                 0                 12,624
MEADOWBROOK INS GRP                    0                 0                   0                2,877                0                 592                   0                  592
LINCOLN GENERAL INSURANCE CO.          0                 0                   0                  0              1,482,245              0                 190,684            1,291,561
               Totals               374,581           597,461             486,574          19,420,540        270,987,467         100,861,055          93,287,167         278,561,357
                                                                                                                                                                                             Page 170 of 305




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                                                 The Surety and Fidelity Association of America
                                               2011 BAIL BOND SUPPLEMENT EXHIBIT #2: AGGREGATE REPORT
                                                                                                                                    # Responding       # Responding
                                                                                                                # of Responses          YES                NO
1. Is the bail bond premium reported on a gross basis?                                                                35                   9                 26
2. If the answer to #1 was no, was a permitted practice granted to the reporting entity?                              26                  12                 14
3. If the answer to #2 was no, please explain: Various responses
4. What bond life is used to calculate unearned premium in days?                 Average: 163                        15*                  n/a                n/a
    * Of the 15 responses, three ("1 day", "1 day" and "4 days") were not         Median: 120
           included in the average, median and mode calculations.                   Mode: 120
5. Are any amounts charged to the consumer excluded from Gross Premiums?                                              35                  14                 21
6. If the answer to #5 was Yes, please explain: Various responses
                                                                                                                                                                           Case 4:19-cv-00717-JST




7. Do the agents have ongoing performance obligations on the bond after execution?                                    35                  28                  7
8. If the answer to #7 is Yes, please describe the nature of the agents'
continuing obligations: Various responses
                                                                                                Current Year      % of GPW             Prior Year        % of GPW
9. Face amount of bail bonds written                                                           13,575,129,815       XXX              13,429,258,970        XXX
10. Direct Premiums Written (Gross)                                                               874,403,951       XXX                 855,818,385        XXX
11. Commissions and Brokerage Expenses                                                            787,666,322      90.1%                681,448,647       79.6%
12. Prem Written Net of Agent Comm and Broker Expenses                                             86,737,629       9.9%                174,369,738       20.4%
                                                                                                                                                                           Document 324-4




                                                               Current Year     % of GPE         % of NPE         Prior Year           % of GPE           % of NPE
13. Direct Premium Earned (Gross)                               989,764,006       XXX              XXX             907,557,798           XXX                XXX
14. Prem Earned Net of Agent Comm and Broker Exp                 98,063,323       XXX              XXX             105,051,117           XXX                XXX
15. Direct Unearned Premium Reserves                             25,767,585       2.6%            26.3%             17,499,518           1.9%              16.7%
16. Direct Losses Paid (deducting salvage)                        5,712,972       0.6%             5.8%             11,127,718           1.2%              10.6%
17. Direct Losses Incurred                                        6,286,194       0.6%             6.4%             12,406,857           1.4%              11.8%
                                                                                                                                                                           Filed 10/26/22




18. Direct Losses Unpaid                                         12,422,270       1.3%            12.7%             14,985,573           1.7%              14.3%
19. Direct Defense Cost Containment Expenses Paid                   374,581       0.0%             0.4%                 314,864          0.0%               0.3%
20. Direct Defense Cost Containment Expenses Incurred               597,461       0.1%             0.6%                 722,545          0.1%               0.7%
21. Direct Defense Cost Containment Expenses Unpaid                 486,574       0.0%             0.5%                 715,919          0.1%               0.7%
22. Taxes, Licenses and Fees                                     19,420,540       2.0%            19.8%             18,560,324           2.0%              17.7%
                                                                                                                                     Current Year         Prior Year
23. Build-Up Fund account balances as of beginning of period                                                                           270,987,467         277,360,859
24. Gross deposits to BUF Accounts (including interest earned)                                                                         100,861,055          92,949,977
                                                                                                                                                                           Page 171 of 305




25. Gross withdrawals from Build-Up Fund accounts                                                                                       93,287,167          88,198,722
26. Build-Up Fund account balances as of end of period (Line 23 plus Line 24 minus Line 25)                                            278,561,357         282,112,113


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                                                The Surety and Fidelity Association of America
                                   2011 BAIL BOND SUPPLEMENT EXHIBIT #1A: TOP BAIL BOND WRITERS
                                                                                                                           14.Prem
                                                       10.Direct               12.PremWritNetof     13.Direct   EarnedNetof   15.Direct    16.Direct
                                                       Premiums     11.Comm      AgentComm&          Premium      AgentComm      Unearned     LossesPaid
                                 9.FaceAmountof     Written     andBroker BrokerExpenses(Line     Earned        &Broker      Premium      (deducting     17.Direct    18.Direct
              Company            BailBondsWritten     (Gross)       Expenses 10ͲLine11=Line12)      (Gross)        Expenses       Reserves        salvage)   LossesIncurred LossesUnpaid
Financial Cas & Surety Inc.       1,562,555,011        12,527,649      0              12,527,649           12,527,649    12,527,649             0       1,768,411     1,739,864       1,374,155
International Fidelity Ins Co.    1,407,319,358        26,010,039 21,124,863           4,885,176           26,019,445     4,855,294        2,959,697         0             0              0
Bankers Insurance Co.             1,347,706,739        1,295,875       0               1,295,875          133,843,142          0           8,145,582         0             0              0
Accredited Surety & Cas Co.       1,154,812,400       112,711,087 103,662,017          9,049,070          112,711,087     9,049,070             0            0             0              0
Lexington National Ins Corp.      1,025,586,076       106,664,535 96,761,936           9,902,599          106,757,972    10,032,301        2,424,395    1,306,266     1,123,357        243,818
Danielson National Ins Co.        1,023,670,076        94,342,097 91,511,834           2,830,263           94,342,097     2,830,263             0            0             0              0
Seneca Insurance Co.               837,969,248         79,120,539 74,356,674           4,763,865           78,630,805     4,734,378         983,291          0             0          1,000,000
Allegheny Casualty Co.             815,666,336         20,762,565 17,639,190           3,123,375           20,948,338    20,948,338        2,596,335         0             0              0
                                                                                                                                                                                                  Case 4:19-cv-00717-JST




American Surety Co.                631,908,362         64,767,717 57,266,793           7,500,924           65,045,994     7,533,152         961,284      326,656       233,291        1,201,465
Safety National Casualty Corp.     493,223,111         49,346,112 46,283,455           3,062,657           49,346,112     3,062,657             0            0        1,071,930       6,374,637
American Contractors Indem Co.     460,413,800         44,229,794 39,759,796           4,469,998           45,994,620     4,674,154         712,406      852,895       500,982        (546,888)
North River Insurance Co.          374,818,937         37,846,143 35,350,616           2,495,527           37,846,143     2,495,527             0            0             0              0
Roche Surety & Casualty Co.        320,091,276         33,628,019 31,242,029           2,385,990           34,505,310     2,449,877         363,276          0             0              0
Univ Fire & Casualty Ins Co.       291,686,076         27,529,426 24,762,431           2,766,995           27,529,426     2,766,995             0            0             0              0
U.S. Fire Insurance Co.            270,360,948         27,221,024 24,612,874           2,608,150           27,221,024     2,608,150             0        200,298           0              0
U.S. Specialty Insurance Co.       257,623,396         26,407,999 25,005,040           1,402,959           24,521,611     1,292,076         192,677          0         258,415            0
                                                                                                                                                                                                  Document 324-4




Continental Heritage Ins Co.       232,302,220         23,230,222 21,720,258           1,509,964           22,919,202     1,499,894        1,985,424         0             0              0
Palmetto Surety Corp.              191,403,964         19,140,396 16,908,800           2,231,596           2,273,970           0                0         11,106        11,106         571,348
Indiana Lumbermens Mutl Ins Co     163,467,677         17,590,516 17,132,299            458,217            16,333,433     (798,866)        2,708,303         0             0              0
First Indemnity of Am Ins Co.      157,987,814         15,798,781 14,534,879           1,263,902           16,676,537      965,894          168,326      922,614      1,302,614        380,000
Sun Surety Insurance Co.           147,800,017         15,172,303 12,918,652           2,253,651           15,172,303     2,252,743             0        209,056       209,056            0
Peninsular Surety Co.              109,473,167         1,074,294       0               1,074,294           1,073,634      1,073,634          89,140        3,370         3,370         100,000
National American Ins Co of CA     55,756,749          4,712,688   4,571,307            141,381            4,712,688       141,381              0            0             0              0
American Reliable Insurance Co     45,054,031           158,467       798               157,669             158,467            0                0            0        (318,437)        714,215
                                                                                                                                                                                                  Filed 10/26/22




Whitecap Surety Co.                33,761,729          3,375,154   3,102,645            272,509            3,375,154       272,509              0            0             0              0
First Community Insurance Co.      32,310,922            49,018        0                49,018              381,422        (17,967)         115,311          0             0              0
Intl Crdt of North America Re      27,763,806          2,626,657   2,387,808            238,849            2,528,078       140,270          591,619      112,300       260,008         258,421
Crum & Forster Indemnity Co.       27,427,895          2,711,137   2,555,088            156,049            2,711,137       156,049              0            0             0              0
Integra Insurance Inc.             25,482,133          2,271,592   1,889,360            382,232            2,271,592       382,232              0            0             0              0
American Bankers Ins Co. of FL     22,349,038           137,305        0                137,305             137,308        137,305              0            0        (491,512)        368,949
Empire Bonding & Insurance Co.     16,709,400           167,094        0                167,094              38,923            0            128,171          0           4,706          4,706
Black Diamond Insurance Co.         6,333,113          1,150,187       0               1,150,187           1,224,211           0                0            0         377,444         377,444
                                                                                                                                                                                                  Page 172 of 305




Lexon Insurance Co.                 4,965,790           666,100     641,271             24,829               27,754          1,034          638,346          0             0              0
Williamsburg National Ins Co.        59,200              5,920       5,439                481                1,918             0              4,002          0             0              0
Lincoln General Insurance Co.       (690,000)           (44,500)    (41,830)            (2,670)             (44,500)        (2,670)             0            0             0              0
                   Totals        13,575,129,815       874,403,951 787,666,322         86,737,629          989,764,006    98,063,323       25,767,585    5,712,972     6,286,194      12,422,270
                                                                                    SFAA 000557                                                ©TheSuretyFidelityAssociationofAmerica
                                                  The Surety and Fidelity Association of America
                                    2011 BAIL BOND SUPPLEMENT EXHIBIT #1B: TOP BAIL BOND WRITERS
                                    2
                                                                                                                                                                     26.BuildͲUpFund
                                                                                                            23.BuildͲUpFund 24.Grossdeposits     25.Gross    AccountBalances
                                 19.DirectDefense 20.DirectDefense 21.DirectDefense                AccountBalances toBUFAccounts Withdrawalsfrom asofEndofPeriod
                                 CostContainment CostContainment CostContainment 22.Taxes,Licenses asofBeginningof (includinginterest BuildͲUpFund (Line23+Line24Ͳ
            Company                ExpensesPaid     ExpensesIncurred ExpensesUnpaid       andFees             Period              earned)          Accounts           Line25)
Financial Cas & Surety Inc.             0                  0                  0               3,300,761         11,299,702          4,254,789          2,746,557          12,807,934
International Fidelity Ins Co.          0                  0                  0               2,163,474         28,838,465          28,667,404        30,512,794          26,993,075
Bankers Insurance Co.                   0                  0                  0                   0             22,766,855          11,884,194         8,054,017          26,597,032
Accredited Surety & Cas Co.             0                  0                  0               1,722,386         21,722,719          3,216,256          1,966,271          22,972,704
Lexington National Ins Corp.            0                  0                  0               2,415,013         25,678,556          7,051,631          7,420,978          25,309,209
Danielson National Ins Co.              0                  0                  0                   0              6,879,359          5,872,169          5,103,262           7,648,266
Seneca Insurance Co.                    0                  0                  0                875,770          34,686,343          5,501,308          4,677,332          35,510,319
Allegheny Casualty Co.                  0                  0                  0               1,396,449         14,374,288          2,622,340          3,336,681          13,659,947
                                                                                                                                                                                            Case 4:19-cv-00717-JST




American Surety Co.                   23,757             19,007             34,890            1,664,537         21,039,550          4,532,992          5,489,541          20,083,001
Safety National Casualty Corp.          0                  0                  0                389,924          11,401,075          2,790,071          3,099,545          11,091,601
American Contractors Indem Co.        6,150              31,967               0               1,039,400         13,923,170          3,986,633          4,138,471          13,771,332
North River Insurance Co.               0                  0                  0                707,144           5,352,050          4,007,536          1,723,037           7,636,549
Roche Surety & Casualty Co.             0                  0                  0                613,344          11,124,733          3,318,767          3,014,142          11,429,358
Univ Fire & Casualty Ins Co.            0                  0                  0                250,123           3,884,312          1,677,073          1,060,751           4,500,634
U.S. Fire Insurance Co.                 0                  0                  0                257,088           7,182,580          1,516,569           870,753            7,828,396
U.S. Specialty Insurance Co.            0                  0                  0                528,160            381,963           1,315,425           120,798            1,576,590
                                                                                                                                                                                            Document 324-4




Continental Heritage Ins Co.            0                  0                  0                461,384           4,906,435          1,615,201          2,108,004           4,413,632
Palmetto Surety Corp.                   0                  0                  0                820,949           3,647,644           881,185            456,680            4,072,150
Indiana Lumbermens Mutl Ins Co          0                  0                  0                   0              4,184,929          1,143,878          1,709,998           3,618,810
First Indemnity of Am Ins Co.        272,538            272,538               0                 20,284          2,166,194           1,864,636          2,471,073          1,559,757
Sun Surety Insurance Co.              62,471             62,471               0                404,250          6,977,450           1,111,004           817,917           7,270,537
Peninsular Surety Co.                   0                  0                  0                 31,574            399,310            263,697            138,777             524,230
National American Ins Co of CA          0                  0                  0                   0               135,663            372,906            171,827             336,742
American Reliable Insurance Co          0               (20,307)            45,620              5,258                0                  0                  0                   0
                                                                                                                                                                                            Filed 10/26/22




Whitecap Surety Co.                     0                  0                  0                 82,168            180,498              588                 0                181,086
First Community Insurance Co.           0                  0                  0                 96,572             56,422             67,970             36,000              88,392
Intl Crdt of North America Re         9,665             157,373            258,421              87,269            425,537            318,546             32,564             711,519
Crum & Forster Indemnity Co.            0                  0                  0                   86              119,038             32,092               0                151,130
Integra Insurance Inc.                  0                  0                  0                   0               200,000               0                  0                200,000
American Bankers Ins Co. of FL          0               (41,830)            31,401                0             5,570,382            921,257           1,818,713          4,672,926
Empire Bonding & Insurance Co.          0                4,706              4,706               11,741               0                39,722               0                 39,722
Black Diamond Insurance Co.             0               111,536            111,536              54,322               0                  0                  0                   0
                                                                                                                                                                                            Page 173 of 305




Lexon Insurance Co.                     0                  0                  0                 18,233               0                12,624                0                12,624
Williamsburg National Ins Co.           0                  0                  0                 2,877                0                 592                  0                 592
Lincoln General Insurance Co.           0                  0                  0                   0              1,482,245              0               190,684            1,291,561
                 Totals              374,581            597,461            486,574           19,420,540        270,987,467         100,861,055        93,287,167         278,561,357
                                                                                     SFAA 000558                                           ©TheSuretyFidelityAssociationofAmerica
                                                 The Surety and Fidelity Association of America
                                               2011 BAIL BOND SUPPLEMENT EXHIBIT #2: AGGREGATE REPORT
                                                                                                                                    # Responding       # Responding
                                                                                                                # of Responses          YES                NO
1. Is the bail bond premium reported on a gross basis?                                                                35                   9                 26
2. If the answer to #1 was no, was a permitted practice granted to the reporting entity?                              26                  12                 14
3. If the answer to #2 was no, please explain: Various responses
4. What bond life is used to calculate unearned premium in days?                 Average: 163                        15*                  n/a                n/a
    * Of the 15 responses, three ("1 day", "1 day" and "4 days") were not         Median: 120
           included in the average, median and mode calculations.                   Mode: 120
5. Are any amounts charged to the consumer excluded from Gross Premiums?                                              35                  14                 21
6. If the answer to #5 was Yes, please explain: Various responses
                                                                                                                                                                           Case 4:19-cv-00717-JST




7. Do the agents have ongoing performance obligations on the bond after execution?                                    35                  28                  7
8. If the answer to #7 is Yes, please describe the nature of the agents'
continuing obligations: Various responses
                                                                                                Current Year      % of GPW             Prior Year        % of GPW
9. Face amount of bail bonds written                                                           13,575,129,815       XXX              13,429,258,970        XXX
10. Direct Premiums Written (Gross)                                                               874,403,951       XXX                 855,818,385        XXX
11. Commissions and Brokerage Expenses                                                            787,666,322      90.1%                681,448,647       79.6%
12. Prem Written Net of Agent Comm and Broker Expenses                                             86,737,629       9.9%                174,369,738       20.4%
                                                                                                                                                                           Document 324-4




                                                               Current Year     % of GPE         % of NPE         Prior Year           % of GPE           % of NPE
13. Direct Premium Earned (Gross)                               989,764,006       XXX              XXX             907,557,798           XXX                XXX
14. Prem Earned Net of Agent Comm and Broker Exp                 98,063,323       XXX              XXX             105,051,117           XXX                XXX
15. Direct Unearned Premium Reserves                             25,767,585       2.6%            26.3%             17,499,518           1.9%              16.7%
16. Direct Losses Paid (deducting salvage)                        5,712,972       0.6%             5.8%             11,127,718           1.2%              10.6%
17. Direct Losses Incurred                                        6,286,194       0.6%             6.4%             12,406,857           1.4%              11.8%
                                                                                                                                                                           Filed 10/26/22




18. Direct Losses Unpaid                                         12,422,270       1.3%            12.7%             14,985,573           1.7%              14.3%
19. Direct Defense Cost Containment Expenses Paid                   374,581       0.0%             0.4%                 314,864          0.0%               0.3%
20. Direct Defense Cost Containment Expenses Incurred               597,461       0.1%             0.6%                 722,545          0.1%               0.7%
21. Direct Defense Cost Containment Expenses Unpaid                 486,574       0.0%             0.5%                 715,919          0.1%               0.7%
22. Taxes, Licenses and Fees                                     19,420,540       2.0%            19.8%             18,560,324           2.0%              17.7%
                                                                                                                                     Current Year         Prior Year
23. Build-Up Fund account balances as of beginning of period                                                                           270,987,467         277,360,859
24. Gross deposits to BUF Accounts (including interest earned)                                                                         100,861,055          92,949,977
                                                                                                                                                                           Page 174 of 305




25. Gross withdrawals from Build-Up Fund accounts                                                                                       93,287,167          88,198,722
26. Build-Up Fund account balances as of end of period (Line 23 plus Line 24 minus Line 25)                                            278,561,357         282,112,113


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Orgovan, Joseph

From:              Gallagher, Edward
Sent:              Thursday, June 7, 2012 4:08 PM
To:                Committee-BBAC-Open
Cc:                DNABIC@aol.com
Subject:           Legislation and Regulations
Attachments:       2012 Bail Bond Legislation.doc



Attached is an updated legislative report. The only new bills are two from Delaware and a Senate Resolution
from Louisiana. They are summarized below:

Delaware H. 363 – Tightens regulation of bail agents including requiring that they be Delaware residents
(which can be satisfied by having his or her principal place of business in Delaware) submit state and federal
criminal background checks, charge a premium of 10-12% for a surety bail bond and collect at least 7% prior to
posting the bond, and retain specified records. Any person acquiring an interest of 10% or greater interest in the
business or in any bond must be licensed. For cash bail, the property bondsman must charge between 20% and
25% of the bail amount and must collect at least 20% of the bail amount prior to posting the bond. Violation of
the statute would be a felony.

Delaware S. 226 – Requires the use of an “objective risk assessment instrument” for various determinations
including pretrial release or conditions of release. Unusually, the court’s discretion would be limited. The court
“shall employ” the mythical objective risk assessment instrument.

Louisiana SR. 194 – Establishes a special committee to study aspects of the bail bond industry relative to
surrender of the defendant, the defendant’s extradition, bond forfeiture and enforcement of judgments. Members
of the committee would include members of the judiciary, district attorneys’ association, state bar association
and the bail bond industry.


In addition, there are proposed revisions to regulations in North Carolina (11 NCAC 13.0520 et seq.) on the
licensing and continuing education of bail bond agents and Florida (Fl. ADC 69B-211.004) on the appointment
of agents. See:

https://www.flrules.org/gateway/ruleno.asp?id=69B-211.004

http://www.ncdoi.com/ASD/ASD_Insurance_Co_SB_Legislation.aspx

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                                                         1
                                                    SFAA 000560
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                                    2012 Bail Bond Legislation

                (Bills added since the last distribution are marked with an asterisk)


       Alabama

H. 703 [H. 703 was withdrawn and the provisions passed the House as part of H. 688] – Imposes
a filing fee of $35 on every bail bond plus an additional fee of 3.5% of the face amount of the
bond (or $100, whichever is greater) but not to exceed $450 for misdemeanors and 3.5% (or
$150, whichever is greater), but not to exceed $750 for felonies. For judicial public bail,
recognizance or signature bonds the additional fee shall be $25. The filing fee shall be paid by
the surety or bondsman not later than the day after execution of the bond. The additional fee
shall be imposed when the defendant appears for adjudication or sentencing and any cash or
property pledged shall guarantee the fee. The fees shall be divided according to percentages set
out among the sheriff, court clerk and solicitor with parts of the additional fees also paid to the
State and the Forensic Services Trust Fund. If the defendant is acquitted, the additional fee is not
paid.


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.



                                              SFAA 000561
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S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.

A. 1824 – As amended, allows a motion for exoneration to be filed for up to 30 days after
expiration of the appearance period, applies the extradition rules to transfers from another
county, tolls the running of the appearance period while the prosecuting agency decides whether
to seek extradition and during the extradition process. Requires remand of the defendant who
pleads guilty or nolo contendere, requires warrants be entered in the NCIC system as fully
extraditable, authorizes settlement of forfeiture judgments if a motion to vacate is made and the
court approves the settlement.


A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado




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H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.

S. 12-175 – Makes slight changes to numerous statutory time periods, including ones related to
bail, to avoid having then end on weekends.


       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.

S. 446 – Limits a surety bond for a misdemeanor, or a violation punishable by imprisonment for
one year or less, to a maximum of $5,000 unless the court, judge or referee makes specific
findings why a greater amount is necessary.




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       Delaware

*H. 363 – Tightens regulation of bail agents including requiring that they be Delaware residents
(which can be satisfied by having his or her principal place of business in Delaware) submit state
and federal criminal background checks, charge a premium of 10-12% for a surety bail bond and
collect at least 7% prior to posting the bond, and retain specified records. Any person acquiring
an interest of 10% or greater interest in the business or in any bond must be licensed. For cash
bail, the property bondsman must charge between 20% and 25% of the bail amount and must
collect at least 20% of the bail amount prior to posting the bond. Violation of the statute would
be a felony.

*S. 226 – Requires the use of an “objective risk assessment instrument” for various
determinations including pretrial release or conditions of release. Unusually, the court’s
discretion would be limited. The court “shall employ” the mythical objective risk assessment
instrument.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires



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cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Georgia

H. 1298 – Adds 25% on to all bail bonds in Atlanta to be paid, in the event of forfeiture, to the
City of Atlanta jail fund.


       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois




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S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.

H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested for
any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.




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S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the
requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.

S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and the
filing fee just as the parishes of St. John the Baptist and St. Charles can now.

S. 621 – Repeals the right of the Municipal and Traffic Courts of New Orleans to impose a bail
bond fee for submission of bonds but doubles, to $30, the fee taxed as part of costs to every
defendant who is convicted, pleads guilty or forfeits bond in the Municipal Court of New
Orleans.

S. 681 – Establishes $100,000 as the minimum bail amount for a defendant charged with a felony
offense involving a firearm who has previously been convicted of a crime that made the
defendant’s possession of a firearm unlawful.

*SR. 194 – Establishes a special committee to study aspects of the bail bond industry relative to
surrender of the defendant, the defendant’s extradition, bond forfeiture and enforcement of
judgments. Members of the committee would include members of the judiciary, district
attorneys’ association, state bar association and the bail bond industry.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.




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H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Michigan

H. 5533 – Allows a Charitable Bail Organization (CBO) to post bail. The CBO cannot be
compensated for the bail, and it must qualify as a 501(c)(3) organization and be registered under
the charitable organizations act and must be “organized for the purpose of posting cash bail on
behalf of poor individuals.”


       Mississippi




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H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.
[Enacted as a part of H.780].

H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail. [Enacted as part of H.780.]

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.




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       Missouri

H. 1867 and Substitute H. 1323 – Requires the court to accept “a guarantee from any surety who
is in compliance with general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

CR 107 – Amends the state Constitution to allow courts to deny bail if the court finds that no
combination of bail and other conditions will assure appearance and protect the public. The
Legislature would be authorized to establish terms and conditions for pretrial release and the
denial thereof.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]



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S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.




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S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.



       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated
procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.

B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.

B.5053 – Requires the court to enter information about a defendant who fails to appear in the
NCIC, to send the surety and bail bondsman copies of the bench warrant within 7 days of its
issuance, and requires exoneration of the surety if the state refuses to request extradition.




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B. 5054 – Prohibits a bondsman or runner from making any advertisement or other statement
with respect to “any premiums, percentages, or fee offerings” or any statement that is untrue,
deceptive or misleading.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       United States

S. 2183 – Creates a Fugitive Extradition and Apprehension Trust Fund into which any bail
forfeitures will be deposited and used to fund the U.S. Marshal’s Service to apprehend fugitives,
the U.S. Attorneys to investigate and prosecute fugitives, and the Justice Department to extradite
international fugitives.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia




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H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request



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information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Friday, April 20, 2012 9:35 AM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Corrected Legislative Report
Attachments:         2012 Bail Bond Legislation.doc


Sorry,IputtheMichigan“CharitableBailOrganization”billunderPennsylvania.AcorrectedReportisattached.




                                                            1
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                                    2012 Bail Bond Legislation

                (Bills added since the last distribution are marked with an asterisk)


       Alabama

*H. 703 – Imposes a filing fee of $35 on every bail bond plus an additional fee of 3.5% of the
face amount of the bond (or $100, whichever is greater) but not to exceed $450 for
misdemeanors and 3.5% (or $150, whichever is greater, but not to exceed $750 for felonies. For
judicial public bail, recognizance or signature bonds the additional fee shall be $25. The filing
fee shall be paid by the surety or bondsman not later than the day after execution of the bond.
The additional fee shall be imposed when the defendant appears for adjudication or sentencing
and any cash or property pledged shall guarantee the fee. The fees shall be divided according to
percentages set out among the sheriff, court clerk and solicitor with parts of the additional fees
also paid to the State and the Forensic Services Trust Fund. If the defendant is acquitted, the
additional fee is not paid.


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.




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S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.

*A. 1824 – As amended, allows a motion for exoneration to be filed for up to 30 days after
expiration of the appearance period, applies the extradition rules to transfers from another
county, tolls the running of the appearance period while the prosecuting agency decides whether
to seek extradition and during the extradition process. Requires remand of the defendant who
pleads guilty or nolo contendere, requires warrants be entered in the NCIC system as fully
extraditable, authorizes settlement of forfeiture judgments if a motion to vacate is made and the
court approves the settlement.


A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado




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H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.


       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.

S. 446 – Limits a surety bond for a misdemeanor, or a violation punishable by imprisonment for
one year or less, to a maximum of $5,000 unless the court, judge or referee makes specific
findings why a greater amount is necessary.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.



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H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Georgia

H. 1298 – Adds 25% on to all bail bonds in Atlanta to be paid, in the event of forfeiture, to the
City of Atlanta jail fund.




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       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.



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H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested for
any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.

S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the
requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.

S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and the
filing fee just as the parishes of St. John the Baptist and St. Charles can now.




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S. 621 – Repeals the right of the Municipal and Traffic Courts of New Orleans to impose a bail
bond fee for submission of bonds but doubles, to $30, the fee taxed as part of costs to every
defendant who is convicted, pleads guilty or forfeits bond in the Municipal Court of New
Orleans.

*S. 681 – Establishes $100,000 as the minimum bail amount for a defendant charged with a
felony offense involving a firearm who has previously been convicted of a crime that made the
defendant’s possession of a firearm unlawful.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.




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H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Michigan

*H. 5533 – Allows a Charitable Bail Organization (CBO) to post bail. The CBO cannot be
compensated for the bail, and it must qualify as a 501(c)(3) organization and be registered under
the charitable organizations act and must be “organized for the purpose of posting cash bail on
behalf of poor individuals.”


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.



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H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.



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A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that




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must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.



       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated




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procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.

B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.

B.5053 – Requires the court to enter information about a defendant who fails to appear in the
NCIC, to send the surety and bail bondsman copies of the bench warrant within 7 days of its
issuance, and requires exoneration of the surety if the state refuses to request extradition.

B. 5054 – Prohibits a bondsman or runner from making any advertisement or other statement
with respect to “any premiums, percentages, or fee offerings” or any statement that is untrue,
deceptive or misleading.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       United States

S. 2183 – Creates a Fugitive Extradition and Apprehension Trust Fund into which any bail
forfeitures will be deposited and used to fund the U.S. Marshal’s Service to apprehend fugitives,
the U.S. Attorneys to investigate and prosecute fugitives, and the Justice Department to extradite
international fugitives.




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       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia

H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.




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S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:               Gallagher, Edward
Sent:               Thursday, April 19, 2012 4:34 PM
To:                 Committee-BBAC-Open
Cc:                 DNABIC@aol.com
Subject:            Legislation
Attachments:        2012 Bail Bond Legislation.doc


AnupdatedReportisattached.




                                                            1
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                (Bills added since the last distribution are marked with an asterisk)


       Alabama

*H. 703 – Imposes a filing fee of $35 on every bail bond plus an additional fee of 3.5% of the
face amount of the bond (or $100, whichever is greater) but not to exceed $450 for
misdemeanors and 3.5% (or $150, whichever is greater, but not to exceed $750 for felonies. For
judicial public bail, recognizance or signature bonds the additional fee shall be $25. The filing
fee shall be paid by the surety or bondsman not later than the day after execution of the bond.
The additional fee shall be imposed when the defendant appears for adjudication or sentencing
and any cash or property pledged shall guarantee the fee. The fees shall be divided according to
percentages set out among the sheriff, court clerk and solicitor with parts of the additional fees
also paid to the State and the Forensic Services Trust Fund. If the defendant is acquitted, the
additional fee is not paid.


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.




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S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.

*A. 1824 – As amended, allows a motion for exoneration to be filed for up to 30 days after
expiration of the appearance period, applies the extradition rules to transfers from another
county, tolls the running of the appearance period while the prosecuting agency decides whether
to seek extradition and during the extradition process. Requires remand of the defendant who
pleads guilty or nolo contendere, requires warrants be entered in the NCIC system as fully
extraditable, authorizes settlement of forfeiture judgments if a motion to vacate is made and the
court approves the settlement.


A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado




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H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.


       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.

S. 446 – Limits a surety bond for a misdemeanor, or a violation punishable by imprisonment for
one year or less, to a maximum of $5,000 unless the court, judge or referee makes specific
findings why a greater amount is necessary.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.



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H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Georgia

H. 1298 – Adds 25% on to all bail bonds in Atlanta to be paid, in the event of forfeiture, to the
City of Atlanta jail fund.




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       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.



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H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested for
any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.

S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the
requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.

S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and the
filing fee just as the parishes of St. John the Baptist and St. Charles can now.




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S. 621 – Repeals the right of the Municipal and Traffic Courts of New Orleans to impose a bail
bond fee for submission of bonds but doubles, to $30, the fee taxed as part of costs to every
defendant who is convicted, pleads guilty or forfeits bond in the Municipal Court of New
Orleans.

*S. 681 – Establishes $100,000 as the minimum bail amount for a defendant charged with a
felony offense involving a firearm who has previously been convicted of a crime that made the
defendant’s possession of a firearm unlawful.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.




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H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.

H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.



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S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has



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filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is




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shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.


       Pennsylvania

*H. 5533 – Allows a Charitable Bail Organization (CBO) to post bail. The CBO cannot be
compensated for the bail, and it must qualify as a 501(c)(3) organization and be registered under
the Pa. charitable organizations act and must be “organized for the purpose of posting cash bail
on behalf of poor individuals.”


       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated
procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.



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B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.

B.5053 – Requires the court to enter information about a defendant who fails to appear in the
NCIC, to send the surety and bail bondsman copies of the bench warrant within 7 days of its
issuance, and requires exoneration of the surety if the state refuses to request extradition.

B. 5054 – Prohibits a bondsman or runner from making any advertisement or other statement
with respect to “any premiums, percentages, or fee offerings” or any statement that is untrue,
deceptive or misleading.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       United States

S. 2183 – Creates a Fugitive Extradition and Apprehension Trust Fund into which any bail
forfeitures will be deposited and used to fund the U.S. Marshal’s Service to apprehend fugitives,
the U.S. Attorneys to investigate and prosecute fugitives, and the Justice Department to extradite
international fugitives.


       Utah



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H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia

H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two



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years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:                  Gallagher, Edward
Sent:                  Tuesday, April 3, 2012 11:01 AM
To:                    Committee-BBAC-Open
Cc:                    Holtschneider, Mark; Lanak, Frank; Mike Whitlock; Dee Hale; karen.ridener@accredited-inc.com;
                       DNABIC@aol.com
Subject:               Cal. Case and AB 1824
Attachments:           bail.CA AB 1824.pdf



In People v. Western Insurance Co., 2012 WL 1071482 (Cal.App. April 2, 2012) the defendant failed to appear,
and the surety located him in India. The prosecutor indicated that he would seek extradition, but the extradition
process went on past the end of the extended appearance period. The trial court entered summary judgment on
the bond, and the surety appealed. The surety argued that the running of the appearance period should be tolled
while the prosecutor pursued extradition. The Court noted that Penal Code §1305 provides for tolling if the
defendant is temporarily disabled, for an extension of the appearance period not to exceed 180 days, and for
exoneration if the prosecutor refuses to seek extradition. The Court thought that in light of this detailed statutory
scheme, “a further extension of the appearance period under the guise of equitable tolling is inappropriate.” The
Court suggested that the surety’s arguments would be better addressed to the Legislature. [Published].

Ironically,CaliforniaAB1824,acopyofwhichisattached,wouldamongotherthings,amendsection1305(f)byadding:
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Iftheprosecutingagencyelectstoextraditethedefendant,thecourt
shalltollthe180Ͳdaytimeperiodforthetimerequiredbythe
prosecutingagencytoobtainanextraditionwarrantforthedefendant
plusareasonabletimefortheserviceofthewarrant.




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Orgovan, Joseph

From:               Gallagher, Edward
Sent:               Friday, March 30, 2012 5:10 PM
To:                 Committee-BBAC-Open
Cc:                 DNABIC@aol.com
Subject:            Legislation
Attachments:        2012 Bail Bond Legislation.doc


AnupdatedReportisattached.




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                                    2012 Bail Bond Legislation

                (Bills added since the last distribution are marked with an asterisk)


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.

S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.




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A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado

H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.




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       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.

S. 446 – Limits a surety bond for a misdemeanor, or a violation punishable by imprisonment for
one year or less, to a maximum of $5,000 unless the court, judge or referee makes specific
findings why a greater amount is necessary.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a



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premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Georgia

*H. 1298 – Adds 25% on to all bail bonds in Atlanta to be paid, in the event of forfeiture, to the
City of Atlanta jail fund.


       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois




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S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.

H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested for
any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.




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S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the
requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.

S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and the
filing fee just as the parishes of St. John the Baptist and St. Charles can now.

*S. 621 – Repeals the right of the Municipal and Traffic Courts of New Orleans to impose a bail
bond fee for submission of bonds but doubles, to $30, the fee taxed as part of costs to every
defendant who is convicted, pleads guilty or forfeits bond in the Municipal Court of New
Orleans.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland




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with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or



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professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.

H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.




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A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.




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H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.


       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an



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affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated
procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.

B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.

*B.5053 – Requires the court to enter information about a defendant who fails to appear in the
NCIC, to send the surety and bail bondsman copies of the bench warrant within 7 days of its
issuance, and requires exoneration of the surety if the state refuses to request extradition.

*B. 5054 – Prohibits a bondsman or runner from making any advertisement or other statement
with respect to “any premiums, percentages, or fee offerings” or any statement that is untrue,
deceptive or misleading.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.




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S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       United States

S. 2183 – Creates a Fugitive Extradition and Apprehension Trust Fund into which any bail
forfeitures will be deposited and used to fund the U.S. Marshal’s Service to apprehend fugitives,
the U.S. Attorneys to investigate and prosecute fugitives, and the Justice Department to extradite
international fugitives.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia

H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional



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misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Friday, March 16, 2012 2:22 PM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Legislation
Attachments:         2012 Bail Bond Legislation.doc


AnupdatedReportisattached.TheonlyadditionsareConnecticutS.446andafederalbill,S.2183.




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                (Bills added since the last distribution are marked with an asterisk)


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.

S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.




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A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado

H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.




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       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.

*S. 446 – Limits a surety bond for a misdemeanor, or a violation punishable by imprisonment for
one year or less, to a maximum of $5,000 unless the court, judge or referee makes specific
findings why a greater amount is necessary.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a



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premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas



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S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.

H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested for
any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.

S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the



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requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.

S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and the
filing fee just as the parishes of St. John the Baptist and St. Charles can now.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.




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H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.



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H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.



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A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that




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must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.


       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated
procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.



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B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       United States

*S. 2183 – Creates a Fugitive Extradition and Apprehension Trust Fund into which any bail
forfeitures will be deposited and used to fund the U.S. Marshal’s Service to apprehend fugitives,
the U.S. Attorneys to investigate and prosecute fugitives, and the Justice Department to extradite
international fugitives.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia



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H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real



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property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:              Gallagher, Edward
Sent:              Friday, March 9, 2012 4:07 PM
To:                Committee-BBAC-Open
Cc:                DNABIC@aol.com
Subject:           Legislation
Attachments:       2012 Bail Bond Legislation.doc


An update Report is attached.

GeneNewmanprovidedaMississippiAttorneyGeneral’sOpinion,availableonWestlawat2012WL679140(January18,
2012),onthelicensingofsuretyagentsandsolicitingbailagentsiftheirappointmentbythesuretycompanyor
professionalbondsmanisterminated.

ThetestimonyattheMarch7hearingonWisconsinAB567isavailableat:

http://wiseye.org/Programming/VideoArchive/EventDetail.aspx?evhdid=5879




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                (Bills added since the last distribution are marked with an asterisk)


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.

S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.




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A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado

H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.




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       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents to
be 21 years of age and high school graduates (or equivalents) and not subject to a restraining or
protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a



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managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,



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and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.

H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

*H. 760 – If a defendant is released on bail for a crime of violence and is subsequently arrested
for any crime the bail is automatically revoked and bail is barred for the new offense.

S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.

S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid forfeiture
as a civil judgment leaving filing a rule to show cause with the Insurance Commissioner as the
sole enforcement method.

*S. 292 – Expands the grounds to exonerate the bond by adding refusal to extradite the defendant
and failure to enter the defendant in the NCIC registry. Also deletes extensions of time or setting
aside judgments because of a fortuitous event that makes it impossible to perform and the
requirement that a motion for such exoneration be filed within 366 days of the fortuitous event
and substitutes extensions of time or setting aside judgments if they are “justified under the facts
of the case” without any time limit for the motion.




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*S. 294 – Requires notice of the signing of the judgment to be mailed within 60 days of the
defendant’s initial failure to appear instead of within 60 days after the defendant fails to appear.

*S. 319 – Amends the provision of the Code of Criminal Procedure that provides if the defendant
appears and the proceeding is continued to a specific date the defendant not be given further
notice of the new date by requiring that the surety or agent have notice either in the bond or by
written notice. [The Digest with the bill says that is its intent, but the actually language seems to
be unclear as to what proceeding the new notice requirement applies. It could be read to mean
notice of the original appearance date not the new one.]

*S. 492 – Extends to the 23rd Judicial District the right to alter the percentage of cash bond and
the filing fee just as the parishes of St. John the Baptist and St. Charles can now.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.


       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.




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H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.

H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.

H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public



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taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least



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once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15



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S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.


       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

*B. 4916 – Adds a section to provide: (1) that the circuit court shall hear motions to modify bail;
(2) after the circuit court has ruled on a motion to modify bail, any further motion for
modification must make a prima facie showing of a material change in circumstance related to
statutory factors, but evidence on the defendant’s guilt or innocence is not a changed
circumstance unless the solicitor consents; and (3) if the state seeks to revoke or modify bail it
must make a written motion but if such a motion includes a prima facie showing of imminent
danger to the community or to the defendant or of flight by the defendant, an accelerated
procedure for an emergency hearing is provided, and such an emergency hearing is grounds for
the surety to surrender the defendant.

B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.




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       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia

H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such



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a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Friday, March 2, 2012 4:36 PM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Legislation
Attachments:         2012 Bail Bond Legislation.doc; WI2012AB567.doc


An updated Report is attached.

ItappearsthatCaliforniaS.1265wouldpermitanadmittedinsurer,oritssubsidiary,toownaCaliforniabailbond
agencyeventhoughtheofficersandstockholdersoftheinsurerarenotlicensedCaliforniabailbondagents.

AlsoattachedisaletterthattheAmericanInsuranceAssociationwillsubmittothesponsorofWisconsinAB567
supportingthebill.                                                       .




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                                    2012 Bail Bond Legislation

                (Bills added since the last distribution are marked with an asterisk)


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.

S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.




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*A. 2029 – Regulates the licensure and conduct of Bail Fugitive Recovery Persons including
making it a misdemeanor knowingly to hire an unauthorized person to apprehend a bail fugitive.

S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.

*S. 1265 – Permits a limited liability company (LLC) to be licensed as a bail agency on the same
conditions as a corporation and exempts an admitted surety insurer, or a subsidiary of an
admitted surety insurer, from the requirement that all officers and stockholders (or LLC
members) must be licensed bail agents.


       Colorado

H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.




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       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.

*H. 5382 – Requires applicants for licenses as professional bondsmen and bail recovery agents
to be 21 years of age and high school graduates (or equivalents) and not subject to a restraining
or protective order involving the use or attempted use of force against another person. Regulates
badges worn by bail enforcement agent and permits for bail agents, professional bondsmen and
bail agents to carry concealed weapons and adds new requirements to qualify as an instructor in
courses required for firearms licenses.


       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a



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managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Hawaii

H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,



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and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Louisiana

*H. 190 – Allows the clerk to give notice to the surety of a forfeiture judgment either at the
address provided pursuant to present law (Art. 322) or at an address registered with the
Department of Insurance.

*H. 304 – Shortens the Bail Bond Apprentice Program from six months to three months.

*H. 398 – Adds three Parishes (Ascension, Assumption and St. James) that will be authorized to
alter the percentage to be deposited as cash bail and to charge a $15 fee for processing the bond.

*H. 513 – Adds certain information and record keeping for the Bail Bond Apprentice Program.

*H. 581 – If the prosecutor dismisses a case for which the defendant had provided bail and a
subsequent indictment or information charges the same or a lesser offense based on the same
facts, the court must reinstate the bail if the surety consents. If the defendant voluntarily appears
on the first occasion of which he or she has actual notice, the court must permit the defendant to
remain free for five days, excluding weekends, to obtain the surety’s consent.

*S. 242 – Narrows the separate treatment of Orleans Parish for purposes of the premium fee to
bonds for charges to be prosecuted in the Criminal District Court. The $3 fee will apply only to
bonds in that court.

*S. 173 – Deletes authority for a bail bond of up to $500 during the period is placed on probation
by the Traffic Court of New Orleans.

*S. 291 – Deletes the provision in current law that the prosecutor may enforce an unpaid
forfeiture as a civil judgment leaving filing a rule to show cause with the Insurance
Commissioner as the sole enforcement method.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.




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       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, H. 631 and S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.



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H. 175 and S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

H. 631 and S. 2805 – Revises prelicensing educational requirements for professional bail agents
and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

H. 880 and S. 2847 – Designates certain charges as crimes with bail restrictions, for defendants
charged with such designated crimes requires full cash, corporate surety or bond secured by real
property and, if real property, requires an affidavit from the owner with information as to equity
in the property. Creates a presumption for full cash bail if a defendant charged with such crimes
also has two prior felony convictions or two other indictable offenses pending or was on parole
or has a prior conviction for certain enumerated crimes including bail jumping.

H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.

H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.


       Missouri

*H. 1867 – Requires the court to accept “a guarantee from any surety who is in compliance with
general laws regulating such profession” in lieu of a cash only bond.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.



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A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.

A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.      2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma




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HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.

H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.



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       South Carolina

B.4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an
affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.

*B.4917 – Adds a mandatory, consecutive, no parole five year sentence enhancement for any
general sessions court offense committed while released on a bail bond or on a personal
recognizance bond.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia



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H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.

S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real



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property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing
framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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                                                                                                        www.aiadc.org
March 1, 2012




The Honorable Paul Krug

State Representative

Room 316 North

State Capitol

Madison, WI 53708


RE: AB 567

Dear Representative Krug,

The American Insurance Association (AIA) is the leading national property-casualty insurance trade
organization, representing approximately 300 insurers which write more than $117 billion in premiums
each year, a substantial portion of which are for surety related products.

The purpose of this letter is to communicate our support of AB 567, legislation that would permit private
bail bonding in Wisconsin. Currently, Wisconsin is one of only four states that excludes insurers from
providing bail bonds which assure the appearance of criminal defendants for hearings and trials.

AB 567 would benefit the citizens of Wisconsin in several key ways, if it is enacted into law:

First, it would reduce costs to Wisconsin taxpayers because trial courts would be able to
release defendants awaiting trial who do not qualify for release under current law.
If a trial court did not believe the defendant could safely be released on his or her own recognizance or an
unsecured bond or a bond secured by an uncompensated individual acting as surety, it would have
another, more secure alternative.

Experience from other jurisdictions shows that defendants released on commercial bail bonds are more
likely to appear as required, and much more likely to be recovered if they do fail to appear initially, than
defendants released on other conditions.

Any bail forfeitures, of course, would go to the State, and the bail bond agents and surety
companies would pay taxes. The cost of the bonds will be paid by the defendants and their
friends or families, not by the taxpayers.

Second, the law would benefit the Wisconsin criminal justice system by
increasing the percentage of defendants who appear as required and increasing the




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recovery percentage of those who failed to appear. Defendants who don’t appear or who
are missing for extended periods present a significant cost to the courts, prosecutors and
witnesses who set aside time and prepare for hearings and trials that do not take place.

Issuing a bench warrant to be filed in a database is no substitute for a professional bail
agent and recovery agent with a substantial financial stake in seeing that the defendant
appears as required and is recovered if he or she does not. In addition, bail bonds are usually written
based on indemnity from family and friends of the defendant. Those indemnitors are in the best position
to see that the defendant appears in court and to help the bail bond agent recover anyone who fails to
appear. The combination of information from indemnitors and action by bail
professionals results in appearance and recover rates far superior to those experienced by
other forms of pretrial release even though the defendants released on secured bail bonds
are typically perceived as greater risks.

Third, all Wisconsin citizens will benefit from faster adjudication of those
charged with serious crimes. The deterrent effect of quicker punishment and more
onerous conditions of release will benefit everyone except criminals. The community as
a whole is better protected when those on pretrial release are more closely supervised and
know that if they fail to appear in court as ordered there will be a professional with a
substantial financial incentive actively seeking to recover them.

The key component of a successful bail bond system is the prompt, sure payment
of the bond amount if the defendant fails to appear and is not recovered within a definite
time. That is why the bond must be guaranteed by a regulated insurer that is obligated to
pay. The insurance company can select the bail bond agents and agencies for whom it
will provide bonds and can hold security for the performance of their obligations, but if
there is a default the court can look to the regulated insurance company for prompt
payment. If payment is not swift and certain, the advantages of commercial bail over
other forms of release are undermined. Why underwrite the bond, obtain indemnity,
supervise the defendant, and recover any failures to appear if the amount of the bond will
not have to be paid in the event of a default?

As with other types of surety bonds, the insurer provides a deep pocket that is obligated to pay and this
leads to prequalification of the risk, indemnity, supervision and prompt action to cure any default.

For many years surety bonds from admitted insurers have protected Wisconsin
taxpayers and businesses, especially on public construction projects. Bail bonds can
provide similar protection if their use is correctly regulated and implemented.

The AIA urges the Committee to approve AB 567.

We sincerely appreciate your sponsorship of this legislation and would be glad to answer any further
questions you or others may have on the subject.

Sincerely,




Steve Schneider
Vice President, Midwest Region
The American Insurance Association
#329
655 Deerfield Road
Suite 100
Deerfield, IL 60015-3241           sschneider@aiadc.org



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Orgovan, Joseph

From:                Gallagher, Edward
Sent:                Friday, February 24, 2012 2:07 PM
To:                  Committee-BBAC-Open
Cc:                  DNABIC@aol.com
Subject:             Legislation and Allegheny County Pa. Court Rules
Attachments:         2012_PA_REG_TEXT_284844_(NS)_2-24-12_1224[1].rtf; 2012 Bail Bond Legislation.doc


Attached is an updated Report. Also attached is a copy of revised Criminal Rules for the Allegheny County, Pennsylvania
CourtofCommonPleas.TherevisedRuleswouldmakewhatappeartobeverysubstantialchangesinthecurrentRules
includingrequiringanycorporatesuretyprovidingbailinAlleghenyCountytohaveanofficeinAlleghenyCountyandto
posta$250,000depositwiththeClerkofCourtforevery$1millionofbondswritten.




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                                     Pennsylvania Regulation Text - Netscan
                                                  Uncodified
                                              The Courts - Notices
                                               February 18, 2012
                                    Allegheny County Rules; Allegheny County

Criminal Rules of the Court of Common Pleas

And Now, to-wit, this 3rd day of February, 2012, It Is Hereby Ordered, Adjudged and Decreed that the following
Amended Rule of the Court of Common Pleas of Allegheny County, Pennsylvania, Criminal Division, adopted by the
unanimous proxy vote of the Board of Judges on February 3, 2012, shall be effective thirty (30) days after publication
in the Pennsylvania Bulletin.

*Title 252--ALLEGHENY COUNTY RULES*

*ALLEGHENY COUNTY*

*Criminal Rules of the Court of Common Pleas; No. 1 of 2012 Rules Doc.*

*Order of Court*

_And Now_, to-wit, this 3rd day of February, 2012, _It Is Hereby Ordered, Adjudged_ and _Decreed_ that the fol-
lowing Amended Rule of the Court of Common Pleas of Allegheny County, Pennsylvania, Criminal Division, adopted
by the unanimous proxy vote of the Board of Judges on February 3, 2012, shall be effective thirty (30) days after
publication in the _Pennsylvania Bulletin_:

Rule 101.1 Construction of Rules; Consistency with Statewide Rules

Rule 103.1 Definitions

Rule 531.2 Regulations of Surety Business

Rule 536.1 Forfeitures and Bail Pieces

_By the Court_

DONNA JO McDANIEL,

_President Judge_

Rule 101.1. Construction of Rules*; Consistency with Statewide Rules*.

*(a)* All rules of construction adopted by the Supreme Court of Pennsylvania shall apply to local rules adopted by the
Court of Common Pleas of Allegheny County that govern the practice and procedure in criminal matters.

*(b) Any requirement imposed by these rules is in addition to, and not in lieu of, the requirements under the Penn-




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sylvania Rules of Criminal Procedure.*

*(c) No pleading or other legal paper shall be refused for filing by the clerk of courts based upon a failure to comply
with a requirement imposed by these rules. No case shall be dismissed nor request for relief granted or denied because
of a failure to comply with such a requirement. If a party fails to comply with such a requirement, the court shall notify
the party of the failure and provide a reasonable time for the party to comply with the requirement.*

*Rule 103.1. Definitions.*

*(a)* Definitions contained in Pa.R.Crim.P. 103 shall apply to all local rules heretofore and hereafter adopted which
govern practice and procedure in criminal matters.

*(b) The following words and phrases, when used in any Allegheny County Rule of Criminal Procedure, shall have the
following meanings:*

*_Bail Enforcement Agent_ is an individual who performs services or takes action for the purpose of enforcing the
terms and conditions of a defendant's release from custody on bail, including locating, apprehending and surrendering
a defendant released from custody on bail who has failed to appear at a specified time and place pursuant to Order of
Court. The term does not include police officers, sheriffs, court officers or law enforcement personnel who execute
warrants of arrest for bail forfeitures pursuant to their official duties.*

*_Clerk of Courts_ is the Director of the Allegheny County Department of Court Records, Criminal Division.*

*_Corporate Surety_ is any corporation, limited liability corporation or partnership which engages in the business of
providing bail, providing or soliciting bail undertakings, or providing or soliciting indemnity or counter-indemnity to
others on bail undertakings. The term applies to any and all surety bail bond businesses and their agents and fidelity
companies and their agents in addition to surety businesses authorized by Order of Court.*

*_Professional Bail Bondsman_ is any person other than a fidelity or surety company or any of its officers, agents,
attorneys, or employees authorized to execute bail bonds or to solicit business on its behalf who: (1) engages in the
business of giving bail, giving or soliciting undertakings, or giving or soliciting indemnity or counter-indemnity to
securities on undertakings; or (2) within a period of thirty (30) days has become a surety or has indemnified a surety,
for the release on bail of a person, with or without a fee or compensation, or promise thereof; in three or more matters
not arising out of the same transaction (see 42 Pa.C.S.A. § 5741 et seq.).*

*_Surety Business_ is any corporate surety, fidelity company, surety company authorized by Order of Court, profes-
sional bail bondsman licensed by the Pennsylvania Department of Insurance to do business in the Commonwealth of
Pennsylvania, or agents and employees thereof.*

*Rule 531.2. Regulation of Surety Businesses.*

*(a) _Requirements to Become Qualified_. To become qualified to post bond, the surety business must:*

*(1) Fully comply with all laws, statutes, local rules and rules of court as may be established from time to time.*

*(2) Deliver to the Clerk of Courts and the District Attorney satisfactory proof, on the approved form, that the surety
business, is licensed by the Pennsylvania Department of Insurance to do business in the Commonwealth of Penn-
sylvania;*




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*(3) Deliver satisfactory proof of the agency relationship between the surety business and its agents to the District
Attorney and Clerk of Courts. The execution of any bail bond by such agents shall be a valid and binding obligation of
the surety business;*

*(4) Deliver satisfactory proof to the Clerk of Courts and the District Attorney that any agent designated to act on
behalf of the surety business, is duly licensed by the Pennsylvania Department of Insurance;*

*(5) Deliver satisfactory proof to the Clerk of Courts and the District Attorney that the surety business maintains an
office in Allegheny County from which its business is conducted and where service of notices may be made. Every
surety business, shall keep at its office in Allegheny County the usual and customary records pertaining to transactions
authorized by its license and/or the license of any of its agents, including, but not limited to, such records of bail bonds
executed or countersigned by the surety business, to enable the court to obtain all necessary information concerning
such bail bonds for at least three (3) years after the liability of the surety has been terminated. Such records shall be
open at all times to examination, inspection or copying by the Court or its representative. Any and all information shall
be furnished in such manner or form as the Court requires;*

*(6) Certify to the Clerk of Courts and the District Attorney that no agent or employee of the surety business has been
convicted of any criminal offense. The certification must be based on a criminal history records check conducted by
the Pennsylvania State Police for each employee and agent, and a copy of the search results must be attached to a list of
employees and agents and certification submitted with the petition required by subsection (c) of this rule. Conviction
of an agent or employee of a surety business will render the surety business ineligible to conduct business in the Fifth
Judicial District;*

*(7) Post with the Clerk of Courts as security the minimum sum of $250,000 in United States currency or unencum-
bered securities of the United States Government, which will entitle the surety business, to post bond in the aggregate
sum of $1,000,000, and by further posting the sum required for each individual bond or undertaking with the bail
authority. Provided, however, that the surety business must post additional security with the Clerk of Courts in the
event the surety business intends to post bond in excess of $1,000,000. The additional security to be posted with the
Clerk of Courts must be in units of $250,000 which will entitle the surety business to post bond in the additional sum
of $1,000,000 per $250,000 unit;*

*(8) Provide to the Clerk of Courts and the District Attorney a financial statement certified by a Certified Public
Accountant which verifies that the surety business has sufficient assets to satisfy all bail obligations undertaken by or
on behalf of the surety business in the Fifth Judicial District and in other jurisdictions in which the surety business
conducts business. A current certified statement must be filed with the petition required in subsection (c) of this rule;*

*(9) Certify to the Clerk of Courts and the District Attorney that only the surety business which is approved by the
President Judge upon petition as provided in this rule, may post bail for defendants, in the name exactly as it appears
on the surety's license, and not in the name of any agent or other business entity;*

*(10) Certify to the Clerk of Courts and the District Attorney a schedule of the fees to be charged Criminal Division
defendants for issuing the bail bond. Such fees may not change unless notice is given to the President Judge and
Administrative Judge at least thirty (30) days prior to the effective date of the proposed revised fees (see 42 Pa.C.S.A.
§ 5748);*

*(11) Upon approval of the petition required in subsection (c) of this rule, register with the Clerk of Courts and the
District Attorney and pay to the Clerk of Courts an initial registration fee of $1,000.00, or such amount as may be
established from time to time by the Clerk of Courts with the approval of the President Judge;*

*(12) Certify that the surety business will not represent itself, directly or indirectly, as an employee or agent of the




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Commonwealth of Pennsylvania or Fifth Judicial District or the County of Allegheny. Agents and employees of a
surety business must not wear clothing or present badges or any other form of law enforcement credentials that create
the impression of employment of the Commonwealth of Pennsylvania, the Fifth Judicial District or any of its units,
including the Pretrial Services Unit or the Warrant Unit of the Fifth Judicial District or the County of Allegheny;*

*(b) _Requirements to Remain Qualified_. To remain qualified to post bond, the surety business must:*

*(1) Maintain compliance with the requirements specified in subsection (a) of this rule;*

*(2) Provide quarterly statements certified by the surety business that it is in compliance with the security posting
requirements specified in subsection (a)(7) of this rule to the Clerk of Courts and the District Attorney as required by
42 Pa.C.S.A. § 5747;*

*(3) Provide to the Clerk of Courts and the District Attorney, on a quarterly basis, or as often as requested by the
President Judge or the Administrative Judge, a financial statement certified by a Certified Public Accountant which
verifies that the surety business has sufficient assets to satisfy all bail obligations undertaken by the surety business in
the Fifth Judicial District and in other jurisdictions in which the surety business conducts business;*

*(4) Satisfy in full any forfeiture order entered against a defendant or the surety business for a defendant's violation of
a bail bond within ninety (90) days of the issuance of the order. In the event the surety business fails to satisfy such
forfeiture order, the order will be satisfied from the funds posted with the Clerk of Courts pursuant to subsection (a)(7)
of this rule. In that event, the surety business will be prohibited from posting additional bail until such time as all
forfeiture orders entered against the surety business are satisfied in full;*

*(5) Immediately notify, in writing, the President Judge, the Administrative Judge and the District Attorney if an agent
or employee of a surety business has been charged with any criminal offense, or if the license of an agent or employee
has been revoked, suspended or not renewed in the Commonwealth of Pennsylvania or any other jurisdiction;*

*(6) Cease posting bonds if the aggregate maximum amount of unsettled and outstanding bail forfeitures, as deter-
mined by the Clerk of Courts and the District Attorney, equals or exceeds $250,000. The Clerk of Courts, or a de-
signee, shall promptly notify the Common Pleas Court President Judge, and Administrative Judge, Pretrial Services,
Pittsburgh Municipal Court, the District Attorney, and the applicable surety business of the occurrence of having
reached this maximum limit. Immediately upon notification, no further bonds by the surety business are authorized or
acceptable for posting. When full financial settlement has been made of the outstanding bail forfeitures, the Clerk of
Courts, or a designee, shall promptly notify the Common Pleas Court President Judge and the Administrative Judge,
Pretrial Services, Pittsburgh Municipal Court and the District Attorney, and the applicable surety business that the
posting of bonds may resume;*

*(7) Not represent or identify itself, directly or indirectly, as employees or agents of the Commonwealth of Penn-
sylvania or Fifth Judicial District or the County of Allegheny. The agents and employees of a surety business must not
wear clothing or present badges or any other form of law enforcement credentials that create the impression of em-
ployment by the Commonwealth of Pennsylvania, the Fifth Judicial District or any of its units, including the Pretrial
Services Unit or the Warrant Unit of the Fifth Judicial District or the County of Allegheny;*

*(8) Annually renew their registration with the Fifth Judicial District, provide all certifications required by this rule
and pay to the Clerk of Courts an annual renewal registration fee of $250.00, or such amount as may be established
from time to time by the Clerk of Courts with the approval of the President Judge;*

*(9) Fully comply with all laws, statutes, local rules, rules of court and procedures as may be established from time to
time.*




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*(c) _Seeking Approval as a Corporate Surety_. Any surety business which is licensed by the Pennsylvania Depart-
ment of Insurance may seek approval to post bail in the Fifth Judicial District by filing a petition with the Clerk of
Courts and the District Attorney. The petition must provide the information, documents and certifications set forth in
subsection (a) of this rule. Upon filing, the petition will be assigned to the Administrative Judge for determination.*

*(d) _Opportunity to be Heard_. A surety business whose petition seeking approval to post bail in the Fifth Judicial
District is denied will be provided an opportunity to be heard and to contest the denial. Any surety business seeking to
contest the denial of its petition for approval to post bail in the Fifth Judicial District must file a petition with the Clerk
of Courts and serve District Attorney within thirty (30) days of the date of denial of its initial petition, and set forth the
relief requested and the factual basis therefor. Similarly, a surety business, which has received approval to post bail in
the Fifth Judicial District as provided in this rule, but which has been prohibited from posting additional bail, or is
otherwise ineligible to post bail in the Fifth Judicial District, will be provided an opportunity to be heard. Any surety
business, seeking to contest its prohibition from posting additional bail in the Fifth Judicial District, or any other
ineligibility subsequent to its initial approval hereunder, must file a petition with the Clerk of Courts and District
Attorney within thirty (30) days of the date of the prohibition or determination of ineligibility, and set forth the relief
requested and the factual basis therefor.*

*(e) _Prohibited Conduct_. A surety business and agents and employees thereof may not engage in prohibited con-
duct, which includes the violation of any applicable laws, statutes, local rules, rules of court, or the commission of any
of the following acts:*

*(1) having a license as a surety business revoked in this or any other state;*

*(2) being involved in any transaction which shows unfitness to act in a fiduciary capacity or a failure to maintain the
standards of fairness and honesty required of a fiduciary;*

*(3) having any judgment entered which would reduce the surety business' net worth below the minimum required for
licensure;*

*(4) being convicted of any criminal offense;*

*(5) failing to promptly advise the Administrative Judge, the District Court Administrator and the District Attorney of
any change in circumstances which would materially affect any of the statements, information or certifications re-
quired by this rule;*

*(6) using an unregistered agent to post bail or provide any bail undertaking on behalf of the surety business;*

*(7) using an individual or entity not contracted and appointed by the surety business to post bail or provide bail
undertaking on behalf of the surety business;*

*(8) signing, executing or issuing bonds by a person or entity which is not registered as an agent of the surety business
and/or for which there is no satisfactory proof of an agency relationship with the surety business;*

*(9) executing a bond without the appropriate counter signature by a licensed and/or authorized agent at time of is-
sue;*

*(10) failing to account for or pay any premiums held in a fiduciary capacity;*




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*(11) misstating or misrepresenting any material fact in the initial petition or any subsequent petitioners, required by
this rule, or in any of the statements, information or certifications required by this rule;*

*(12) failing to preserve, and to retain separately, any collateral obtained as security on any bond;*

*(13) failing to return collateral taken as security on any bond to the depositor of such collateral, or the depositor's
designee, within ten (10) business days of having been notified of the exoneration of the bond and upon payment of all
fees owed to the surety business, whichever is later;*

*(14) offering or providing any consideration or gratuity to any person employed by, or incarcerated in, a jail facility,
any person who has the power to arrest or to hold any person in custody, or to any court officers and attorneys to obtain
or secure business;*

*(15) failing to deliver to the defendant, and any person providing collateral on the defendant's behalf, prior to the time
the defendant is released from jail, a one-page disclosure form which, at a minimum, must include:*

*(A) the amount of the bail;*

*(B) the amount of the surety's fee, including bail bond premium, preparation fees, and credit transaction fees;*

*(C) the collateral that will be held by the surety;*

*(D) the defendant's obligations to the surety and the court;*

*(E) the conditions upon which the bond may be revoked;*

*(F) any additional charges or interest that may accrue;*

*(G) any co-signors or indemnitors that will be required; and*

*(H) the conditions under which the bond may be exonerated and the collateral returned;*

*(16) failing to provide the Pretrial Services Unit of the Fifth Judicial District the fully executed one-page disclosure
form required by subsection (e)(15) of this rule at the time bond is posted;*

*(17) charging excessive fees or other unauthorized charges;*

*(18) requiring unreasonable collateral as security;*

*(19) failing to provide an itemized statement of any and all expenses deducted from collateral, if any;*

*(20) advising, requiring or suggesting that, as a condition of posting a bail bond by a surety business, a defendant
engage the services of a particular law firm or attorney;*

*(21) preparing or issuing a fraudulent or forged bail bond, power of attorney or other document;*

*(22) signing, executing, issuing or posting bail bonds by an unlicensed person;*




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*(23) knowingly violating, advising, encouraging, aiding, abetting or assisting the violation of any applicable law,
statute, local rule or rule of court;*

*(24) soliciting or procuring sexual favors as a condition of obtaining, maintaining or exonerating a bail bond, re-
gardless of the identity of the person who performs such favors;*

*(25) providing legal advice or a legal opinion in any form; and*

*(26) holding themselves out by their manner of dress as being a public official.*

*Rule 536.1. Forfeitures and Bail Pieces.*

*(a) _Forfeitures_.*

*(1) If a bail bond is ordered to be forfeited pursuant to Pa.R.Crim.P. 536, execution of the order shall be delayed until
ninety (90) days from the date of the filing of the forfeiture order.*

*(2) If a defendant whose bail has been ordered forfeited surrenders within ninety (90) days of the date of the entry of
the order, the Administrative Judge or a designee may set aside the forfeiture order and either reinstate bail or set a new
bail without the necessity of the filing of a petition as hereinafter provided.*

*(3) Unless the forfeiture order has been set aside as provided for in subsection (2), in order for a surety to have the
forfeiture order set aside or remitted in whole or in part, the party seeking remission, set aside or exoneration shall
present a petition to the Administrative Judge or a designee, file the petition with the Clerk of Courts, and serve a copy
thereof upon the District Attorney. The petition shall set forth in detail the reasons for seeking the set aside, remission
or exoneration. In order to facilitate the assessment and investigation of petitions requesting remittance, the surety is
required to delineate within the petition the following:*

*(A) A recitation of the history of the case including the charges, the date the bond was set, the amount of the bond,
and the name and district of the issuing authority;*

*(B) The date of forfeiture and nature of the proceeding at which forfeiture occurred;*

*(C) A statement establishing the fact that the defendant was apprehended including the date of apprehension and the
agency responsible for the apprehension;*

*(D) A detailed summary of all efforts by the petitioner to apprehend the defendant including the name, phone number
and address of all agents hired or assigned to effectuate the apprehension, and all times, dates, and locations searched;*

*(E) A declaration that the apprehension or return of the defendant was effected by the efforts of the surety or that
those efforts at least had a substantial impact on the defendant's apprehension; and*

*(F) A clear and specific factual recitation in support of the above declaration.*

*(b) _Bail Pieces_. After a bail piece is issued pursuant to Pa.R.Crim.P. 536 and the defendant is apprehended by or on
behalf of the surety, the defendant must be brought before the Administrative Judge or a designee in accordance with
Pa.R.Crim.P. 150. Bail pieces shall not be utilized to exonerate the surety.*

*_Comment_: Regarding forfeiture and remissions, see Commonwealth v. Hernandez, 886 A.2d 231 (Pa. Super.




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2005), Commonwealth v. Mrozek, 703 A.2d 1052 (Pa. Super. 1997) and Commonwealth v. Fleming, 485 A.2d 1130
(Pa. Super. 1984).*

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                                    2012 Bail Bond Legislation

                (Bills added since the last distribution are marked with an asterisk)


       Arizona

H. 2432 – Provides that the surety shall be relieved of liability upon surrendering the defendant
before or within 30 days after the failure to appear except that if the surrender is after the failure
to appear the judicial officer may forfeit up to $1,000 of the bond.

H. 2433 – Requires that the list of persons authorized to post bail bonds be updated monthly with
the names rotated. Forbids soliciting bail bond business inside of, or within 200 feet of the
entrance to, a court building or jail. An employee of a bail agent can submit the bond if he or she
has proper identification.

H. 2434 – Makes a person convicted of a felony in the previous seven years not eligible for
supervision under pretrial services and provides that a defendant not released on his own
recognizance shall be released on either a cash or secured appearance bond unless the defendant
previously failed to appear, is in custody for unpaid child support, fines or fees, or is charged
with a class 1 or 2 felony. For such defendants the judicial officer could order a cash only bond.

S. 1284 – Amends statutes governing bail bond agents to require a receipt for payment of fees
and expenses, require that all collateral be held in a fiduciary capacity and insured (except
against weather damage which shall be the risk of the indemnitor), deposit cash collateral in an
account separate from the agent’s operating accounts, and disclose all premiums and fees. The
agent’s license may be suspended or revoked for charging more than the maximum fee or
violating any provision of law or rule governing the agent’s business. Requires having a signed
contract and fee agreement before securing release of a person (other than a relative). The
premium shall be valid for one year from the date the bond is posted. Any renewal premium
shall be pro rated.

S. 1285 – Revises the licensing of bail recovery agents to require a high school diploma or GED,
completion of a gun safety course or have an honorable discharge from the military, be at least
21, be a resident of Arizona for at least a year, and submit fingerprints. The license shall not be
issued until after the fingerprint check is completed. A certified peace officer may not act as a
bail recovery agent.

       California

A. 1529 – Adds a section 1305.5 to the Penal Code to provide that appeals of denial of motions
to vacate bail bond forfeitures of $25,000 or less shall be treated as a limited civil case and go to
the appellate division of the superior court rather than to the court of appeals. If the forfeiture is
more than $25,000 the appeal is treated as an unlimited civil case and go to the court of appeals.




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S. 968 – Expands eligibility for release on electronic monitoring. Certain defendants eligible for
bail may apply for release on electronic monitoring with bail reduced by up to 75%. Such an
application may be made to the court starting from 10 court days following arraignment.

S. 989 – Amends Penal Code §1305 to require exoneration of the bond if the defendant is
deported. If the defendant is located in another jurisdiction and brought before local law
enforcement pursuant to §305(g), tolls the running of the appearance period while the
prosecuting agency decides whether to seek extradition and during the extraction process. The
bond is exonerated if the prosecuting agency does not decide to seek extradition within a
reasonable time. Adds “or the United States Attorney” after prosecuting agency in both
provisions.


       Colorado

H. 12-1114 – Treats stalking the same as domestic violence in terms of setting bail, protective
orders and punishment for violating conditions of bail or protective orders.

H. 12-1266 – Extends the sunset of the division of insurance regulation of bail, requires that all
forms used in connection with bail be filed with and approved by the division, and revises
requirements for cash bonding agents and “Professional Cash Bail Agents” who will qualify by
posting a bond with the division of insurance instead of by appointment from a bail insurance
company.

*H. 12-1310 – Adds to the information that each pretrial services program must include in their
annual reports including crime classification of failures to appear, information on those
remaining at large, information on those returned to custody and how recovered, re-arrests, and
revocations. Permits surety to consent in writing to continuance of bond through sentencing
either in initial bond documents or at the time of conviction or within a reasonable time
thereafter.

*H. 12-1316 – Amends provisions on bonds for possible illegal aliens. If the agency holding the
defendant determines that there is an ICE detainer lodged against a person arrested or charged
with felonies or class 1 or 2 misdemeanors, it shall notify the bail bond agent before the bond is
posted. The bond shall be forfeited if the defendant is deported. The agency shall also notify the
district attorney and any pretrial services office, and if the defendant posts bond, the agency shall
notify the district attorney before notifying ICE that the defendant is eligible for release to ICE.


       Connecticut

H. 5093 – As a condition precedent to exoneration after the defendant is incarcerated or detained
in another state, requires the surety or bail bond agent to agree to reimburse the Division of
Criminal Justice for extradition costs incurred to secure the defendant’s return.




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       Florida

H. 135 and S.210 – Requires that costs of prosecution and costs of representation be withheld
from any cash bond posted by any person other than a licensed bail bond agent.

H. 725 and S.938 – Provides for E-mailed notice of time and place of licensure examination for
bail bond agents. Strikes the separate standards for continuing education courses for bail bond
agents and substitutes a cross reference to the Code section on continuing education courses for
insurance agents in general. Amends section on forfeitures to delete the requirement that the
clerk send the Department of Financial Services and Office of Insurance Regulation copies of
each judgment within 10 days of its entry. Adds that such notice to the surety must be sent to the
surety’s home office. If the judgment is not paid within 60 days (formerly 35 days), notice must
be sent to the Office of Insurance Regulation.

H. 771 and S.1820 – Makes extensive changes to the regulation of bail bond agents including
requiring an “agent in charge” for each office, limiting the duration of a temporary bail bond
agent license, restricting ownership or management of an agency to bail bond agents licensed
and appointed for at least three years, fines insurers up to $1,000 per agent per month for failure
to submit a statement of build up trust accounts, establishes a 30 day deadline for agents to pay
over premiums, collateral or other funds, authorizes premium payment plans under specified
conditions, authorizes persons properly licensed in other states to recover defendants on bonds
written in the other state, forbids a licensed agent from directing an unlicensed person to recover
a defendant in Florida, requires the monthly report for temporary bail bond agents to be
submitted within 15 days of the end of the month and authorizes a fine of up to $500 per month
for late submission, requires payment of wages to the temporary bail bond agent and makes them
subject to unemployment compensation tax, forbids a temporary bail bond agent from accepting
the initial premium for a bond but does allow him or her to accept subsequent payments under a
premium payment plan, details circumstances requiring affidavits listing any unpaid judgments,
premiums or other contractual obligations, authorizes online continuing education, requires
cancellation of the appointment of any managing general agent if a prior insurer reports unpaid
forfeitures, judgments, premiums, losses or other contractual obligations, an insurer appointing a
managing general agent is bound by the acts of the managing general agent within the scope of
the appointment, allows an agent to provide contact information for multiple attorneys, forbids
promising an inmate anything of value in return for referrals, forbids anyone from acting as a
professional bail bond agent without a license as such, forbids travel fees for posting a bond if
the same agent or agency that posted the bond also wrote the bond, requires immediate return of
premium if a bond is not executed, requires all advertising to include the license number of the
bail bond agent, requires return of collateral if the bond has expired, increases numerous fines
and penalties, and authorizes Regulations to carry out numerous provisions of the bill.

H. 455, H.7047 and S. 1800 – Bars bail for defendants required to register as sexual offenders or
sexual predators “until the first appearance in the case in order to ensure full participation of the
prosecutor and protection of the public.”


       Hawaii



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H. 2243 and S. 2158 – Requires that when the court with jurisdiction is closed, a law
enforcement agency must release the defendant upon receiving cash, a certified copy of a pre-
filed bail bond, or an original bail bond from a licensed agent.

H. 2868 and S. 3068 – Enacts a new Chapter in the Code providing mechanisms to enforce
payment of bonds, suspend agents or insurers who do not pay, exonerate bonds upon recovery of
the defendant or a showing that the failure to appear was caused by an Act of God or of the State
or the law, and allow payment of costs of extradition from the bond.


       Idaho

S. 1325 – Requires full payment of the bail bond premium before the defendant is released.
Premium financing would be a permitted method of paying the premium, but no bail agent or
surety company may have any financial affiliation with, or indemnify or receive compensation
from, the premium financier.


       Illinois

S. 2870 – Adds “a surety bond in an amount equal to 25% of the bail, executed by a surety
approved by the court” as an alternative to the current requirement of a 10% cash deposit. That
is, the defendant must execute the bond and deposit either 10% cash or a 25% surety bond.


       Kansas

S. 321 – Restricts persons eligible for release on their own recognizance to residents of Kansas in
the U.S. legally who are charged with misdemeanors or certain levels of felonies, have no prior
history of failures to appear, no detainers, have not been extradited, are not awaiting extradition,
and have not been detained for alleged probation violation. Also requires an out of state surety
or agent who intends to apprehend any person in Kansas to contract with a person authorized to
act as a surety or agent in Kansas, and that authorized person must accompany the out of state
person during the apprehension.


       Maine

H. 312 – Requires as a condition of bail for persons charged with certain crimes of domestic
violence that the defendant turn over all firearms to a law enforcement officer and refrain from
possessing firearms or other specified dangerous weapons.

H.1256 – Authorizes electronic monitoring, at the defendant’s expense, as a condition of bail for
defendants charged with crimes involving domestic violence.




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       Maryland

H. 338 and S. 690 – Forbids a district court commissioner from releasing defendants charged
with certain enumerated offenses and permits a judge to release such defendants only on full
cash or corporate surety bond or on a property bond secured by property located in Maryland
with equity equal to the amount of the bond plus $20,000. Enacts a rebuttable presumption that
such defendants will flee and will pose a danger to another person or the community.

H. 492 – Except for failure to pay family support, “cash bail” or “cash bond” may be provided in
the form of cash, a surety bond, or a property bond by the defendant, or by a private surety acting
for the defendant. For failure to pay family support, only the defendant may post a “cash bail” or
a “cash bond.”

H. 517 – Forbids a surety from accepting or providing real property as security for a bond unless
the owner of the property certifies that the property has no outstanding citations for building or
property code violations.

H. 551 – Provides that if the defendant is taken into custody by Immigration and Customs
Enforcement because of his or her immigration status, the bond is void, the bond must be
returned to the surety and the surety discharged, and any premium must be refunded.

H. 573 – Forbids courthouse or correctional facility employees from soliciting for or advertising
the services of a specific bondsman and increases the penalties for banned solicitation by a
bondsman or agent as well as by the added employees.

H. 742 and S. 489 – Requires applicants for a bail bondsman’s license to certify one year’s
regular employment by a licensed bail bondsman and authorizes installment payment of
premiums. If the premium is paid by installments, certain records have to be kept and attempts
made to collect any balance owed. The installment agreement must include certain information
about the payments owed.


       Mississippi

H. 173 and *S. 2838 – Automatically stays execution on a bond forfeiture for 90 days from the
entry of final judgment and requires the court to exonerate the bond if the defendant appears or is
surrendered before execution of final judgment. Grants a bail agent immunity from civil
damages for actions taken within the scope of his authority and in good faith to enforce a court
order, scire facias and final judgment. Bail agents shall not be liable in civil damages resulting
from a court’s failure to properly issue or serve the surety with a set aside order for scire facias
or final judgment or with the writs or judgment themselves.

H. 174, *H. 631 and *S. 2805 – Revises prelicensing educational requirements for professional
bail agents and makes it easier to transfer the qualification bond of a licensed personal surety
agent or professional personal surety agent.



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H. 175 and *S. 2837 – Deletes requirement that the sheriff approve a bond from a properly
licensed bail agent.

*H. 631 and *S. 2805 – Revises prelicensing educational requirements for professional bail
agents and makes it easier to transfer the qualification bond of a licensed personal surety agent or
professional personal surety agent. Makes it unlawful to refuse to return collateral or other
indemnity when the premium has been paid or the obligation on the bond terminated.

*H. 880 and *S. 2847 – Designates certain charges as crimes with bail restrictions, for
defendants charged with such designated crimes requires full cash, corporate surety or bond
secured by real property and, if real property, requires an affidavit from the owner with
information as to equity in the property. Creates a presumption for full cash bail if a defendant
charged with such crimes also has two prior felony convictions or two other indictable offenses
pending or was on parole or has a prior conviction for certain enumerated crimes including bail
jumping.

*H. 1439 – for persons charged with domestic violence offenses, the court must check the
Mississippi Protective Order Registry and consider any protective order before granting bail.

*H. 1471 – Permits release on own recognizance or appearance bond unless the court determines
this will not reasonably assure appearance or protect others or the public; in which case the court
may impose the least onerous conditions to assure appearance and protect others and the public
taking into account a list of factors related to the defendant and the offense. Also establishes a
bail schedule but permits deviation in the court’s discretion. Forbids post conviction bail if the
sentence is 20 years or more or if conditions of release will not reasonably assure the defendant’s
surrender or protection for others or the public.

S. 2254 – If a defendant is charged with a crime involving a domestic victim, the court must
check the Mississippi Protective Order Registry and if there is a domestic abuse protective order
against the defendant, take that into account when determining bail.

*S 2620 – Would permit renewal of a professional bail agent’s license held on the effective date
of the act even though the licensee was convicted of a felony not involving moral turpitude.



       New Jersey

CR 93 – Amends the state Constitution to allow the legislature to forbid bail to illegal
immigrants charged with certain crimes.

A. 474 and S. 560 – Adds assault and death by auto or vessel to the list of crimes with bail
restrictions.

A. 1674 and S. 733 – Makes 16 additions to the list of crimes with bail restrictions.



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A.1713 – If a released defendant is charged with a second offense involving petty disorderly
persons, disorderly persons, a crime of the fourth degree or a crime of the third degree, there
would be a presumption of a 50% cash bail option. For a third or subsequent charge for the same
categories of offenses, the presumption would be for 100% cash bond. This seems to be
intended to substitute the higher percentages for a 10% cash option.

A.1772 and S. 678 – Forbids release of illegal immigrants charged with crimes of the first or
second degree or previously convicted of two or more crimes that occurred on separate
occasions. The change would take effect upon amendment to the state Constitution per CR 93.

A.      2254 – Authorizes establishment of a pretrial release program. Any defendant would be
eligible except one charged with a crime with bail restrictions or other first degree offenses.

*A. 2536 -- A bail bond can be forfeited only for failure to appear; establishes a schedule for
remission of forfeitures if the defendant is recovered, is dead or is incarcerated within the United
States if the surety engaged in monitoring efforts or attempted to contact the defendant at least
once every three weeks; requires mailing notice to the surety and agent; if a bench warrant has
been issued, authorizes any jail or law enforcement agent to accept surrender of the defendant
from the surety or agent or their representatives; establishes a $100 filing fee for bonds or
recognizances; and forbids removing the surety or its agents from bail registry if the surety has
filed a motion to vacate a forfeiture and the defendant is in custody in New Jersey or has entered
an order to vacate the forfeiture that is awaiting court’s signature. [This appears to be the same
as 2010 A.1143, and the remission schedule does not make sense.]

S. 1133 – Adds certain weapons offenses to the list of crimes with bail restrictions.


       New Mexico

HJR. 3 – Deletes the sufficient sureties clause of the New Mexico Constitution and substitutes a
provision that bail be granted or denied based on flight risk, seriousness of the offense charged,
danger to the community, and other factors provided by law. States that “The least onerous
condition of release needed to comply with these factors shall be imposed.” Forbids excessive
bail, cruel and unusual punishment and excessive fines and grants precedence to appeals of
orders denying bail.


       Oklahoma

HJR 1088 – Would amend the state Constitution to permit denial of bail to illegal aliens charged
with serious felony offenses as designated by the Legislature.

H. 2190 – Forbids bail for a person held in a secure facility against whom a petition has been
filed alleging that the person is a sexually violent predator.




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H. 2206 – Strikes the exception allowing a professional bondsman to write bonds on up to ten
defendants per year in counties in which the bondsman cannot register his license (i.e. counties
in which the bondsman does not reside or have his office) or an unlimited number of bonds in
counties where there is no registered bondsman.

H. 2278 – For a defendant charged with one of the 40 offenses that render the defendant
ineligible for a pretrial services program, the court can order urinalysis testing as well as use of a
GPS monitoring device. The court can also order the defendant to pay for supervision and
testing as well as the GPS device and monitoring.

H. 2981 – Requires a $300,000 minimum deposit from all insurers with the surety, including
bail, line of authority. Adds changes in legal name and E-mail address to the information that
must be reported to the Commissioner within 5 business days, increases the application fee for
bail bondsman from $250 to $350, and increases various late filing fees.

S. 1107 – Changes the due date of financial statements required from professional bondsmen and
property bondsmen from the last day of the licensee’s birth month to September 15

S. 1115 – Gives the court discretion to stay the due date for payment of forfeiture. Current law
authorizes the court, in its discretion, to vacate forfeiture and exonerate the bond if good cause is
shown for the defendant’s failure to appear or the bondsman’s failure to return the defendant
within 90 days. This bill adds the lesser remedy of staying the due date of payment.

S. 1127 – Changes the filing date for bail bondsman license applications to September 30 instead
of the last day of the applicant’s birth month and authorizes the Commissioner to require any
documents reasonably necessary to verify information on the application. Also amends the
standard from “of good character and reputation” to “competent, trustworthy, financially
responsible, and of good personal and business reputation and character.”

S. 1673 – Allows a bondsman to be appointed by a professional bondsman as well as by an
insurer and strikes the restrictions on writing bonds in counties where the bondsman does not
reside. To write bonds in such counties the bondsman would only have to file a copy of his or
her license with the county district court clerk.

S. 1872 – Enacts a Professional Bounty Hunter Licensing Act.

S. 1202 – Strikes the ten defendants per year restriction on writing bonds in counties where the
bondsman does not reside or have an office. Provides that a professional bondsman shall not be
limited in writing bonds in Oklahoma as long as the total amount of bonds written per year does
not exceed 20 times the dollar amount placed on deposit.


       South Carolina

B. 4572 – Deletes the provision of existing law granting the surety automatic relief from all
liability if the defendant is incarcerated as a result of a bench warrant and the surety files an



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affidavit stating that fact and the specific terms of the bond that were violated as stated in the
bench warrant. The surety apparently could still file a motion seeking relief from liability.


       Tennessee

H. 2441 and S. 2619 – Amends the statute on surrender of defendants by excepting from review,
and possible refund of premium and re-release, a surrender based on a judgment of forfeiture.

H. 2442 and S. 2720 – For an applicant for approval to own a professional bonding company,
changes the experience requirement from two years “with” such a company to two years “as a
full-time qualified agent for” such a company.

H. 2654 and S. 2688 – Adds to the list of factors that may disqualify a bondsman a conviction in
another state of a felony or misdemeanor equivalent to a Tennessee Class A misdemeanor.

H. 2678 and S. 2604 – Requires that an illegal immigrant be deemed a risk of flight for bail
purposes if he or she is arrested for certain serious traffic offenses and authorizes increased bail
amounts for such defendants.

S. 2510 and S. 2812 – If a defendant fails to appear, any new bail must be a 100% cash or fully
secured bond.

S. 3214 – Requires the Department of Revenue to provide reports to the administrative office of
the courts on collection of the bail bond tax.


       Utah

H. 29 – Forbids a bail bond producer from operating in Utah unless he or she is appointed by an
authorized insurer and, if he or she submits business through an agency, designated by a licensed
bail bond agency or, for property bonds, is designated by a licensed agency. An enforcement
agent may operate only through a licensed bail bond agency.


       Virginia

H. 174 – Requires that a property bail bondsman, or a business or company that he uses to carry
out his bail bond business, own any real property that he pledges to meet the statutory $200,000
collateral provision. Also requires suspension of the license of any property bail bondsman who
fails to pay a forfeiture within 60 days after notice and a final court order.

H. 807 – Requires the Criminal Justice Services Board to adopt regulations governing the use of
electronic tracking devices by bail bondsmen and excepts use of such devices by licensed bail
bondsmen in accordance with such regulations from the criminal statute barring the placing or
use of an electronic tracking device through intentionally deceptive means and without consent.



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S. 158 – Existing law establishes a rebuttable presumption that certain defendants should not be
admitted to bail. This bill would prevent a magistrate, clerk or deputy clerk from admitting such
a defendant to bail and require a hearing with written notice to the Commonwealth’s attorney
before any other judicial officer does so. Also provides that if the Commonwealth appeals a bail
decision, the decision is stayed until the appeal is decided.


       Washington

H. 2423 and H. 2668 – Reduces the period in which the court must notify the surety of a
defendant’s failure to appear from 30 to 14 days. Requires good cause to surrender a defendant,
and if the court finds good cause was lacking requires return of the bond premium and any
recovery fee. Good cause includes, but is not limited to, a substantial increase in the risk of
flight, violation of a court order, failure to appear, and concealment or intentional
misrepresentation of information, but does not include failure to pay the premium. Surrender of
the defendant without good cause, gaining full authority over a person’s property or finances,
and failing to disclose a defendant’s location upon request from law enforcement are added to
the list of acts that constitute “unprofessional conduct.” If a court revokes or reinstates a bail
bond agent it must notify the administrative office of the courts which will notify all other courts
of the action. Defines property bond and surety bond. Increases the surety bond to be posted by
a property bond agency from $10,000 to $100,000 (the bond for a surety bond agency remains at
$10,000). Authorizes audits of licensee trust accounts unless the licensee submits an annual
CPA audited statement.

S. 5056 (Substitute Bill) – Subject to appropriations, requires development of a “risk assessment
tool” by the Washington state institute for public policy, authorizes its use, and authorizes the
center for court research to evaluate the “risk assessment tool” and submit a report every two
years on its use. Exonerates a bond if the court fails to notify the surety of a default within 14
calendar days (instead of 30 days in current law), requires good cause to surrender the defendant
and, if the court determines good cause did not exist, the surety must return the premium and any
recovery fee. Surrender without good cause is “unprofessional conduct.” If a court revokes or
reinstates a bail bond agent’s certification to post bonds in the court, it shall notify the
administrative office of the courts which shall notify other state courts. Adds to the list of
unprofessional conduct “Entering into a contract, including a general power of attorney, with a
person that gives the bail bond agent full authority over the person’s finances, assets, real
property, or personal property” and failing to disclose to law enforcement upon request
information on the location of a fugitive defendant. Defines bail bond insurance as surety
insurance and makes surety insurance subject to the rate standards set forth in RCW 48.19.020.


       Wisconsin

A. 567 – Permits and regulates commercial bail. Current law forbids compensation for acting as
surety on a bail bond. Would make an exception for a licensed bail bond agent or bail bond
agency and require a premium equal to 10% of the amount of the bond. Establishes licensing



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framework for bail bond agents, bail bond agencies, and bail recovery agents, and authorizes the
Department of Safety and Professional Services to promulgate detailed Rules.




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Orgovan, Joseph

From:               Gallagher, Edward
Sent:               Friday, February 17, 2012 4:55 PM
To:                 Committee-BBAC-Open
Cc:                 Holtschneider, Mark; Lanak, Frank; Mike Whitlock; Dee Hale; karen.ridener@accredited-inc.com
Subject:            Legislation
Attachments:        2012 Bail Bond Legislation.doc


AnupdatedReportisattached.




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                                                     SFAA 000690
